10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 1 of 267

FILED

JAN - 6 2004

CLERK, ue uethic] COURT
EASTERN DISTRICT OF CALIFORNIA

BY.

a

DEPUTY CLERK

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

DAVID ANTHONY BREAUX,
Petitioner,
Vv.
ARTHUR CALDERON, Warden of
the California State Prison

at San Quentin,

Respondent.

 

NO. CIV.S-93-0570 DFL DAD DP

FINDINGS AND RECOMMENDATIONS

DEATH PENALTY CASE

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 2 of 267

TABLE OF CONTENTS

 

FACTUAL OVERVIEW

PROCEDURAL HISTORY

SUMMARY JUDGMENT STANDARDS

HABEAS CORPUS STANDARDS

NEW RULE UNDER TEAGUE V. LANE

ANALYSIS

A.

B.

Coercion of Penalty Phase Verdict

Prosecutorial Misconduct During Closing Argument
1. Lack of Notice Under State Law

2. Griffin Error

3. False Allegation of a Lack of Remorse

Ineffective Assistance of Trial Counsel (Claim Cc,
T & W)

1. Strickland Standard

2. Arguments of the Parties

3. Analysis

Juror Misconduct During Penalty Phase Deliberations
Jury Instruction Re Mitigation Evidence

Trial Court’s Denial of Pitchess Discovery

Trial Court’s Failure To Recuse the District
Attorney’s Office and the Assigned Deputy

District Attorney wee ee

Systematic Underrepresentation of Hispanics in
the Jury Panel

Admission of Petitioner’s Post-Arrest Statements

12

13

16

16

26

31

32

33

35

36

40

44

49

56

65

70

79

83

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 3 of 267

J. Prosecutorial Misconduct/Comment on Defense
Tactics

K. Consciousness of Guilt Jury Instruction

L. Petitioner’s Competence to Stand Trial

M. Death Qualification of Jury

N. Defense Counsel’s Concession of Non-Homicide

Counts Without Petitioner’s Waiver of His Right
to a Jury Trial

oO. Petitioner’s Absence From Certain Court
Proceedings
P. Exclusion of Jurors For Cause Based Upon Death

Penalty Views

Q. Discriminatory Imposition of the Death Penalty
R. Prosecution’s Use of Peremptory Challenges
Ss. California Death Penalty Statutory Scheme

1. Jury Instruction Regarding

Consideration of Aggravating and
Mitigating Factors

2. Jury Instruction as to Factor (b)
Aggravating Factors

3. Facts of Prior Felony Convictions as
Aggravating Evidence

4. Consideration of Petitioner’s Capital
Offense as an Aggravating Factor Under
Both Factor (a) and Factor (b)

5. Aggravating Factors Relied Upon and
Proof Beyond a Reasonable Doubt

6. Designation of the Aggravating Factors
Relied Upon

7. No Requirement of Unanimous Agreement

As to the Aggravating Factors Relied
Upon soe ee

il

99

106

111

116

117

127

132

158

182

192

194

194

194

195

195

197

197

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 4 of 267

8. Penalty Phase Instructions Adequately
Conveyed the Meaning of Mitigation

9. The 1978 California Death Penalty Law
and the Power of the District Attorney
In Making the Charging Determination

10. The 1978 California Death Penalty Law
and Equal Protection with Respect to
Disparate Sentence Review

11. The California Supreme Court and the
Fair and Meaningful Review of Capital
Cases

12. California Law and a Uniform Standard
for the Jury’s Death Penalty
Determination

13. Whether California Law Genuinely
Narrows the Class of Death-Eligible
offenders

14. Petitioner’s Death Sentence Predicated
Upon the Use of the Felony-Murder

Doctrine
T. Bias and Prejudice of Trial Jurors
1. Legal Standards Governing Claims of Juror
Bias
2. Juror Peinado
3. Jurors Alvarado, Wight, and Long
4. Unidentified Juror Who Killed in the Line of
Duty
5. Conclusion
U. Incompetence of Trial Juror
Vv. Jury’s Consideration of Extraneous Evidence
1. Map
2. Bailiff’s Demonstration
3. Jury Comments

ill

198

199

200

200

202

203

205

205

208

211

216

223

227

228

237

241

244

248

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 5 of 267

4. Newspaper

5. Consultations with Ministers
6. Remorse
W. Ineffective Assistance of Counsel/Petitioner's

Mental Condition, Family History, Upbringing and
Injuries . Se ee

X. Cumulative Error

CONCLUSION

iv

250

252

256

258

258

259

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 6 of 267

This action, a petition for a writ of habeas corpus
challenging a capital conviction and sentence pursuant to 28 U.S.C.
§ 2254, came before the court for hearing on respondent's motion for
summary judgment or to dismiss and petitioner’s cross-motion for
partial summary judgment. Deputy Attorney General George M.
Hendrickson and Supervising Deputy Attorney General Harry J. Colombo
appeared on behalf of respondent. Richard C. Neuhoff and Deputy
Federal Defender Connie Alvarez appeared on behalf of petitioner.
After hearing oral argument, the court took the cross-motions under
submission. For reasons explained below, the court will recommend
that respondent’s motion be granted in part and denied in part, and
that petitioner’s cross-motion be denied.

FACTUAL OVERVIEW

On June 17, 1984, petitioner robbed liquor store cashier
Greg Hardy of $200 at gunpoint. Petitioner forced Hardy into a
nearby vehicle and released him several blocks away. Hardy ran back
to the liquor store, told his employer and called police identifying
and describing petitioner and his car.

Later that day petitioner was seen driving a 1982 maroon
Corvette into a gas station with a young woman passenger. While
petitioner was pumping gas, an assistant manager saw the young woman
at a phone booth mouthing “help me” before petitioner grabbed her by
the hand, took her to the car and sped away. The assistant manager
wrote down the license plate and called police, who determined that
the car was registered to Connie Decker, License No. CONNI 82. Ms.
Decker’s body was found the next morning in a field that was

1

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 7 of 267

surrounded by a chain link fence in Rancho Cordova. It was
determined by crime scene investigators that Ms. Decker had been
killed at another location the afternoon of June 17, with gunshot
wounds to the head identified as the cause of death.

Although petitioner had earlier borrowed another vehicle,
he appeared the afternoon of June 17 with Ms. Decker’s maroon
Corvette and told a companion that he had pulled a gun on a lady at a
liquor store and dumped her off at the outskirts of town. Petitioner
also told the companion that he did not think the lady would be
crying about her car anymore and that he was going to change the
license plates. Petitioner had the Corvette, now bearing license
plates taken from a laundry truck, the remainder of the day and
attempted to pay for gas with Ms. Decker’s credit card.

On June 19 police on surveillance approached petitioner
near his mother’s home. Petitioner ran away to a park clubhouse,
barricaded himself in and threatened to shoot. Petitioner refused to
surrender during a forty-five minute stand-off and was eventually
shot in the arm and leg by police, arrested and taken for treatment
at an emergency hospital. A hypodermic injection kit and a .32
caliber automatic pistol later identified as the murder weapon were
recovered at the time of petitioner's arrest. After treatment,
petitioner purportedly waived his Miranda rights and agreed to talk
to a deputy sheriff. Petitioner stated that he had shot up with
heroin the afternoon of June 17. He admitted that thereafter he had
taken the Corvette at gunpoint for a joyride but contended that Ms.
Decker was killed by a “Mexican hitchhiker” he had picked up.

2

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 8 of 267

Petitioner claimed that he dropped the hitchhiker and Ms. Decker off
to go joyriding and that when he returned, Ms. Decker had been shot
and put in a nearby dumpster. He told the deputy that he and the
hitchhiker had changed the license plates on the Corvette, shown the
car off to family and friends and returned the next day moving the
body to the location where it was found. Police searched the
identified dumpster, finding the victim’s clothing and a bullet
casing matching the murder weapon.

At trial the defense case focused solely on the theory that
due to heavy cocaine use and lack of sleep petitioner did not intend
or premeditate the shooting of Ms. Decker but rather had reacted
impulsively and irrationally in a frightened and paranoid mental
state that was inconsistent with deliberation and premeditation. In
support of this defense they presented testimony from persons who had
known petitioner over the years and had witnessed the effects of his
drug (cocaine and heroin) use during the relevant time period. The
defense also presented evidence of petitioner’s drug-induced
increasingly irrational behavior in the days leading up to June 17,
1984. Finally, the defense introduced expert testimony in support of
its theory that petitioner was acting under the influence of cocaine
at the time of the killing and with neither deliberation or
premeditation.

The jury convicted petitioner of the murder, robbery and
kidnapping for robbery of Connie Decker; the robbery and kidnapping
for robbery of Greg Hardy; assault with a deadly weapon on a police
officer; and being an ex-felon in possession of a firearm. The jury

3

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 9 of 267

also found that the murder was committed under the special
circumstances of kidnapping and robbery and that petitioner had
personally used a firearm in the commission of the offense.

At the penalty phase the prosecution, through stipulation,
established that petitioner had previously been convicted of
assaulting a police officer, misdemeanor battery and armed robbery.
The defense presented mitigating evidence through the testimony of
family and friends of petitioner. Petitioner’s father testified,
characterizing the family as “very close.” The father testified that
he had a good relationship with his children although he had left the
family in 1976 and knew the children were “unhappy” but did not know
why. Petitioner’s father also stated that he never knew his son to
use drugs.

On the other hand, petitioner’s mother testified that her
Marriage with petitioner’s father went through stressful periods,
eventually deteriorating, and that she suspected her husband was
sexually abusing their daughter. She related that the daughter had
run away from home and that petitioner became very angry with his
father at that point. Petitioner’s sister testified that the father
had molested her beginning at age nine and that both she and
petitioner began using drugs at an early age as an escape from their
father’s abuse. She testified that her father had sexually abused
her brother Michael and that she suspected he had abused petitioner
as well. When, in 1982, she discussed the sexual abuse with
petitioner, he became angry and rageful. She recounted that
petitioner’s abuse of drugs was getting worse at that time. Defense

4

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 10 of 267

counsel also presented testimony from a priest who was a family
friend in support of petitioner and from a woman who recounted that
while she was on a raft trip in 1973, petitioner, who was a stranger
to her, jumped into the rapids in a heroic but unsuccessful attempt
to help her rescue a friend who was drowning.

The jury returned a sentence of death. Thereafter the
state trial court imposed the death sentence and a consecutive
sentence of ten years, eight months. On direct appeal the judgment
and sentence was affirmed by the California Supreme Court. People v.
Breaux, 1 Cal. 4th 281 (1991). Petitioner's petition for rehearing
was denied by that court on February 26, 1992. A petition for writ
of certiorari was denied by the United States Supreme Court on
October 5, 1992.' Breaux v. California, 506 U.S. 874 (1992).

PROCEDURAL HISTORY

This case commenced on April 6, 1993, with the filing of a
petition and a motion for the court to appoint counsel. On June 7,
1993, respondent filed motions to strike or disregard specified
allegations, to dismiss for lack of exhaustion, and to dismiss a
specified claim due to procedural bar. On February 28, 1994, the
assigned district judge granted respondent's motion to dismiss with
respect to those claims identified in the order as unexhausted and
denied the motion in all other respects. On August 25, 1994, the

action was stayed pending exhaustion of the unexhausted claims in

 

* Petitioner’s first state petition for writ of habeas corpus

was filed with the California Supreme Court while the direct appeal
was pending. That state habeas petition was summarily denied on
November 20, 1991.

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 11 of 267

state court. On July 7, 1995, petitioner submitted to the court an
amended petition for writ of habeas corpus, including all claims
pleaded in the original petition (both exhausted and unexhausted),
plus two new claims, Claims V and W. The court filed the document
upon its receipt. However, on August 8, 1995, the court issued an
order directing the clerk to “de-file” and lodge the amended
petition, stating that the court would take up the question of its
filing after the exhaustion of state remedies.

On October 3, 1997, petitioner's counsel filed a letter
advising the court that on September 24, 1997, the California Supreme
Court had denied his second petition for writ of habeas corpus. On
October 10, 1997, the stay of this litigation was lifted. On
November 12, 1997, the undersigned issued an order stating that the
amended petition was deemed filed. On February 10, 1998, respondent
filed a motion for summary judgment and motion to dismiss specified
claims in the amended petition. On April 14, 1998, the undersigned
issued an order requiring the motion to be addressed in stages, with
the first stage limited to the questions of: (1) whether the AEDPA
applies to the amended petition or any claims therein; (2) what date
should be deemed the effective filing date of the amended petition;
(3) exhaustion; and (4) certain aspects of procedural bar.

On June 16, 1999, the undersigned issued findings and
recommendations recommending that respondent's motion to dismiss for
failure to exhaust and procedural default be denied, that the
effective filing of the amended petition be November 12, 1997. The
court also recommended that the AEDPA be found inapplicable to the

6

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 12 of 267

amended petition in its entirety. In an order filed September 29,
1999, the assigned district judge adopted the conclusions reached in
those findings and recommendations, with certain clarifications and
exceptions. That order denied respondent’s motion to dismiss,
determined the date of filing of the amended petition to be November
12, 1997, and found the AEDPA inapplicable to the amended petition in
its entirety.

In light of these rulings, on December 29, 1999, respondent
filed an alternative motion for summary judgment and motion to
dismiss specified claims in the amended petition. On June 21, 2000,
petitioner filed opposition to that motion and took the unusual step
of filing a cross-motion for summary judgment. Respondent’s sweeping
motion seeks dismissal or judgment in his favor as to all claims in
the amended petition, including the inadequate assistance of counsel
claims. In turn, petitioner seeks judgment in his favor as to claims
A-E, F (in part), G, H, I, J, K, L, N, 0, P, Q, R, § (in part), T, U,

V and W (in part) .?

 

* As indicated to the parties prior to the filing of these

voluminous motions, the undersigned has serious reservations
regarding the usefulness of all-encompassing motions for summary
judgment in death penalty habeas corpus actions. Every judicial
officer to address a capital habeas action struggles with the
effective management of the litigation. No matter the procedure
followed, one is left with doubt that the action is being optimally
managed. Nonetheless, the early filing of a summary judgment motion
seeking disposition of all claims appears particularly inefficient.
First, the motion is unlikely to dispose of all claims, particularly

those raising inadequate assistance of counsel. Thus, as to those
claims remaining after the motion is ruled upon, both the parties and
the court will address the merits at least twice. Second,

unnecessary delay is of concern to all involved in capital cases.
Rather than expediting resolution, such summary judgment motions
merely bring about additional lengthy delay. Third, counsel for

7

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 13 of 267

Below the court will first address the standards for both
summary judgment and the granting of habeas relief before turning to
the arguments of the parties as to each claim of the amended
petition.

SUMMARY JUDGMENT STANDARDS

The Rules Governing Section 2254 Cases in the United States
District Courts establish that “[t]he Federal Rules of Civil
Procedure, to the extent that they are not inconsistent with these
rules, may be applied, when appropriate, to petitions filed under
these rules.” Rule 11, Rules Governing § 2254 Cases (emphasis
added). Thus, summary judgment motions have been found appropriate
in habeas corpus proceedings. Blackledge v. Allison, 431 U.S. 63, 80
(1977); Clark v. Johnson, 202 F.3d 760, 764-65 (5th Cir. 2000) (‘As a
general principle, Rule 56 of the Federal Rules of Civil Procedure,
relating to summary judgment, applies with equal force in the context
of habeas corpus cases.”). Nonetheless, the court is not bound in

habeas proceedings to “systematically apply traditional rules

 

petitioners, particularly those inexperienced in death penalty habeas
litigation, are lured into concentrating on the early-filed motion,
while failing to complete the necessary work that the court assumes
is being undertaken concurrently. Fourth, to the extent that the
cost of capital litigation is a concern to many, such motions
drastically increase that cost. In this regard, anyone familiar with
the practice of law is aware that extensive briefing in connection
with law and motion results in a significant increase in legal fees
charged. Fifth, because the law in this area is often unsettled,
there is a great risk that the resources expended on the motion will,
at least in part, be wasted should the law change prior to the
ultimate disposition of the case. This is not to say that there is
never a place for summary judgment motions in the effective
management of these cases. However, for the reasons stated above,
the undersigned will continue to discourage the filing of all-
encompassing summary judgment motions in most cases.

8

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 14 of 267

governing civil proceedings when to do so would be inconsistent with
the overriding purpose of the federal habeas corpus statute.” Brown
v. Vasquez, 952 F.2d 1164, 1169 (9th Cir. 1991).

Summary judgment is appropriate in a civil case when it is
demonstrated that there exists no genuine issue as to any material
fact, and that the moving party is entitled to judgment as a matter
of law. Fed. R. Civ. P. 56(c); gee also Adickes v. S.H. Kress & Co.,
398 U.S. 144, 157 (1970); Owens v. Local No. 169, 971 F.2d 347, 355
(9th Cir. 1992).

The party moving for summary judgment

always bears the initial responsibility of

informing the district court of the basis for its

motion, and identifying those portions of "the

pleadings, depositions, answers to

interrogatories, and admissions on file, together

with the affidavits, if any," which it believes

demonstrate the absence of a genuine issue of

material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). "[Wlhere the
nonmoving party will bear the burden of proof at trial ona
dispositive issue, a summary judgment motion may properly be made in
reliance solely on the ‘pleadings, depositions, answers to
interrogatories, and admissions on file.'" Id. Indeed, summary
judgment should be entered, “after adequate time for discovery and
upon motion, against a party who fails to make a showing sufficient
to establish the existence of an element essential to that party's
case, and on which that party will bear the burden of proof at
trial.” Id. at 322. "[A] complete failure of proof concerning an

essential element of the nonmoving party's case necessarily renders

9

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 15 of 267

all other facts immaterial." Id. at 323. In such a circumstance,
summary judgment should be granted, "so long as whatever is before
the district court demonstrates that the standard for the entry of
summary judgment, as set forth in Rule 56(c), is satisfied." Id.

If the moving party meets its initial responsibility, the
burden then shifts to the opposing party to establish that a genuine
issue as to any material fact actually does exist. Matsushita Elec,

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986); see also

 

First Nat'l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 288-89
(1968); Ruffin v. County of Los Angeles, 607 F.2d 1276, 1280 (9th
Cir. 1979).

In attempting to establish the existence of this factual
dispute, the opposing party may not rely upon the denials of its
pleadings, but is required to tender evidence of specific facts in
the form of affidavits, and/or admissible discovery material, in
support of its contention that the dispute exists. Rule 56(e);
Matsushita, 475 U.S. at 586 n.11; see also First Nat'l Bank, 391 U.S.
at 288-89; Strong v. France, 474 F.2d 747, 749 (9th Cir. 1973). The
Opposing party must demonstrate that the fact in contention is
material, i.e., a fact that might affect the outcome of the suit
under the governing law, and that the dispute is genuine, i.e., the
evidence is such that a reasonable jury could return a verdict for
the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
248 (1986); T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors
Ass'n, 809 F.2d 626, 630 (9th Cir. 1987).

LI f/f

10

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 16 of 267

In seeking to establish the existence of a factual dispute,
the opposing party need not establish a material issue of fact
conclusively in its favor. It is sufficient that "the claimed
factual dispute be shown to require a jury or judge to resolve the
parties' differing versions of the truth at trial." First Nat'l
Bank, 391 U.S. at 289. See also T.W. Elec. Serv., 809 F.2d at 630.
Thus, the "purpose of summary judgment is to 'pierce the pleadings
and to assess the proof in order to see whether there is a genuine
need for trial.'" Matsushita, 475 U.S. at 587 (quoting Fed. R. Civ.

P. 56(e) Advisory Committee Note to 1963 Amendment). See also Int’l

 

 

Union of Bricklayers & Allied Craftsman Local Union No. 20 v. Martin

Jaska, Inc., 752 F.2d 1401, 1405 (9th Cir. 1985).

 

In resolving the summary judgment motion, the court
examines the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any. Rule
56(c); see also SEC v. Seaboard Corp., 677 F.2d 1301, 1305-06 (9th
Cir. 1982). The evidence of the opposing party is to be believed,
Anderson, 477 U.S. at 255, and all reasonable inferences that may be
drawn from the facts placed before the court must be drawn in favor
of the opposing party, Matsushita, 475 U.S. at 587-88 (citing United
States v. Diebold, Inc., 369 U.S. 654, 655 (1962); see also United
States v. First Nat’1] Bank of Circle, 652 F.2d 882, 887 (9th Cir.
1981). Nevertheless, inferences are not drawn out of the air, and it
is the opposing party's obligation to produce a factual predicate
from which the inference may be drawn. See Richards v. Nielsen
Freight Lines, 602 F. Supp. 1224, 1244-45 (E.D. Cal. 1985), aff'd,

ll

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 17 of 267

810 F.2d 898, 902 (9th Cir. 1987). Moreover, a scintilla of evidence
or evidence that is merely colorable or not significantly probative
does not present a genuine issue of material fact precluding summary
judgment. Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir.
2000); Summers v. A. Teichert & Son, Inc., 127 F.3d 1150, 1152 (9th
Cir. 1997).

Finally, to demonstrate a genuine issue, the opposing party
"must do more than simply show that there is some metaphysical doubt
as to the material facts. . . . Where the record taken as a whole
could not lead a rational trier of fact to find for the non-moving
party, there is no 'genuine issue for trial.'" Matsushita, 475 U.S.
at 586-87 (citations omitted).

HABEAS CORPUS STANDARDS

As noted above, petitioner filed his original petition
prior to the enactment of the AEDPA and pre-AEDPA standards of review
therefore govern. See Lindh v. Murphy, 521 U.S. 320, 326 (1997).
Under those standards a writ of habeas corpus is available under 28
U.S.C. § 2254 only on the basis of some transgression of federal law
binding on the state courts. See Peltier v. Wright, 15 F.3d 860, 861
(9th Cir. 1994); Middleton v. Cupp, 768 F.2d 1083, 1085 (9th Cir.
1985) (citing Engle v. Isaac, 456 U.S. 107, 119 (1982)). It is not
available for alleged error in the interpretation or application of
state law. See Estelle v. McGuire, 502 U.S. 62, 67-68 (1991); Park
v. California, 202 F.3d 1146, 1149 (9th Cir. 2000); Middleton, 768
F.2d at 1085.

//f//

12

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 18 of 267

However, “a claim of error based upon a right not
specifically guaranteed by the Constitution may nonetheless form a
ground for federal habeas relief where its impact so infects the

entire trial that the resulting conviction violates the defendant's

right to due process.” Hines v. Enomoto, 658 F.2d 667, 672 (9th Cir.
1981) (citing Quigg v. Crist, 616 F.2d 1107 (9th Cir. 1980)). See

also Lisenba v. California, 314 U.S. 219, 236 (1941); Henry v.
Kernan, 197 F.3d 1021, 1031 (9th Cir. 1999). In order to raise such

a claim in a federal habeas corpus petition, the error alleged must

have resulted in a complete miscarriage of justice. ee Hill v.
United States, 368 U.S. 424, 428 (1962). See also Henry, 197 F.3d at

 

1031; Crisafi v. Oliver, 396 F.2d 293, 294-95 (9th Cir. 1968).

State court factual findings are presumed correct unless
one of eight enumerated exceptions apply. See 28 U.S.C. §
2254 (d) (1994). The state courts’ application of law to historical
facts is reviewed de novo. Belmontes v. Woodford, 350 F.3d 861, 878
(9th Cir. 2003) (citing Thompson v. Borg, 74 F.3d 1571, 1573 (9th
Cir. 1996)).

NEW RULE UNDER TEAGUE V. LANE

With respect to nine of petitioner’s claims (A, D, F, K, M,
O, P, R & S) respondent argues that, if adopted, petitioner’s
position would constitute a “new rule” which could not be applied to
his case under the Supreme Court's decision in Teague v. Lane, 489
U.S. 288 (1989). In each instance petitioner contests respondent’s
assertion, arguing that respondent’s application of the Teague bar is

overbroad. The court finds it appropriate to briefly address this

13

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 19 of 267

disputed point before proceeding to a claim-by-claim analysis of the
eross-motions.

In Teague the Supreme Court held that new rules of criminal
procedure are generally not applicable on habeas review. 489 U.S. at
301, 310; Gonzalez v. Pliler, 341 F.3d 897, 904 (9th Cir. 2003).
Thus, “[w]ith few exceptions, the Teague non-retroactivity doctrine

prohibits courts from announcing new rules of law in federal habeas

proceedings.” Hoffman v. Arave, 236 F.3d 523, 537 (9th Cir.), cert.
denied, 534 U.S. 944 (2001). However, a decision announces a “new

rule” only if it “‘breaks new ground or imposes a new obligation on
the States or the Federal Government [or] if the result was not

dictated by precedent existing at the time the defendant’s conviction

 

became final.’” Jones v. Smith, 231 F.3d 1227, 1236 (9th Cir.
2000) (quoting Teague, 489 U.S. at 301). See also Hoffman, 236 F.3d
at 537. Thus, “‘[t]o determine what counts as a new rule, Teaque

requires courts to ask whether the rule a habeas petitioner seeks can
be meaningfully distinguished from that established by binding
precedent at the time his state court conviction became final.’"
Hoffman, 236 F.3d at 537 (quoting Wright v. West, 505 U.S. 277, 304
(1992) (O'Connor, J., concurring)). See also Gonzalez, 341 F.3d at
904. Finally, courts assessing whether a decision would announce a
“new rule” must survey their own case law for guidance. Graham v.
Collins, 506 U.S. 461, 469 (1993); Belmontes, 350 F.3d at 884 (“[Wle
have held that circuit court holdings suffice to create a ‘clearly
established’ rule of law under Teagque.”); Gonzalez, 341 F.3d at 904.
Jf f/f

14

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 20 of 267

The requisite legal principles upon which petitioner relies
in support of Claims A (coercion of jury verdict), D (juror
misconduct), F (denial of discovery with respect to citizen
complaints against police officers), K (challenging the consciousness
of guilt jury instruction), M (death qualification of the jury), Oo
(petitioner’s absence from various court proceedings), P (improper
excusing of prospective jurors for bias against the death penalty), R
(prosecutor’s improper and discriminatory use of peremptory
challenges) and S (constitutional challenges to the California death
penalty scheme) are, for the most part, clearly established. The
question presented by those claims is whether the state courts
reasonably applied those well-established principles.

Accordingly, unless otherwise specifically indicated below,
the court finds that petitioner's claims are not barred by the
holding in Teague. See Wright v. West, 505 U.S. 277, 308 (1992)
(Kennedy, J., concurring) (“If the rule in question is one which of
necessity requires a case-by-case examination of the evidence, then
we can tolerate a number of specific applications without saying that
those applications themselves create a new rule.”); Gonzalez, 341
F.3d at 904; Brown v. Poole, 337 F.3d 1155, 1161 (9th Cir. 2003);
Hoffman, 236 F.3d at 538; Torres v, Prunty, 223 F.3d 1103, 1110 (9th
Cir. 2000) (“[T]he district court merely applied the rule ...toa
new set of facts.”).

LIL ff
//// 1
///f//

15

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 21 of 267

ANALYSIS
A. Coercion of Penalty Phase Verdict

In his first claim petitioner asserts that the trial
court’s rejection of the jury’s declaration of a deadlock in the
penalty phase and its order that the jury deliberate further upon
learning that the jury was split 10-2, was coercive in violation of
his rights under the Fifth, Sixth, Eighth and Fourteenth Amendments.
(Am. Pet. at 42.)

The jury trial in petitioner’s case commenced on October 7,
1986. (Clerk’s Transcript (CT) at 1104.) The jurors were sworn and
the taking of evidence with respect to the guilt phase trial
commenced on December 1, 1986. (CT at 1289.) On December 18, 1986,
the jury was instructed and began their guilt phase deliberations.
(CT at 1422.) On December 19, 1986, the jury returned their guilt
phase verdicts. (CT at 1451-56.)

The penalty phase commenced on December 22, 1986. (CT at
1457.) On December 29, 1986, the jury was instructed and at 2:35
p-m. commenced deliberations in the penalty phase of the trial. (cT
at 1547.) The jury recessed at 4:20 p.m. and returned at 10:00 a.m.
the following day to resume deliberations. (Id.) Deliberations
continued on December 30 and 31. (CT at 1549-50.)

On January 5, 1987, the jury sent out a note reporting that
after taking several polls and discussing the evidence, they were
unable to reach a verdict. (CT at 1551; Reporter’s Transcript (RT)
TI Tf
L/LT/

16

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 22 of 267

at 7425, 7437.) After conferring with counsel,’ the trial judge
inquired of the foreperson whether with further deliberations there
was a chance that the jury might come to a decision. (RT at 7437.)
The foreperson expressed a belief that “perhaps” there was a chance
that the jury could come to decision with further deliberation.

(Id.) Three other jurors were then polled by the trial judge with
one stating he believed a verdict could be reached, another stating
that perhaps a verdict could result and a third expressing the belief
that there was not any chance that further deliberations would
resolve the jurors’ differences. (RT at 7437-38.) The trial judge

then terminated the polling and instructed the jury “to go back once

more and resume your deliberations in the matter.” (RT at 7438.)
The jury resumed their deliberations at approximately 11:30 a.m. (RT
at 7444.)

At 1:45 p.m. on January 5, the court received a note from
the jury stating that they were “not able to reach a unanimous
S/T f/
///t/

 

° The prosecutor first requested that the trial court request

that the jurors resume their deliberations without inquiring into
their numerical split out of concern that a reviewing court might
interpret such an inquiry as coercive with respect to those in the
minority. (RT at 7430-33.) The trial judge rejected the request,
stating that he would first determine if the jurors agreed they were
deadlocked and that if he inquired as to the split, he would do so in
such a way that the jury did not reveal which way the majority was
standing. (RT at 7431-32, 7434.) It was defense counsel’s request
that the court at the outset inquire as to the numerical split and
how many votes were cast in favor of death and how many in favor of
life without the possibility of parole. (RT at 7435.) The defense
request was also denied. (RT at 7436, 7439.)

17

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 23 of 267

decision.” (RT at 7440; CT at 1551, 1553.)* The jury foreperson
reported that in the approximately two hours since they last reported
to the court, the jury had taken one poll with no change in the vote
division. (RT at 7444.) The jurors were polled and each confirmed
that they did not believe there was a chance of reaching a penalty
phase verdict through further deliberations.° (RT at 7444-46.) Upon
inquiry by the trial judge that she provide only the numerical split
and not reveal the numbers for and against either penalty, the
foreperson reported that the numerical split on the last ballot taken
was two to ten. (RT at 7446-47.) The trial judge then asked the
jury to attempt further deliberations, stating:

I’m going to ask the jury, regardless of what you
said, to attempt to deliberate further.

I’m going to instruct you and remind you once
more, however, that both sides are entitled to
the individual opinion of each juror and no juror
should vote in a particular fashion just because
of a majority vote in that fashion or any vote in
that fashion.

In other words, your vote shall be an independent
individual vote.

However, I’m going to ask you for a short period
of time to try once more and see if you think
there is a chance of reaching a verdict and,

 

* Before addressing the jury on this occasion the trial judge

expressed concern that he did not wish to inquire into how the jury
was split in such a way as to suggest that the minority should give
more thought to giving up to the majority but that he also was
reluctant to declare a mistrial of the penalty phase after what he
viewed as only a day and one half of penalty phase deliberations.
(RT at 7442-43.)

° One juror answered that he believed the possibility that
further deliberations would change the views of any jurors to be
“extremely slight at this point.” (RT at 7445.)

18

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 24 of 267

well, shortly from now, if (sic} won’t be too

long from now, I’1l call you back in and see

where you stand, if any progress has been made.

Thank you.

(RT at 7447.)°

Approximately one-half hour after receiving this
instruction the jury requested that the guilt phase testimony of
three prosecution witnesses be re-read. (RT at 7448-49; CT 1552,
1554.) The requested testimony was re-read to the jury during the
afternoon of January 5 and the morning of January 6. At 2:20 p.m. on
January 6, 1987, the jury returned a verdict of death. (RT at 7458-
60; CT at 1556-58.)

Respondent moves for summary judgment on this claim,
arguing that the trial court did not abuse its discretion under
California Penal Code § 1140 in failing to declare a mistrial of the
penalty phase of petitioner’s trial.” (Alt. Mot. for Summ. J. at 42-
43, 47.) Respondent argues that the jury deliberations were not
lengthy in light of the complexity of the case and given the large

amount of evidence, including mitigating evidence presented by

petitioner. Under these circumstances, respondent asserts, the trial

 

* After so instructing, the trial judge expressed his intent to

call the jury back within an hour and if there was no change to
seriously consider declaring a mistrial. (RT at 7448.) He again
noted the length of the overall trial, the relatively short
deliberation and the fact that he had reminded the jurors of their
obligation to vote as individuals. (Id.)

7 Respondent argues that this claim is an attack on the

decision of the trial court and is therefore limited to consideration
of the trial court record and is not subject to factual development
in this habeas proceeding. (Alt. Mot. for Summ. J. at 43, 46.)

19

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 25 of 267

court’s refusal to declare a mistrial was not coercive and was within
the court's properly exercised discretion. (Id. at 51-53 (citing
Illinois v. Somerville, 410 U.S. 458 (1973), and Rodriquez v.
Marshall, 125 F.3d 739 (9th Cir. 1997) .)

Petitioner not only opposes respondent's motion for summary
judgment as to this claim but also moves for summary judgment in his
own favor. (Opp'n & Cross-Mot. for Summ. J. at 62-63.) Petitioner
contends that the trial judge’s ordering of further deliberations
after unequivocally being informed that the jury was unable to reach
a penalty phase verdict was inherently coercive under the totality of
the circumstances. In this regard, petitioner argues that the record
reflects that the jury had deliberated for at least thirteen and one-
half to nineteen hours, approximately three times longer than was
consumed hearing the penalty phase testimony, when it sent out the
second note reporting that it was deadlocked. (Id. at 71.)
Petitioner argues that by that point the jurors had already followed
the trial court’s first directive to deliberate further. (Id.)

After doing so, the jury took another vote with the same result as
the previous one. (Id.) Petitioner notes that all of the jurors
unequivocally informed the trial judge that further deliberations
would not be fruitful. (Id. at 72.) The judge then asked the
foreperson to reveal the numerical split and, upon learning that it
was 10 to 2, immediately ordered deliberations to resume and directed
the jurors to try and make “progress” in “a short period of time.”
(Id.) Petitioner notes that although the trial judge advised the

LT f/f

20

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 26 of 267

jury he would shortly call them back in to see if any progress had
been made, he never did so. (Id. at 75.)

Petitioner argues that inquiring into the jury’s numerical
division was inherently coercive. (Id. at 72 (citing Brasfield v.
United States, 272 U.S. 448, 450 (1926), and Lowenfield v. Phelps,
484 U.S. 231, 239 (1988).) Petitioner asserts that, given the
totality of the circumstances, the trial judge sent a clearly
coercive message that the two holdout jurors should change their
votes. (Id. at 72-76.) Finally, petitioner argues that because the
penalty phase decision is inherently more subjective than a guilt
phase determination, any coercion of jurors in the minority by the
trial judge must be subject to special scrutiny. (Id. at 75-76.)

The factual basis for this claim is fully developed in the
record before the court and has been fairly summarized above.®

Whether to declare a mistrial is normally left to the sound
discretion of the trial court, which is in the best position to
assess the likelihood of a jury being able to reach a verdict.
Rodriquez v. Marshall, 125 F.3d 739, 748 (9th Cir. 1997), overruled
in part on other grounds by Payton v. Woodford, 299 F.3d 815 (9th

Cir. 2002). Of course, a criminal defendant has a constitutional

 

8 Contrary to respondent’s claim, to the extent petitioner has

presented additional evidence in support of this claim, that evidence
may properly be considered by this court. That evidence is limited
simply to declarations which clarify the record regarding the length
of penalty phase jury deliberations prior to the court’s receipt of
the jury’s notes reporting a deadlock. While the length of
deliberations is a relevant consideration, whether those
deliberations precisely spanned “approximately eight,” thirteen and
one-half, or nineteen hours does not affect the resolution of the
issue before this court.

21

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 27 of 267

right to an uncoerced jury verdict. Lowenfield v. Phelps, 484 U.S.
231, 241 (1988). As the Ninth Circuit Court of Appeals has observed:

Whether the comments and conduct of the state

trial judge infringed defendant's due process

right to an impartial jury and fair trial turns

upon whether "the trial judge's inquiry would be

likely to coerce certain jurors into

relinquishing their views in favor of reaching a

unanimous decision."
Jiminez v. Myers, 40 F.3d 976, 979 (9th Cir. 1994) (quoting Locks v.
Sumner, 703 F.2d 403, 406 (9th Cir. 1983)). Whether a court’s
actions were coercive must be assessed in light of the context and
under all of the circumstances of the case. Lowenfield, 484 U.S. at
237; Jiminez, 40 F.3d at 979-80; Locks, 703 F.2d at 406-07. However,
a state trial court’s inquiry into the numerical split of the jury
absent other circumstances of coercion does not deprive a defendant
of due process. Jiminez, 40 F.3d at 980; Locks, 703 F.2d at 407; see
also Lowenfield, 484 U.S. at 240 n.3 (citing cases).* Finally, in
determining whether a supplemental jury instruction is improperly
coercive it is appropriate to consider: (1) the form of the jury
charge; (2) the length of deliberation following the charge; (3) the
total time of deliberation; and (4) other indicia of coerciveness or
pressure. Weaver v. Thompson, 197 F.3d 359, 366 (9th Cir. 1999)

(citing United States v. Wills, 88 F.3d 704, 717 (9th Cir. 1996)).

/// tf

 

° The rule is different on direct review of a federal criminal

conviction, where such an inquiry into the numerical division of the

 

jury requires reversal. See Brasfield v. United States, 272 U.S. 448
(1926). However, that per se rule rests on the supervisory power of
the court rather than upon constitutional grounds. See Lowenfield,

484 U.S. at 239-40; Jiminez, 40 F.3d at 980 n.3.

22

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 28 of 267

Considering all the circumstances in this case, the court
concludes that the state trial judge’s actions did not deprive
petitioner of due process. When the jury first indicated that it was
not able to come to a unanimous penalty phase decision, the trial
court merely inquired as to whether further deliberations might prove
helpful. Three of the four jurors polled indicated in one way or
another that further deliberations might assist in resolving the
juror's differences. Certainly, the trial judge committed no error
in directing the jury to resume their deliberations at that point.

It was little more than two hours later’? when the jury
communicated that they were unable to reach a unanimous penalty phase
decision. Upon inquiry, the trial court learned that only one poll
had been taken by the jury since they last appeared in court, albeit
with the same result as before. The court polled the entire jury for
the first time and was told that none of the jurors believed that
additional deliberations would assist. Only then did the court
inquire as to the numerical split of the jury. Upon learning that
the split was two to ten the trial judge asked the jury to attempt
further deliberations but specifically instructed them that both
sides were entitled to the individual opinion and vote of each juror
and reminded them that no juror should vote in a particular fashion
just to succumb to the majority. The trial judge told the jury that
he would call them back in shortly to see if any progress had been

made. This proved to be unnecessary when only one-half hour later

 

 

© It appears that during that two hours and fifteen minutes

the jury may well have had lunch. (RT at 7444.)

23

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 29 of 267

the jury requested that the testimony of three guilt phase
prosecution witnesses be re-read, thus indicating that deliberations
were once again progressing. The verdict was returned the afternoon
of January 6 after the completion of the re-reading of the requested
testimony.

As recognized above, however, the state trial court’s
inquiry into the numerical split of the jury does not deprive a
defendant of due process. Nor do the other surrounding circumstances
establish coercion in this case. The trial judge took precaution to
avoid learning whether the jury was ten to two in favor of a death
verdict or a verdict of life without the possibility of parole. He
did not attempt to identify the jurors in the minority. His
instruction neither urged the jurors to reach a unanimous verdict nor
criticized any position taken by a juror. The trial judge did not
send a message to the jury that the jurors in the minority should
succumb to the will of the majority to reach a verdict. In fact, he
specifically instructed the jury to the contrary. This is not a case
in which upon an announced impasse the trial judge inquired of the
number of ballots taken, learned of movement over time in those
ballots from a division of seven to five to eleven to one and then,
without cautionary instruction that the minority should not succumb
to the majority for the sake of reaching a verdict, directed the jury
to resume deliberations in light of the substantial movement. See
Jiminez, 40 F.3d at 980-81.

Petitioner takes issue with respondent’s estimate of the
length of penalty phase deliberations, arguing that at the point the

24

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 30 of 267

jury announced an impasse deliberations had gone on at least three
times longer than the penalty phase of the trial itself. The
argument is too narrowly focused and misses the mark. The jury in
petitioner’s case heard eleven days of testimony in the guilt phase
of the trial, followed by closing arguments that spanned two days.
The fact that the defense penalty phase case included six witnesses
testifying for approximately four hours over the course of only two
day (RT at 7005-7148) is not dispositive. When the jury resumed
their penalty phase deliberations on January 5 they asked for the re-
reading of testimony of prosecution guilt phase witnesses who had
testified on December 1, 3, 11 and 12. Given the overall length of
the trial the jury’s penalty phase deliberations were not
particularly lengthy. Consideration of this factor does not lead to
the conclusion that the trial court’s action were coercive.
Moreover, the jury did not immediately return a verdict after being
asked by the court to return to their deliberations on January 5.
Rather, despite the fact that it was suggested by the court that
their deliberations might end if no progress was made, they requested
the re-reading of the testimony noted above, deliberated further and
did not return their penalty verdict until the following day at 2:20
p.m. This set of circumstances indicates that the verdict was not
the product of coercion. See United States v. Hernandez, 105 F.3d
1330, 1334 (9th Cir. 1997).

Finally, petitioner argues that because the jurors’ penalty
phase decision is inherently moral and not factual, the actions of
the trial court in directing the jury to deliberate further should be

25

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 31 of 267

subject to particular scrutiny for coercion. Petitioner cites no
authority for this heightened standard of review. Even if the
actions of the trial court were reviewed under the suggested
standard, for the reasons set forth above, this court concludes that
under these circumstances no juror on the panel would have felt
pressured to reach any verdict.

Accordingly, respondent’s motion for summary judgment
Should be granted and pétitioner’s cross-motion denied as to this
claim.

B. Prosecutorial Misconduct During Closing Argument

As transcribed, the prosecutor’s opening argument to the
jury at the conclusion of the penalty phase of the trial spanned
approximately twenty-eight pages. After addressing the law, the jury
instructions, and the penalty phase testimony, the prosecutor turned
to the 1984 murder for which the petitioner had just been convicted.
(RT at 7326-28.) At that point the prosecutor argued to the jury:

And you know what the defendant did in 1984 as to
Greg Hardy and as to Connie Decker. As he took
the victims from their locations around, as he
moved Greg Hardy around at gunpoint, the
defendant displayed for you a degree of
callousness that I hope you never see again. As
he took Connie Decker around Sacramento, he
displayed for you a degree of callousness, a
baseness that I hope you never see again. What
do you think, honestly, now? You know, what do
you think about the mitigating circumstances of
the defendant? Specifically, what do you think
about sympathy for someone who commits those
crimes, who commits things like that, who kills
without any justification for it? I’m not
talking about legal justification only. I’m
talking about moral justification. Any excuse
whatsoever. Anything at all that kind of makes
it, although not a defense, makes the defendant

26

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 32 of 267

less culpable in some way? What is it? There
isn’t. There simply isn’t. It’s despicable what
the defendant did. There is no way around it,
and it’s not -- it’s not because I say it and
it’s not because you see it that way, it’s simply
because that’s the way he did it. It’s simply
the way he did his crimes.

* k *

After he killed Connie Decker, you saw at no time

under any circumstance through any witness, any

expression by the defendant of remorse for what

he did, a human feeling for what he did.

(RT at 7327-29.)** Later, just before concluding, the prosecutor
argued:

It was simply consistent, totally consistent with

the defendant, totally consistent with his

actions, with his actions of violence and

disregard for everyone and everything

He basically does not care. That’s all. He

really, simply does not care.

(RT at 7330.)

At the next recess, petitioner’s trial counsel moved for a
mistrial on the grounds that the prosecutor’s “lack of remorse
argument” was: erroneous as a matter of law, untrue based upon
information provided to the defense by the prosecution, an improper
comment on petitioner’s reliance on his Fifth Amendment right not to

testify and made without the required notice to the defense. (RT at

7357-59.) In response, the prosecutor argued that he was commenting

 

+ Defense counsel objected following this comment, requesting

to be heard outside the presence of the jury after the prosecutor's
argument. (RT at 7329.) Immediately after the objection the
prosecutor continued with his argument, focusing on the petitioner’s
actions immediately after the killing.

27

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 33 of 267

solely on the evidence at trial, focusing on the manner in which the
killing was carried out and on petitioner's actions immediately
following the murder. (RT at 7359-60.) The prosecutor also
questioned whether petitioner was ever remorseful. (Id.) The trial
court denied the motion for a mistrial finding that the prosecutor's
comment was a fair comment on the evidence admitted at trial and
finding that the facts and circumstances of the crime were at issue
rather than whether petitioner lacked remorse. (RT at 7361-62.) On
appeal the California Supreme Court rejected petitioner’s position,
finding the lack of notice argument to be without merit as a matter
of state law and concluding that the comment was not an improper
reference to petitioner's failure to testify but rather was simply a
proper reference to petitioner’s callous behavior after the killing
based upon the evidence presented at trial. People v. Breaux, 1 Cal.
4th 281, 312-14 (1991).

Before this court petitioner claims that the prosecutor
engaged in prejudicial misconduct by arguing to the jury a fact that
the prosecutor knew to be untrue. In this regard, petitioner asserts
that a police report provided to the defense by the prosecution prior
to trial established that petitioner had expressed remorse for the
killing. In that report, a sheriff's deputy stated that while
awaiting his arraignment on the murder charge in the medical
detention facility within the Sacramento Medical Center, petitioner
became upset, his face turned red and with tears in his eyes he said:
TI ff]

Tf /f//

28

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 34 of 267

I'm real sorry about the girl, that she died and

her parents too. [five second pause] All these
people who are here, the trouble, I’m real, real
sorry.

(Am. Pet., Ex. A.)

Petitioner asserts that in addition to constituting
misconduct, the prosecutor’s actions also violated petitioner’s right
to a fair trial because no notice was given, as required under state
law, of the intent to rely on lack of remorse as an aggravating
factor. Petitioner also argues that reliance on lack of remorse as
an aggravating factor is not authorized by California law. Finally,
petitioner claims that because there was no affirmative evidence of
his lack of remorse, the prosecutor’s argument improperly penalized
petitioner for the exercise of his constitutional right not to
testify in his own defense. See Griffin v. California, 380 U.S. 609
(1965).

Respondent moves for summary judgment on this claim. In
doing so respondent disputes neither the actual closing argument made
by the prosecutor nor the police report of Deputy Clegg reflecting
petitioner's statement just prior to his arraignment. Rather,
respondent argues that he is entitled to judgment as a matter of law
because: (1) the state courts’ determination that the prosecutor’s
comment related only to the evidence of events surrounding the murder
and was not an assertion that petitioner had never expressed remorse,
is a factual finding that must be deferred to; (2) the comment was
not improper because the prosecutor could have believed that
petitioner's statement in Deputy Clegg’s presence was not a genuine

29

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 35 of 267

expression of remorse; (3) the argument was not an improper comment
on petitioner's right to remain silent; and (4) in any event, the
prosecutor's statement neither infected the trial with unfairness nor
had a substantial and injurious effect on the jury’s verdict in light
of the evidence.

Petitioner also moves for summary judgment in his favor on
this claim. He argues that the prosecutor's argument was knowingly
false in light of Deputy Clegg’s report, constituted Griffin error
and was improperly made without notice. Citing a number of studies
on the subject, petitioner argues that lack of remorse is the single
most important factor in a jury’s decision to impose the penalty of
death over life without the possibility of parole. Thus, he
concludes, given the closeness of the jury’s vote on the penalty
verdict it cannot be said that the error had no substantial or
injurious effect.

A criminal defendant's due process rights are violated when
a prosecutor's misconduct renders a trial fundamentally unfair.
Darden v. Wainwright, 477 U.S. 168, 181 (1986). However, such
misconduct does not, per se, violate a petitioner's constitutional
rights. Jeffries v. Blodgett, 5 F.3d 1180, 1191 (9th Cir. 1993)
(citing Darden, 477 U.S. at 181, and Campbell v. Kincheloe, 829 F.2d
1453, 1457 (9th Cir. 1987)).

Claims of prosecutorial misconduct are reviewed "'on the
merits, examining the entire proceedings to determine whether the
prosecutor's [actions] so infected the trial with unfairness as to
make the resulting conviction a denial of due process.’" Johnson v.

30

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 36 of 267

Sublett, 63 F.3d 926, 929 (9th Cir. 1995) (citation omitted). See
also Greer v. Miller, 483 U.S. 756, 765 (1987); Donnelly v.
DeChristoforo, 416 U.S. 637, 643 (1974); Turner v Calderon, 281 F.3d
851, 868 (9th Cir. 2002). Relief on such claims is limited to cases
in which the petitioner can establish that prosecutorial misconduct
resulted in actual prejudice. Johnson, 63 F.3d at 930 (citing Brecht
v. Abrahamson, 507 U.S. 619, 637-38 (1993)); see also Darden, 477
U.S. at 181-83; Turner, 281 F.3d at 868. Put another way,
prosecutorial misconduct violates due process when it has a
substantial and injurious effect or influence in determining the

jury's verdict. See Ortiz-Sandoval v. Gomez, 81 F.3d 891, 899 (9th

 

Cir. 1996). Finally, it is the petitioner’s burden to state facts
that point to a real possibility of constitutional error in this
regard. See O’Bremski v. Maass, 915 F.2d 418, 420 (9th Cir. 1990).

1. Lack of Notice Under State Law

 

Petitioner is not entitled to relief to the extent he
claims that he was not provided notice of the prosecution's intent to
rely on lack of remorse as an aggravating factor in violation of
California Penal Code § 190.3. On direct appeal the California
Supreme Court rejected this contention, concluding that under § 190.3
a defendant is entitled to pretrial notice of evidence to be
presented in aggravation, not to notice of argument to be presented.
Breaux, 1 Cal. 4th at 313. Of course, federal habeas relief is not
available for alleged error in the interpretation or application of
state law. See Estelle, 502 U.S. at 67-68.

// f/f

31

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 37 of 267

2. Griffin Error

Next is the question of whether the prosecutor’s remark
violated Griffin by using language that was intended to comment on
petitioner’s failure to testify or was of such a character that the
jury would naturally and necessarily take it to be such. As noted,
the California Supreme Court rejected this claim on direct appeal,
concluding that the comment was not a clear reference to petitioner's
failure to testify and, when considered in the context of the
prosecutor’s closing argument as a whole, was simply a reference to
his callous behavior after the killing. Breaux, 1 Cal. 4th at 313.

The Fifth Amendment prohibits a prosecutor from commenting
to the jury regarding the defendant’s failure to testify at trial.
See Griffin, 380 U.S. at 615. This rule applies equally to both the
guilt phase and penalty phase of a trial. Estelle v. Smith, 451 U.S.
454, 462-63 (1981); Beardslee v. Woodford, 327 F.3d 799, 825 (9th
Cir. 2003); see also Lesko v. Lehman, 925 F.3d 1527, 1544 (3d Cir.
1991). A prosecutorial comment in argument runs afoul of the rule
“if it is manifestly intended to call attention to the defendant’s
failure to testify, or is of such a character that the jury would
naturally and necessarily take it to be a comment on the failure to
testify.” Lincoln v. Sunn, 807 F.2d 805, 809 (9th Cir. 1987).
However, relief is to be granted on such a claim only “‘where such
comment is extensive, where an inference of guilt from silence is
stressed to the jury as a basis for the conviction, and where there
is evidence that could have supported acquittal.’” Beardslee, 327
F.3d at 825 (quoting Lincoln, 807 F.2d at 809). See also Jeffries, 5

32

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 38 of 267

F.3d at 1192. Conversely, relief will not be granted where the
prosecutorial comment is a single, isolated incident, does not stress
the inference of guilt from silence as a basis for the verdict and is
followed by a curative instruction. Lincoln, 807 F.2d at 809.

The comment by the prosecutor in his penalty phase argument
upon which this claim is based was brief, isolated and not of such a
character that the jury would necessarily take it to be a comment on
the failure to testify. Certainly, the comment did not stress
defendant’s failure to testify as a basis for a verdict of death.
Under these circumstances, the prosecutor’s comments do not justify
the granting of relief for Griffin error. See Beardslee, 327 F.3d at
825.

3. False Allegation of a Lack of Remorse

Finally, petitioner argues that in his penalty phase
argument the prosecutor stated that petitioner had never expressed
remorse, knowing that the statement was untrue in light of Deputy
Clegg’s report. This question is more difficult than those addressed
immediately above. The California Supreme Court first avoided the
issue by finding that the Clegg report was not in the record and thus
not properly before the court on appeal and then addressed it by
suggesting that the “prosecutor's comment was clearly limited to the

evidence presented at trial.” Breaux, 1 Cal. 4th at 314.

//f/1

 

“* This suggestion was supported by reference only to the

prosecutor’s subsequent explanation provided in opposing the motion
for a mistrial. Breaux, 1 Cal. 4th at 314.

33

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 39 of 267

The undersigned does not find the comment in question to be
so clearly limited. The precise words spoken were somewhat broad -
“you saw at no time under any circumstances through any witness, any
expression by the defendant of remorse for what he did.” (RT at
7329.) In addition, in responding to the defense mistrial motion the
prosecutor argued in part that he believed that petitioner had not
been remorseful and instead may merely “have felt sorry for himself
having been caught.” (RT at 7359-60.) On the other hand, considered
in the context of the entire argument, the comment was not of such a
specific character that the jury would necessarily have taken it to
be an assertion that petitioner had never expressed remorse to

anyone. See United States v. Robinson, 485 U.S. 25, 33 (1988)

 

(*“[P] rosecutorial comment must be examined in context. .. .");
Donnelly, 416 U.S. at 647 (“[A] court should not lightly infer that a
prosecutor intends an ambiguous remark to have its most damaging
meaning or that a jury, sitting through lengthy exhortation, will

draw that meaning from the plethora of less damaging

interpretations.”); Williams v. Borg, 139 F.3d 737, 745 (9th Cir.
1998) (quoting Donnelly, 416 U.S. at 647). In this regard, both

immediately prior to and after the comment in question the prosecutor
was addressing the manner in which petitioner carried out his crimes
of conviction. (See RT at 7326-30.) Moreover, the reference to
“through any witness” in the challenged comment focused somewhat on
the evidence adduced at trial.

In considering claims of prosecutorial misconduct involving
allegations of improper argument the court is to examine the likely

34

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 40 of 267

effect of the statements in the context in which they were made and
determine whether the comments so infected the trial with unfairness
as to make the resulting conviction a denial of due process. Turner,
281 F.3d at 868; Sandoval v. Calderon, 241 F.3d 765, 778 (9th Cir.
2001), cert. denied, 534 U.S. 943 (2001); see also Donnelly, 416 U.S.
at 643; Darden, 477 U.S. at 181-83.

In this case, the challenged comment was brief, isolated
and somewhat vague in that it could have been taken to refer only to
petitioner's conduct at the time of the killing. While lack of
remorse is no doubt a potentially important factor ina jury’s
decision to impose the penalty of death, the defense had available to
it in pretrial discovery Deputy Clegg’s report and could have
presented evidence at trial of petitioner’s statement just prior to
his arraignment had counsel believed it to be strong evidence on the
issue of remorse. For whatever reason, defense counsel elected not
to do so. Considered in this context the undersigned concludes that
the prosecutor’s brief remark regarding petitioner’s failure to
express remorse for the killing did not render the penalty phase of
the trial fundamentally unfair. Accordingly, respondent’s motion for
summary judgment should be granted as to this claim.

Cc. Ineffective Assistance of Trial Counsel (Claims C, T &

Ww)

In Claim C, petitioner alleges that he was denied his
constitutional right to the effective assistance of counsel because
his trial counsel failed to: (1) introduce available and substantial
evidence of his remorse for the killing; (2) investigate and present

35

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 41 of 267

evidence regarding his use of steroids and Ritalin shortly before the
killing; (3) adequately investigate his background, history and
mental condition; and (4) consult and present testimony from
appropriate experts regarding the above. (Am. Pet. at 54-60.)

In Claim T, petitioner alleges that his trial counsel was
ineffective in failing to: (1) undertake reasonably adequate voir
dire, and (2) adequately use the defense allotment of peremptory
challenges. (Am. Pet. at 118-20.)

In Claim W, which incorporates the allegations of Claim C,
petitioner alleges that ineffective assistance of trial counsel
resulted in the denial of his constitutional rights in that his
lawyers failed to: (1) have appropriate diagnostic testing of
petitioner conducted; (2) consult with mental health experts
specializing in child abuse and trauma; (3) conduct an adequate
investigation into his background; and (4) discover evidence
favorable to the defense.

Below, the court will first address the legal standards
applicable to these ineffective assistance of counsel claims before
turning to the arguments advanced by the parties in support of their
cross-motions for summary judgment as to these claims. As explained
below, in the end the undersigned concludes that summary judgment in
favor of either party on the ineffective assistance claims is
premature.

1. Strickland Standard

To support a claim of ineffective assistance of counsel, a
petitioner must first show that, considering all the circumstances,

36

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 42 of 267

counsel’s performance fell below an objective standard of
reasonableness. See Strickland v. Washington, 466 U.S. 668, 687-88
(1984). After a petitioner identifies the acts or omissions that are
alleged not to have been the result of reasonable professional
judgment, the court must determine whether, in light of all the
circumstances, the identified acts or omissions were outside the wide
range of professionally, competent assistance. Id. at 690; Wiggins
v. Smith, U.S. __ , 123 S. Ct. 2527, 2535 (2003). Second, a
petitioner must establish that he was prejudiced by counsel’s
deficient performance. Strickland, 466 U.S. at 693-94. Prejudice is
found where “there is a reasonable probability that, but for
counsel’s unprofessional errors, the result of the proceeding would
have been different.” Id. at 694. A reasonable probability is “a
probability sufficient to undermine confidence in the outcome.” Id.
See also Williams v. Taylor, 529 U.S. 362, 391-92 (2000); Laboa v.
Calderon, 224 F.3d 972, 981 (9th Cir. 2000).

In assessing an ineffective assistance of counsel claim
“[t]here is a strong presumption that counsel’s performance falls
within the ‘wide range of professional assistance.’” Kimmelman v.
Morrison, 477 U.S. 365, 381 (1986) (quoting Strickland, 466 U.S. at
689). There is in addition a strong presumption that counsel
“exercised acceptable professional judgment in all significant
decisions made.” Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990)
(citing Strickland, 466 U.S. at 689). However, that deference “'‘is
predicated on counsel's performance of sufficient investigation and
preparation to make reasonably informed, reasonably sound

37

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 43 of 267

judgments.‘” Williams v. Woodford, 306 F.3d 665, 711 (9th Cir. 2002)

(quoting Mayfield v. Woodford, 270 F.3d 915, 927 (9th Cir. 2001) (en

 

banc)).

Defense counsel has a “duty to make reasonable
investigations or to make a reasonable decision that makes particular
investigations unnecessary.” Strickland, 466 U.S. at 691. “This
includes a duty to . . . investigate and introduce into evidence
records that demonstrate factual innocence, or that raise sufficient
doubt on that question to undermine confidence in the verdict.”

Bragg v. Galaza, 242 F.3d 1082, 1088 (9th Cir. 2001) (citing Hart v.
Gomez, 174 F.3d 1067, 1070 (9th Cir. 1999)). In this regard, it has
been recognized that “the adversarial process will not function
normally unless the defense team has done a proper investigation.”
Siripongs v. Calderon (Siripongs IT), 133 F.3d 732, 734 (9th Cir.
1998) (citing Kimmelman, 477 U.S. at 384). Therefore, counsel must,
‘at a minimum, conduct a reasonable investigation enabling him to
make informed decisions about how best to represent his client.”
Hendricks v. Calderon, 70 F.3d 1032, 1035 (9th Cir. 1995) (quoting
Sanders v. Ratelle, 21 F.3d 1446, 1456 (9th Cir. 1994) (internal
citation and quotations omitted). On the other hand, where an
attorney has consciously decided not to conduct further investigation
because of reasonable tactical evaluations, his or her performance is
not constitutionally deficient. See Siripongs ITI, 133 F.3d at 734;
see also Babbitt v. Calderon, 151 F.3d 1170, 1173 (9th Cir. 1998);
Hensley v. Crist, 67 F.3d 181, 185 (9th Cir. 1995). “A decision not
to investigate thus ‘must be directly assessed for reasonableness in

38

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 44 of 267

all the circumstances.’” Wiggins, 123 S. Ct. at 2541 (quoting
Strickland, 466 U.S. at 691). See also Kimmelman, 477 U.S. at 385

 

(counsel “neither investigated, nor made a reasonable decision not to
investigate”); Babbitt, 151 F.3d at 1173-74. A reviewing court must
“examine the reasonableness of counsel’s conduct ‘as of the time of
counsel’s conduct.’” United States v. Chambers, 918 F.2d 1455, 1461
(9th Cir. 1990) (quoting Strickland, 466 U.S. at 690). Furthermore,
“ineffective assistance claims based on a duty to investigate must

be considered in light of the strength of the government’s case.'”

 

Bragg, 242 F.3d at 1088 (quoting Eqgleston v. United States, 798 F.2d
374, 376 (9th Cir. 1986)). See also Hayes v. Woodford, 301 F.3d

 

1054, 1070 (9th Cir. 2002).

In the context of a penalty phase trial, counsel has been
found ineffective when he or she “fails to conduct more than a
cursory investigation of a defendant’s background and makes no
attempt to humanize him before the jury.” Babbitt, 151 F.3d at 1176
(citing Siripongs v. Calderon (Siripongs I), 35 F.3d 1308, 1316 (9th
Cir. 1994))).** “To perform effectively in the penalty phase of a
capital case, counsel must conduct sufficient investigation and
engage in sufficient preparation to be able to ‘present[] and

explain[] the significance of all the available [mitigating]

 

** Of course, “the duty to investigate and prepare a defense is

not limitless: it does not necessarily require that every conceivable
witness be interviewed.” Hendricks, 70 F.3d at 1040 (citation and
quotation omitted). When the record clearly shows that the lawyer
was well informed of the relevant facts and circumstances and the
defendant fails to state what additional information would be gained
by the discovery he now claims was necessary, an ineffective
assistance claim fails. Eqqleston, 798 F.2d at 376.

39

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 45 of 267

evidence.’” Mayfield, 270 F.3d at 927 (quoting Williams, 529 U.S. at
393, 399).

The court will now turn to the cross-motions with respect
to petitioner’s specific claims of ineffective assistance of counsel.

2. Arguments of the Parties

Respondent prefaces his argument by stating that if his
motion for summary judgment is denied as to this claim, an
evidentiary hearing is necessary to resolve the truth of petitioner’s
allegations. Respondent then argues that petitioner’s trial counsel
was not ineffective in failing to introduce available evidence of
petitioner’s expression of remorse for the killing to Deputy Clegg,
family members and a Catholic priest since those expressions of
remorse would ring hollow in light of the callousness of petitioner’s
conduct and would have opened the door to comparisons between
petitioner’s expression of remorse and his actual conduct.
Respondent also argues that counsel did not render deficient
assistance in failing to present evidence of petitioner’s use of
steroids and Ritalin prior to the killing because there is no
evidence with respect to the amount of those substances petitioner
ingested and, in any event, counsel fully explored petitioner's use
of cocaine and heroin and the effects of that drug usage at trial.
Likewise, respondent contends that petitioner's counsel did not
render ineffective assistance in the jury selection process but
rather made reasonable tactical decisions both in questioning the
prospective jurors and in exercising the defense challenges.
Finally, respondent contends that petitioner has failed to establish

40

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 46 of 267

that the alleged inadequacy of performance on the part of counsel
prejudiced him in any way.™

In opposing respondent’s motion for summary judgment and
arguing that judgment should be entered in his favor petitioner first
argues that there is strong evidence that counsel provided
ineffective assistance in failing to introduce available evidence of
petitioner's expressions of remorse for the killing. In this regard,
petitioner points to the declaration of attorney James S. Thomson
stating the expert opinion that defense counsel’s performance was
deficient under prevailing professional norms in failing to introduce
Deputy Clegg’s testimony into evidence on the critical issue of
remorse. (Opp’n & Cross-Mot. for Summ. J., Ex. D.) Petitioner also
relies upon the declarations of his trial counsel, both of whom state
that they do not recall ever considering calling Deputy Clegg to
testify, that they had no tactical reason for failing to call him as
a witness since they knew a lack a remorse would weigh heavily with
the jurors and that if they were to make the decision today they
would call Deputy Clegg as a penalty phase witness as well as the
other available witnesses on the issue of petitioner’s remorse.
(Opp’n & Cross-Mot. for Summ. J, Exs. E & F.) Petitioner contends

that trial counsel’s deficiencies in this regard obviously undermine

///T/

 

“4 Respondent also asserts that petitioner’s contention that

the California Supreme Court’s refusal to authorize funds for habeas
investigation prevented him from investigating and fully pursuing
this claim and in violation of his constitutional rights fails to
state a cognizable claim.

41

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 47 of 267

confidence in the death penalty verdict in light of the importance of
evidence of remorse and the closeness of the jJury’s penalty decision.
Petitioner also contends that his trial counsel was
ineffective in failing to discover available evidence regarding his
use of steroids and Ritalin and therefore failed to prepare the
defense experts to render opinions regarding the combined effects of
these drugs along with cocaine. In this regard, petitioner points
to: (1) the declarations of witnesses who could have testified to
petitioner’s steroid use; (2) the declarations of trial counsel
stating that they were aware of petitioner’s steroid use and inquired
of experts regarding that use but did not obtain an opinion regarding
the effects of steroids upon one’s mental state either alone or in
conjunction with the other drugs and that although they became aware
during trial that petitioner also used Ritalin prior to the killing
they did not seek or obtain an expert opinion regarding the effect
the Ritalin might have had on petitioner; (3) the declaration of the
Strickland expert, attorney Thomson, stating that reasonably
competent counsel acting under prevailing professional norms would
have presented expert testimony regarding the effect that steroids
and Ritalin taken before the killings had upon petitioner; and (4)
the declarations of Ronald Siegel, Ph.D., a psychopharmacologist,
stating that experts regarding the effect of various steroids and
Ritalin on the mental state of petitioner were available at the time
of petitioner’s trial and his preliminary opinion that the combined
use of steroids, heroin and cocaine impaired petitioner’s cognitive
abilities to the point where his thinking was confused or suspended

42

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 48 of 267

resulting in his commission of this murder. (Opp’n & Cross-Mot. for
Summ. J., Exs. AAA, PP, OO, RR, YY, D, E, F & G.)

Petitioner also argues in summary fashion that his trial
counsel rendered ineffective assistance by failing to conduct an
adequate voir dire of the prospective jurors and in failing to use
still available peremptory challenges to excuse two jurors that the
defense had unsuccessfully challenged for cause. (Opp’n & Cross-Mot.
for Summ. J. at 151-56.)

Finally, petitioner contends that counsel was deficient in
failing to investigate and present evidence regarding the sexual
abuse suffered by petitioner as a child and the correlation between
that sexual abuse and his subsequent use of drugs and in failing to
prepare and present a proper social history of petitioner that would
have revealed evidence of these mitigating factors.

In reply respondent focuses on the declarations of
petitioner’s trial counsel, characterizing them as “simply not
believable” in their averments that they overlooked presenting
evidence of petitioner's remorse and had no tactical reason for
failing to do so. With respect to petitioner’s showing that trial
counsel provided inadequate assistance in failing to present evidence
of petitioner’s use of steroids and Ritalin prior to the killing and
expert testimony regarding the effects of that usage, respondent
tellingly contends that the matters stated in the declarations
submitted by petitioner are the subject of dispute. Respondent also
argues that the decision not to present this evidence but to instead
focus on petitioner’s heroin and cocaine use was a tactical decision

43

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 49 of 267

by counsel. Finally, respondent argues that any claim that
petitioner was abused sexually as a child is speculative and that, in
any event, evidence of such abuse as well as preparation of a
complete social history would not have had any significant effect on
the jury verdict.

In reply, petitioner argues that summary judgment must be
granted in his favor on these ineffective assistance of counsel
claims due to respondent’s failure to present evidence in opposition
to his cross-motion for summary judgment. Specifically, petitioner
contends that no disputed issue of material fact is raised merely by
respondent stating that trial counsel's declarations are not
believable or that the matters set forth in petitioner's declarations
are the subject of dispute. He also notes that the assertion that
petitioner was sexually abused as a child is not speculative but
rather is supported by a preliminary showing in the form of the
declaration from Dr. June M. Clausen, Ph.D. (See Opp’n & Cross-Mot.
for Summ. J., Ex. AAA.)

3. Analysis

Petitioner’s ineffective assistance of counsel claims are
not susceptible to resolution on motion for summary judgment. By way
of the declarations of his prior counsel, a Strickland expert and
medical and psychiatric experts, petitioner has presented evidence in
support of his claim that his trial counsel rendered ineffective
assistance in the investigation and presentation of his defense and
that but for counsel’s unprofessional errors there is a reasonable
probability that the result of the proceeding would certainly have

44

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 50 of 267

been different. While some of the alleged errors of counsel may have
had an impact upon the guilt phase verdict, if established and
unexplained as tactical decisions those errors would certainly appear
to provide potential doubt with respect to the reliability of the
jury’s penalty phase verdict.** See Wiggins, 123 S. Ct. at 2541-44
(concluding that trial counsel’s inadequate investigation into
petitioner’s background was unreasonable and that given the nature
and extent of the abuse suffered by petitioner there was a reasonable
probability that the jury would have returned a different sentence
had it been confronted with mitigating evidence); Williams, 529 U.S.
at 395-99 (granting habeas relief due to counsel’s failure to present
mitigation evidence during the penalty phase of petitioner’s trial
that “might well have influenced” the jury’s determination); Douglas
v. Woodford, 316 F.3d 1079, 1087-91 (9th Cir.) (holding that
counsel’s penalty phase investigation into petitioner’s childhood,
alcoholism, military career and exposure to toxic solvents was
inadequate and that if counsel had conducted a proper investigation

there was a reasonable possibility that the additional evidence would

have altered the outcome of the jury’s penalty phase verdict), cert.
denied, U.S. , 124 S. Ct. 49 (2003); Caro v. Woodford, 280
F.3d 1247, 1255-58 (9th Cir.) (affirming the granting of habeas

relief upon finding that counsel’s failure to fully investigate and
present mitigating evidence regarding the effects of exposure to

pesticides and toxic chemicals on petitioner’s brain and the effects

 

15

The difficulty that the jury had in reaching its penalty
phase verdict has been thoroughly discussed in Section A above.

45

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 51 of 267

of physical, emotional and psychological abuse suffered as a child
was a constitutionally deficient performance by counsel and rendered
the results of the penalty phase trial unreliable), cert. denied, 536

U.S. 951 (2002); Silva v. Woodford, 279 F.3d 825, 843 (9th Cir.)

 

(discussing cases “illustrative but not exhaustive of the breadth of
a criminal defendant’s constitutional protection against his
attorney’s failure to investigate mitigating evidence when defending
his client against a capital sentence”), cert. denied, 537 U.S. 942
(2002); Mayfield, 270 F.3d at 928-933 (reversing denial of habeas
relief finding that counsel was deficient in failing to present
mitigating evidence and finding prejudice “[e]ven in the face of []
strong aggravating evidence” since the court could not “conclude with
confidence that the jury would unanimously have sentenced
[petitioner] to death if [counsel] had presented and explained all of

the available mitigating evidence”); Ainsworth v. Woodford, 268 F.3d

 

868, 873-78 (9th Cir. 2001) (inadequate investigation and failure by
counsel to introduce available evidence of defendant’s troubled
childhood, suicidal father and drug and alcohol abuse was ineffective
assistance that cast doubt on the penalty phase verdict). Here,
petitioner’s initial showing precludes the granting of summary
judgment on these claims in favor of respondent.

On the other hand, petitioner’s initial showing is not
sufficient to establish his entitlement to judgment as matter of law.
For instance, left unanswered are questions as to why petitioner's
trial counsel chose not to conduct further investigation into the
effect of their client’s steroid use and its effects, why they

46

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 52 of 267

elected not to present all available evidence of petitioner’s
remorse’® and why they elected not to fully investigate and present
evidence of petitioner's social history, including sexual abuse
suffered as a child.’’ Thus, petitioner has not met the burden
imposed upon him under Rule 56(c) of showing that he is entitled to
judgment as a matter of law on his ineffective assistance of counsel
claims. See Calderone v. United States, 799 F.2d 254, 259 (6th Cir.
1986) (moving party who bears the burden of proof must make a showing
in support of summary judgment “sufficient for the court to hold that
no reasonable trier of fact could find other than for the moving
party”).

///T/

///f/

///t/

LI/T/

//ff/

///T/

///f/

 

*© Although counsel have declared that they never considered

calling Detective Clegg as a witness and that there was no tactical
reason involved, neither counsel address why they never considered
presenting such evidence nor do they address in their declarations
their failure to present the other available evidence of remorse
identified by petitioner. (Opp’n & Cross-Mot. for Summ. J., Exs. E &
F.)

"7 In this regard, it has been recognized that even "’if a
client forecloses certain avenues of investigation, it arguably
becomes even more incumbent upon trial counsel to seek out and find
alternative sources of information and evidence, especially in the
context of a capital murder trial.’" Douglas, 316 F.3d at 1086
(quoting Silva, 279 F.3d at 847).

47

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 53 of 267

Resolution of these claims is, therefore, likely to require
an evidentiary hearing.*® In this regard, under the applicable pre-
AEDPA law “‘[a] habeas petitioner is entitled to an evidentiary
hearing as a matter of right on a claim where the facts are disputed
if two conditions are met: (1) the petitioner's allegations would, if
proved, entitle him to relief, and (2) the state court trier of fact
has not, after a full and fair hearing, reliably found the relevant
facts.’" Silva, 279 F.3d at 853 (quoting Jones v. Wood, 114 F.3d
1002, 1010 (9th Cir. 1997)). Under these circumstances a
petitioner’s motion for evidentiary hearing must be granted “‘unless

the motion and the files and records of the case conclusively show

 

that the prisoner is entitled to no relief.’” Ortiz v. Stewart, 149
F.3d 923, 934 (9th Cir. 1998) (quoting 28 U.S.C. § 2255). See also
Phillips v. Woodford, 267 F.3d 966, 973 (9th Cir. 2001) (“In these

 

circumstances, a petition may be dismissed without a hearing only
when it consists solely of conclusory, unsworn statements unsupported
by any proof or offer thereof.”). Thus, where a claim of ineffective
assistance of counsel has been made it is generally likely that a

hearing will be required on the issue of prejudice. Babbitt, 151

 

** The same is true with respect to petitioner’s claim that

counsel provided inadequate assistance by failing to conduct
meaningful voir dire and by failing to properly exercise the defense
peremptory challenges. Petitioner may have difficulty in
establishing that his counsel’s performance in this regard was
deficient, rather than a series of reasonable tactical decisions, and
in proving prejudice. Nonetheless, trial counsel’s thinking has not
been explored and ultimately the question of whether counsel was
ineffective will turn in large part on the determination of
petitioner’s claims of juror bias and prejudice in Claim T. See
Fields, 309 F.3d at 1107-08.

48

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 54 of 267

F.3d at 1177; Siripongs I, 35 F.3d at 1314; see also Hoffman v.
Arave, 236 F.3d 523, 536 (9th Cir. 2001) (remanding for evidentiary
hearing on ineffective assistance of counsel claims because without
the benefit of an evidentiary hearing “it is impossible” to evaluate
the strength of the defense at trial and sentencing, as required to
make the prejudice determination). Moreover, it has been recognized
that an evidentiary hearing may be “extremely helpful” in reviewing
aspects of a capital trial involving strategic decisions made by
defense counsel. Siripongs II, 133 F.3d at 737. Because reviewing
courts require a sufficient record to rule on ineffective assistance
of counsel claims such as this, a full hearing is likely to be
required to determine what happened, why it happened and the effect
thereof. See Guy _ v. Cockrell, 343 F.3d 348, 354-55 (5th Cir. 2003)
(reversing grant of summary judgment on ineffective assistance of
counsel claims in light of existence of unresolved factual issues).

For these reasons the court will recommend that the cross-
motions for summary judgment on claims C, T (to the extent it
presents an ineffective assistance of counsel claim) and W be
denied.’

D. Juror Misconduct During Penalty Phase Deliberations
In Claim D, petitioner asserts that during their penalty

phase deliberations, jurors considered information that was

 

19 The court has been compelled to discuss the initial showing

presented by petitioner in support of these claims in order to
address the cross-motions for summary judgment. Of course, no
opinion regarding the appropriate final resolution of the claims
following a full hearing is intended to be expressed by this
discussion.

49

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 55 of 267

inaccurate, irrelevant, unreliable, and prejudicial, in violation of
his Fifth, Sixth, Eighth, and Fourteenth Amendment rights. (Am. Pet.
at 61.) Specifically, petitioner argues that the jurors should not
have considered: (1) that if petitioner was sentenced to life without
the possibility of parole, he might still be released from prison and
commit another crime; and (2) petitioner’s demeanor during the trial,
which some jurors believed showed a lack of remorse and contempt
toward some witnesses. (Id. at 61-65.)

Petitioner relies upon several juror declarations submitted
as exhibits to his amended petition in support this claim. In these
declarations several of the jurors state that during the penalty
phase deliberations jurors discussed whether life without parole
really meant no possibility of parole and whether, despite what the
trial judge stated in his instructions, there was a possibility that
if petitioner was not sentenced to death, he might someday be
released. (Am. Pet., Ex. D (Schroeder Decl.) ¢ 3; Ex. B (Visscher
Decl.) § 3; Ex. E (Bruley Decl.) § 2; and Ex. C (McEnerney Decl.)
4.) In those same declarations jurors Schroeder, McEnerney, Bruley,
and Visscher state that during penalty phase deliberations some
jurors discussed that petitioner sat expressionless through much of
the trial, did not appear remorseful for what he had done, did not
seem to care and showed contempt for certain of the witnesses during
the trial. ( Schroeder Decl. ¢ 2; McEnerney Decl. § 2; Bruley
Decl., § 3; and Visscher Decl. § 2.)

In his motion for summary judgment, respondent argues that
the juror declarations submitted in support of this claim by

50

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 56 of 267

petitioner, are inadmissible under Rule 606(b) of the Federal Rules
of Evidence. (Alt. Mot. for Summ. J. at 80-84.) Respondent
contends that the declarations are inadmissible because they describe
discussions during the jury’s deliberation, jurors’ feelings and
opinions, and speculation about the effect of the discussions on the
verdict. (Id.)

Petitioner argues that Rule 606(b) provides that such
evidence may be used to show that a juror considered extraneous
information, which is the situation here. (Opp’n & Cross-Mot. for
Summ. J. at 96-97.) Petitioner argues that if the declarations
contain some inadmissible matter, only those portions should be
deemed inadmissible. (Id. at 98-99.) Petitioner also argues that
the admissibility of juror evidence should be governed by state law,
rather than Rule 660(b), because of the state’s interest in fair and
accurate verdicts by its juries. (Id. at 103-04.)

Petitioner’s position on this point is a policy argument
that must be rejected. The Federal Rules of Evidence apply to

federal habeas proceedings.?° Fed. R. Evid. 1101(e); see algo

 

Bibbins v. Dalsheim, 21 F.3d 13, 16-17 (2d Cir. 1994) (applying Fed.
R. Evid. 606(b) rather than state law in determining whether evidence
was admissible to impeach a state court verdict); Silagy v. Peters,

905 F.2d 986, 1008-09 (7th Cir. 1990) (same); Stockton v.

 

20

“In the following proceedings these rules apply to the
extent that matters of evidence are not provided for in the statutes

which govern procedure therein . . . habeas corpus under sections
2241 - 2254 of title 28, United States Code ... ." Fed. R. Evid.
1101 (e).

51

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 57 of 267

Commonwealth of Virginia, 852 F.2d 740, 743-44 (4th Cir. 1988)
(same); Bloom v. Vasquez, 840 F. Supp. 1362, 1377 n.23 (C.D. Cal.
1993) (holding that pursuant to Federal Rule of Evidence 1101(e), the

Federal Rules of Evidence apply to federal habeas cases), rev'd o

 

other grounds by Bloom v. Calderon, 132 F.3d 1267 (9th Cir. 1997).

 

Rule 606(b) of the Federal Rules of Evidence provides:

Inquiry into validity of verdict or indictment.
Upon an inquiry into the validity of a verdict or
indictment, a juror may not testify as to any
matter or statement occurring during the course
of the jury’s deliberations or to the effect of
anything upon that or any other juror’s mind or
emotions as influencing the juror to assent to or
dissent from the verdict or indictment or
concerning the juror’s mental processes in
connection therewith, except that juror may
testify on the questions whether extraneous
prejudicial information was improperly brought to
the jury’s attention or whether any outside
influence was improperly brought to bear upon any
juror. Nor may a juror’s affidavit or evidence
of any statement by the juror concerning

a matter about which the juror would be precluded
from testifying be received for these purposes.

Fed. R. Evid. 606(b).

The admissibility of a juror’s testimony is a threshold
question the court must address before reaching the merits of
petitioner’s jury misconduct claim. See United States v. Maree, 934
F.2d 196, 201 (9th Cir. 1991). As discussed in Sassounian v. Roe,
230 F.3d 1097 (9th Cir. 2000), juror testimony may be considered to
demonstrate that extraneous evidence or information was introduced
during the jury’s deliberation, but not to show the subjective impact
of that extraneous information:

//f//

52

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 58 of 267

A long line of precedent distinguishes between

juror testimony about the consideration of

extrinsic evidence, which may be considered by a

reviewing court, and juror testimony about the

subjective effect of evidence on the particular

juror, which may not. .. . Therefore, although

we may consider testimony concerning whether the

improper evidence was considered, we may not

consider the jurors’ testimony about the

subjective impact of the improperly admitted

evidence.

Id. at 1108-09. See also Tanner v. United States, 483 U.S. 107, 127
(1987) (*“[L]ong-recognized and very substantial concerns support the
protection of jury deliberations from intrusive inquiry.”).

Generally, information acquired from a third party or from
outside reference during deliberation is considered extrinsic and
evidence that the jury received such information is admissible under
Rule 606(b) to impeach the verdict. See United States v. Navarro-
Garcia, 926 F.2d 818, 821 (9th Cir. 1991) (“Evidence not presented at
trial, acquired through out-of-court experiments or otherwise, is
deemed ‘extrinsic.’”); Marino v. Vasquez, 812 F.2d 499, 505-06 (9th
Cir. 1987) (finding admissible as an “outside influence” information
that a juror consulted a dictionary to define the word “malice”);
Gibson v. Clanon, 633 F.2d 851, 855 (9th Cir. 1980).

Jurors may rely on their personal experiences in
deliberating and in doing so are not exposed to extrinsic evidence.
See Price v. Kramer, 200 F.3d 1237, 1255 (9th Cir.), cert. denied,
531 U.S. 816 (2000) (finding that there was no improper extraneous
evidence when, during deliberation, two jurors shared past personal
experiences which were of a general nature); Navarro-Garcia, 926 F.2d

at 821; Casey v. United States, 20 F.2d 752, 754 (9th Cir. 1927).

53

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 59 of 267

The shared personal experiences of jurors become extraneous
information if the “juror has personal knowledge regarding the
parties or the issues involved in the litigation that might affect
the verdict.” Navarro-Garcia, 926 F.2d at 821. Such information may
also be deemed extraneous “if the jury considers a juror’s past
personal experiences in the absence of any record evidence on a given
fact, as personal experiences are relevant only for purposes of
interpreting the record evidence.” Id. at 822.

Here, the jurors’ discussions regarding the meaning and
consequences of a life sentence without the possibility of parole did
not involve extraneous information. None of the declarations
submitted by petitioner indicate that the jurors received information
regarding the meaning of a sentence of life without the possibility
of parole from a non-juror. Moreover, identical claims have been
found to involve only intrinsic jury processes which are not subject
to collateral attack. Belmontes, 350 F.3d at 891; Bloom, 840 F.
Supp. at 1377-78; see also Fullwood v. Lee, 290 F.3d 663, 684 (4th
Cir. 2002), cert. denied, 537 U.S. 1120 (2003) (holding that the
jury’s discussion about the defendant’s eligibility for parole “does
not qualify as an extraneous matter since virtually every juror will
have preconceived notions about the legal process which the defendant
can uncover and examine during jury selection”); Silagy, 905 F.2d at
1008-09.

As to petitioner’s other sub-claim involving the jury’s
consideration of his demeanor, respondent argues that there is no
United States Supreme Court precedent supporting this claim and that

54

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 60 of 267

the defendant’s demeanor is one of several factors the jury may
consider in determining the appropriate penalty.** (Alt. Mot. for
Summ. J. at 88-89.) In his opposition and cross-motion, petitioner
acknowledges that the Ninth Circuit has indicated that a capital
sentencing authority may consider a defendant’s in-court demeanor.
See Williams v. Calderon, 52 F.3d 1465, 1483 (9th Cir. 1995).
However, petitioner argues that the court’s observation to this
effect in Williams is dictum. Nonetheless, in light of the decision
in Williams petitioner concedes that further argument to this court
on the point would be futile. (Opp’n & Cross-Mot. for Summ. J. at
120.)

The concession is appropriate. A defendant’s courtroom
demeanor is evidence that a jury may properly consider. Williams, 52
F.3d at 1483; United States v. Schuler, 813 F.2d 978, 981 n.3 (9th
Cir. 1987); see also Bates v. Lee, 308 F.3d 411, 421 (4th Cir. 2002)
(defendant’s demeanor at trial was before the jury at all times and
it was not improper for the prosecutor to comment on it in closing
argument), cert. denied, U.S. __ , 123 S. Ct. 2223 (2003).

Accordingly, because with respect to the matters raised in
this claim the jury did not improperly consider extraneous evidence
or information in their penalty phase deliberations, respondent's
motion for summary judgment on this claim should be granted and

petitioner’s cross-motion should be denied.

 

“1 Respondent appears to raise an exhaustion argument with

respect to this sub-claim in a footnote. (See Alt. Mot. for Summ. J.
at 88 n.43.) Because respondent has not fully briefed this argument,
the court will not address it.

55

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 61 of 267

HE. Jury Instruction Re Mitigation Evidence

In this claim petitioner alleges that the trial court
erroneously rejected his request that two specific jury instructions
be given with respect to the consideration of evidence mitigating
against a death sentence. (Am Pet. at 65.) Specifically, petitioner
alleges that the following two requested instructions should have
been given:

An individual juror may consider something as a

mitigating factor if any reasonable evidence

supports the existence of this mitigating factor

and regardless of whether all twelve jurors find

the existence of reasonable evidence of this
mitigating factor.

Rach mitigating factor is important because any

single mitigating factor may, standing alone,

support a decision that death is not the

appropriate penalty.
(Id. (citing CT at 1498, 1501.) Petitioner claims that in rejecting
the proposed instructions the trial court acted in violation of his
rights under the Fifth, Sixth, Eighth and Fourteenth Amendments.

Respondent moves for summary judgment in his favor on this
jury instruction claim. Respondent argues that because the jury
instructions given in petitioner’s case did nothing to limit the
consideration of mitigating evidence, petitioner has failed to allege
a cognizable claim of federal constitutional error. According to
respondent, the instructions given were adequate to perform the
constitutional function of guiding the jury’s direction in sentencing
and were in compliance with United States Supreme Court precedent.

Sf tf

56

 
10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 62 of 267

(Alt. Mot. for Summ. J. at 90-94 (citing Buchanan v. Angelone, 522
U.S. 269 (1998); Boyde v. California, 494 U.S. 370 (1990)).)

Petitioner opposes respondent's motion and moves for
summary judgment in his own favor on this claim. In so moving,
petitioner argues that there is a reasonable likelihood that the
jurors understood the instructions as given to preclude consideration
of relevant mitigating evidence. In this regard, petitioner argues
that because the first requested instruction set out above was
rejected and the instructions as given repeatedly referred to
“mitigating factors” in the plural, it is reasonably likely that the
jury understood the instructions as precluding the use of a single
mitigating factor to support a sentence of life without the
possibility of parole. In addition, petitioner argues that because
the second requested instruction was rejected and the instructions as
given referred to the jury with the collective “you,” it is
reasonably likely that the jury understood the instructions as
precluding an individual juror from considering an item as mitigating
unless the jurors were unanimous on the point. Finally, petitioner
contends that the Supreme Court’s decisions in Buchanan and Boyde did
not involve proposed instructions similar to those presented by the
defense in his case and that, in any event, the legal principles
announced in those decisions support the granting of habeas relief
here.

In general, a challenge to jury instructions does not state
a federal constitutional claim. See Middleton v. Cupp, 768 F.2d
1083, 1085 (9th Cir. 1985) (citing Engle v. Isaac, 456 U.S. 107, 119

57

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 63 of 267

(1982)); Gutierrez v. Griggs, 695 F.2d 1195, 1197 (9th Cir. 1983).

In order to warrant federal habeas relief, a challenged jury
instruction “cannot be merely ‘undesirable, erroneous, or even
“universally condemned,”’ but must violate some due process right
guaranteed by the fourteenth amendment.” Prantil v. California, 843
F.2d 314, 317 (9th Cir. 1988) (quoting Cupp v. Naughten, 414 U.S.
141, 146 (1973)). To prevail on such a claim petitioner must
demonstrate “that an erroneous instruction ‘so infected the entire
trial that the resulting conviction violates due process.’” Prantil,

843 F.2d at 317 (quoting Darnell v. Swinney, 823 F.2d 299, 301 (9th

Cir. 1987)). In making its determination, this court must evaluate
the challenged jury instructions “‘in the context of the overall
charge to the jury as a component of the entire trial process.’” Id.

(quoting Bashor v. Risley, 730 F.2d 1228, 1239 (9th Cir. 1984)).
Where the challenge is to a refusal or failure to give an
instruction, the petitioner’s burden is “especially heavy,” because
“[a]n omission, or an incomplete instruction, is less likely to be

prejudicial than a misstatement of the law.” Henderson v. Kibbe, 431

 

U.S. 145, 155 (1977). See also Villafuerte v. Stewart, 111 F.3d 616,
624 (9th Cir. 1997).

The Eighth Amendment requires adherence to two basic steps
in the capital decisionmaking process: an "eligibility" decision and
a "selection" decision. Petitioner’s claim involves the latter. In
this regard, the Constitution requires that the jury in a capital
case “be able to ‘consider and give effect to [a defendant’s
mitigating] evidence in imposing sentence.’” Penry v. Johnson (Penry

58

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 64 of 267

(TI), 532 U.S. 782, 797 (2001) (quoting Penry v. Lynaugh (Penry I),
492 U.S. 302, 319 (1989)). Thus, the jury is to consider “as a
mitigating factor, any aspect of [the] defendant’s character or
record and any of the circumstances of the offense that the defendant
proffers as a basis for a sentence less than death.” Lockett v.

Ohio, 438 U.S. 586, 604 (1978) (emphasis in original). See also

 

Penry II, 532 U.S. at 797; Belmontes, 350 F.3d at 898. The Supreme
Court has explained the constitutional underpinnings of this
requirement as follows:

For it is only when the jury is given a "vehicle
for expressing its ‘reasoned moral response' to
that evidence in rendering its sentencing
decision," Penry I, 492 U.S. at 328, that we can
be sure that the jury "has treated the defendant
as a ‘uniquely individual human bein[g]' and has
made a reliable determination that death is the
appropriate sentence," id., at 319 (quoting
Woodson v. North Carolina, 428 U.S. 280, 304, 305
(1976)).

Penry II, 532 U.S. at 797 (parallel citations omitted). See also

 

Blystone v. Pennsylvania, 494, U.S. 299, 307-08 (1990).

Accordingly, a trial judge’s instructions are to
communicate to the jury “that the sentencer may not be precluded from
considering, and may not refuse to consider, any constitutionally
relevant mitigating evidence.” Buchanan v. Angelone, 522 U.S. 269,
276 (1998) (citing Penry I, 492 U.S. at 317-18; Eddings v. Oklahoma,
455 U.S. 104, 113-14 (1982); Lockett, 438 U.S. at 604); Belmontes,
350 F.3d at 898. In this same vein, the Supreme Court has struck
down state procedures that limited any given juror's consideration of
mitigating circumstances in capital sentencing to such evidence that

59

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 65 of 267

the entire jury had found relevant. McKoy v. North Carolina, 494
U.S. 433, 463 (1990) (“Such a scheme, under which . . .a single
juror’s finding regarding the existence of mitigation must control,

is asserted to be demanded by ‘the principle established in

 

[Lockett], that a sentencer may not be precluded from giving effect
to all mitigating evidence.’'”); Mills v. Maryland, 486 U.S. 367
(1988).

Finally, the standard to be applied in reviewing a claim
that penalty phase jury instructions ran afoul of these
constitutional requirements is “‘whether there is a reasonable
likelihood that the jury has applied the challenged instruction in a

way that prevents the consideration of constitutionally relevant

evidence.’” Buchanan, 522 U.S. at 276 (quoting Boyde, 494 U.S. at
380). See also Belmontes, 350 F.3d at 900. In the face of sucha

 

challenge, the jury’s penalty decision “must stand ‘if there is only
a possibility of such an inhibition’” Belmontes, 350 F.3d at 905
(quoting Boyde, 494 U.S. at 380) .”?

At the conclusion of the penalty phase of petitioner’s
trial the jury was given a number of instructions to guide them in
their deliberations with respect to the consideration of mitigating
factors and the appropriate penalty. In this regard, the jury was

instructed that:

 

*@ The Constitution does not require that a specific

instruction on mitigating evidence be given as long as the
instructions given do not preclude the capital jury from considering
mitigating evidence. Buchanan, 522 U.S. at 276-77; see also Weeks v.

 

Angelone, 528 U.S. 225, 232 (2000).

60

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 66 of 267

(1) “the law does not dictate which of the two
choices you must choose [death or life without
the possibility of parole]; that choice is solely
up to you” (CT at 1525; RT at 7391);

(2) they shall consider as “a mitigating factor”
any mental or emotional impairments suffered by
the defendant as a result of alcohol and drug
abuse or from psychological and sexual abuse or
from his family background (CT at 1527; RT at
7392);

(3) “any sympathetic or other aspect of the
defendant's character or record that the
defendant offers as a basis for a sentence less
than death, whether or not related to the offense
for which he is on trial may be considered as a
mitigating factor” (CT at 1527; RT at 7392-93);

(4) “You may consider pity, sympathy or mercy for
David Anthony Breaux” (CT at 1528; RT at 7393);

(5) “Even if you conclude that the aggravating
factors outweigh the mitigating factors, you are
not required to impose death but may in your
discretion return a verdict of life without
possibility of parole” (CT at 1528; RT at 7393);

(6) they could consider any lingering doubt of
Mr. Breaux’s guilt or the truth of the special
circumstance as a mitigating factor (CT 1529; RT
7393-94);

(7) if they concluded the aggravating factors
outweighed the mitigating factors they “may”
impose a sentence of death but if they determined
the mitigating factors outweighed the aggravating
factors they “shall” impose the sentence of life
without possibility of parole (CT at 1530; RT at
7395);

(8) if they were not convinced beyond a
reasonable doubt that aggravating factors
outweighed the mitigating factors they must
choose life imprisonment without the possibility
of parole and if they had a reasonable doubt as
to the appropriate punishment they likewise were
required to choose life without the possibility
of parole (CT at 1531; RT at 7395);

61

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 67 of 267

(9) their consideration of aggravating factors
was limited to those listed by the court but a
“mitigating factor” was any “consideration which
does not necessarily constitute a justification
or excuse of the offense in question, but which
you may view as extenuating or reducing the
degree of Mr. Breaux’s culpability” (CT at 1533-
34; RT at 7396-97);

(10) the weighing of mitigating and aggravating
factors is not a mechanical counting of factors
but rather the jurors were “free to assign
whatever moral or sympathetic value you deem
appropriate to each and all of the various
factors you are permitted to consider” (CT at
1537; RT at 7398);

(11) the parties were “entitled to the individual
Opinion of each juror,” “feJach of you must
decide the case for yourself” and “should not be
influenced to decide any question in a particular
way because a majority of the jurors, or any one
of them, favor such a decision” (CT at 1540; RT
at 7400) and

(12) their verdict must be unanimous (CT at 1544-
45; RT at 7403).

The jury was provided with three verdict forms from which
to choose. The first reflected a finding that aggravating factors
did not outweigh mitigating factors, resulting in a punishment of
life imprisonment without the possibility of parole. The second
reflected a finding that aggravating factors outweighed mitigating
factors but nonetheless choosing a punishment of life imprisonment
without the possibility of parole. The third reflected a finding
that aggravating factors outweighed mitigating factors and choosing
the punishment of death. (CT at 1545; RT at 7404.)

The two proposed penalty phase jury instructions upon which
petitioner bases this claim were objected to by the prosecution and
rejected by the trial court because they were found to be confusing

62

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 68 of 267

and to address matters adequately covered in the instructions as
given. (RT at 7204-05, 7214-15.) The court concludes that no
constitutional error was committed in the rejection of the two
proposed defense instructions.

Considering the penalty phase instructions as a whole,
there is not a reasonable likelihood that petitioner’s jury applied
those instructions in a manner that prevented consideration of any
mitigating factor. See Buchanan, 522 U.S. at 276; Boyde, 494 U.S. at
380); Belmontes, 350 F.3d at 904-05. In this regard, the court finds
unpersuasive petitioner's argument that his first requested
instruction was necessary because the instructions as given
repeatedly referred to “mitigating factors” in the plural making it
reasonably likely that the jury understood they were precluded from
using a single mitigating factor to support a sentence of life
without the possibility of parole. First, the argument is factually
inaccurate in that the instructions given in many instances referred
to “mitigating factor” in the singular. (See CT at 1527, 1529, 1533-
34; RT at 7392-94, 7396-97.) Moreover, when the instructions are

considered as a whole’? it is clear that the jury was adequately

 

*° In particular, as set forth above, petitioner’s jury was

instructed that if they had a reasonable doubt as to the appropriate
punishment, they were required to choose life without the possibility
of parole. (CT at 1531; RT at 7395.) They were also instructed that
they could consider as a mitigating factor any sympathetic or other
aspect of the defendant’s character or record whether or not related
to the offense. (CT at 1527; RT at 7392-93.) Finally, they were
instructed that a mitigating factor was any consideration which,
while not constituting a justification of the offense, the jury
viewed as reducing the degree of petitioner's culpability (CT at
1533-34; RT at 7396-97).

63

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 69 of 267

informed that they were free to consider any relevant mitigating
factor. See Jeffries v. Blodgett, 771 F. Supp. 1520, 1548 (W.D.
Wash. 1991) (rejecting the same argument advanced by petitioner
here), vacated and remanded on other grounds, 5 F.3d 1180 (9th Cir.
1993).

No more compelling is petitioner’s argument that his second
requested instruction was required because the instructions as given
referred to the jury with the collective “you,” making it reasonably
likely that the jury understood the instructions as precluding an
individual juror from considering an item as mitigation unless the
jurors were unanimous on the point. Nothing in the instructions or
the verdict forms required the jurors to reach agreement as to the
existence of any particular mitigating factor. The only unanimous
agreement required was for the return of a penalty verdict. (CT at
1544-46.) Any suggestion that reference to the jury as “you” in the
instructions suggested to the jurors that they could not consider a
mitigating factor unless all agreed as to its existence is clearly
overcome by the instruction given advising each juror of the duty to
provide the parties with his or her individual opinion, uninfluenced
“to decide any question in a particular way because the majority of
the jurors, or any one of them, favor such a decision.” (CT at 1540;
RT at 7400.) No more specific instruction was required. See
Buchanan, 522 U.S. at 276-77; see also Weeks v. Angelone, 528 U.S.
225, 232 (2000). Thus, there is not a reasonable likelihood that
petitioner’s jury applied the instructions in a manner that prevented
consideration of any mitigating factor.

64

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 70 of 267

Accordingly, respondent’s motion for summary judgment
should be granted with respect to this claim and petitioner’s cross-
motion for summary judgment should be denied.

F. Trial Court’s Denial of Pitchess Discovery

In this claim petitioner alleges that the trial court erred
in denying him discovery with respect to mitigating evidence in
violation of his constitutional rights under the Fifth, Sixth, Eighth
and Fourteenth Amendments. (Am. Pet. at 66-68.) Specifically,
petitioner alleges that the prosecution relied on his 1975 felony
conviction for battery on a police officer as an aggravating factor
in support of a death sentence. Petitioner alleges that he sought
discovery of citizen complaints against the two officers who were the
victims of the 1975 assault. Following an in camera review of the
citizen complaints produced for inspection, the trial court denied
petitioner’s discovery motion. Petitioner alleges that the trial
court’s actions prevented him from countering the prosecution’s
penalty phase case and denied him his right to a fair penalty phase
trial.

Respondent moves for summary judgment on this claim,
arguing that: (1) petitioner has failed to state a cognizable claim;
(2) the trial court’s denial of discovery was not an abuse of
discretion since the court reviewed pre-1975 complaints against the
officers and considered file cards listing post-1975 complaints
before denying discovery and petitioner’s showing of materiality with
respect to the discovery sought was weak; (3) the defense made a
tactical decision to avoid relitigating the 1975 prior offense,

65

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 71 of 267

making discovery unnecessary; and (4) the 1975 prior conviction was
of little importance to the penalty phase presentation in any event.

Petitioner opposes respondent’s motion for summary judgment
and moves for partial summary judgment in his own favor on the issue
of whether the trial court erred in denying his discovery motion.
Petitioner asserts that the issue of prejudice is not ripe for
determination because it is unknown what information would have been
discovered had the discovery motion properly been granted.

On April 23, 1985, counsel on behalf of petitioner filed a
motion seeking disclosure of police personnel records reflecting
complaints and investigations of the police officers involved in the
incident that resulted in petitioner’s 1975 felony conviction for
battery on a police officer. (CT at 712-27.)74 Petitioner’s trial
counsel took the position that the defense was not required to allege
the existence of prior complaints against the officers in order to be
entitled to such discovery under state law. (CT at 720.) The City
Attorney opposed the motion on behalf of the Sacramento Police
Department. (CT at 797-99.) The motion came on for hearing on July
31, 1985. (RT Pretrial (PT) at 50-80.) At that time the court
granted the motion only with respect to personnel records reflecting
complaints within five years prior to petitioner’s 1975 conviction.
[T/T T/

T//T/
/////

 

*4 The so-called Pitchess (Pitchess v. Superior Court, 11 Cal.
3d 531 (1974)) motion was re-filed on July 2, 1985. (CT at 785-94.)

66

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 72 of 267

(RT PT at 75-79.)*° The court set a date for the custodian of
records to appear with the ordered discovery. (Id. at 82; CT at
825.) On October 23, 1985, a hearing was held at which time the
designated representative of the Sacramento Police Department
appeared and testified regarding his records search. (RT PT at 122-
67.) The court clarified that the discovery order required review of
any personnel records reflecting complaints against the officers for
the five year period prior to the incident as well as for the time
period between the incident and petitioner’s conviction for
assaulting a police officer. (Id. at 162-66.) The court reiterated
its ruling that no search for complaints made against the officers
after petitioner’s 1975 conviction was required. (Id. at 166.) On
November 14, 1985, the court announced that it had reviewed index
cards reflecting any formal and informal complaints for the officers
in question as well as all files still in existence containing
complaints against the officers for the relevant time period. (Id.
at 212.) The court found that none of the information reviewed was
/////

/////

L/T//

L////

LI Tf

 

*° California Evidence Code § 1045(b) (1) directs a court to
exclude from disclosure information “consisting of complaints
concerning conduct occurring more than five years before the event or
transaction which is the subject of the litigation in aid of which
discovery or disclosure is sought.”

67

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 73 of 267

relevant to petitioner’s capital murder trial and disclosure was
therefore denied. (Id. at 215-16.)*°®

As noted above, before the trial court petitioner’s counsel
took the position that they were not required to allege the existence
of prior complaints against the officers in order to be entitled to
the sought-after discovery under state law. Accordingly, counsel
never attempted to make a showing that the officers’ files in fact
contained complaints, either relating to the period before or after
1975, material to petitioner’s defense. That failure is fatal to
this claim of constitutional error.

In Harrison v. Lockyer, 316 F.3d 1063 (9th Cir.), cert.
denied, _—S¥U.S. ___s,_ «123 S. Ct. 1805 (2003), the court was
confronted with a somewhat similar claim. In that case the
petitioner had moved the state trial court for discovery of all
police records from the arresting officer’s personnel file, including
records of complaints more than five years before the incident at
issue. 316 F.3d at 1065. The motion was denied, the order was
affirmed and review was denied. Id. Ina federal habeas action
petitioner alleged that California's five year cut-off for the

discovery of impeachment material violated his due process rights.

//T//

 

*° The index cards were reviewed because by 1985, police

personnel files involving the time period pre-1975 had been destroyed
in the regular course of business. The parties spend much time
arguing over whether the trial court reviewed all the entries on the
index cards or only those for the 1970-75 time period. The record is
not clear in this regard. Nonetheless, given the court's analysis of
this issue, whether the trial court reviewed all the index card
entries or only some of them, is of no consequence.

68

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Id.

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 74 of 267

The Ninth Circuit found that this constitutional claim was

properly rejected, stating as follows:

We postponed decision of this case until the
Supreme Court of California had decided an
analogous challenge to the five-year cut-off
pertaining to evidence from the police files.
That court has held that despite the statutory
cut-off, citizen complaints against officers are
subject to disclosure if they are "exculpatory"
and that a California trial court should order
such disclosure after the court has reviewed the
file in chambers. City of Los Angeles v.
Superior Court, 29 Cal.4th 1, 124 Cal.Rptr.2d
202, 52 P.3d 129, 137 (Cal. 2002). This judicial
review, however, is contingent on the defendant
making a preliminary showing that the file
contains information material to his defense. Id.
at 138. The California Supreme Court observed
that this procedure complied with Brady v.
Maryland, 373 U.S. 83, 87-88, 83 S.Ct. 1194, 10
L.Ed.2d 215 (1963), as modified by Pennsylvania
v. Ritchie, 480 U.S. 39, 58, n. 15, 107 S.Ct.
989, 94 L.Ed.2d 40 (1987) (defendant must
establish "a basis for his claim that the file
contains material evidence"). City of Los
Angeles v. Superior Court, 124 Cal.Rptr.2d 202,
52 P.3d at 138-39.

We are not instructed on how a defendant ina
criminal case will know, or be able to make, a
preliminary showing that a police personnel file
contains evidence material to his defense. But
we are clear that the California Supreme Court
has faithfully followed the United States Supreme
Court. In our case Harrison made no showing that
[the officer’s] file contained complaints
material to his defense. Therefore, Harrison was
not denied due process when he was denied access
to material more than five years old.

Id. at 1065-66.

Thus, despite any statutory cut-off imposed by California

law, citizen complaints against officers are to be disclosed if they

are exculpatory. However, the defendant must first make a

preliminary showing that the personnel file in fact contains

69

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 75 of 267

information material to the defense. This conclusion is consistent
with the standards applicable to any claim of the withholding of
evidence favorable to the accused with respect to guilt or
punishment. See Brady v. Maryland, 373 U.S. 83 (1963). In order to
establish a Brady violation, a petitioner must prove three things:
“Tt]he evidence at issue must be favorable to the accused, either
because it is exculpatory, or because it 1s impeaching; that evidence
must have been suppressed by the State, either willfully or
inadvertently; and prejudice must have ensued." Strickler v. Greene,
527 U.S. 263, 281-82 (1999).

Here, as in Harrison, the petitioner failed to make any
showing that evidence within the police personnel files was
exculpatory. Accordingly, petitioner’s constitutional rights were
not violated when he was denied access to those materials.
Therefore, petitioner’s motion for partial summary judgment on this
claim should be denied and respondent’s motion for summary judgment
granted.

G. Trial Court’s Failure To Recuse the District Attorney’s

Office and the Assigned Deputy District Attorney

In this claim petitioner asserts that his constitutional
rights were violated when the state trial court denied his motion to
recuse the Sacramento County District Attorney’s Office and the
deputy district attorney who tried his case. (Am. Pet. at 68-72.)
Specifically, petitioner alleges the following. The murder victim,
Connie Decker, was the most active volunteer ina local social and
charitable club. The members of that club took extraordinary

70

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 76 of 267

interest in the prosecution of the case and in urging the imposition
of the death penalty. The deputy district attorney assigned to try
petitioner's case suggested that the club designate a member as its
representative to the District Attorney’s Office. That
representative, an attorney, subsequently had between 23 and 35
contacts with prosecutors about the case. The contacts were
extensive enough that the trial attorney testified that had he been
about to resolve the case short of trial he would have called the
club representative.

In addition, petitioner alleges that the murder victim had
been romantically involved with a Sacramento County Municipal Court
Commissioner who was a former deputy district attorney. The
Commissioner characterized the prosecutors involved in petitioner's
case as being good friends of his. When the Commissioner learned
that petitioner had offered to plead guilty in exchange for a
sentence of life without parole, he passed the information on to his
brother, who was a member of the social club noted above. Finally,
petitioner alleges that the wife of the trial prosecutor was also a
member of that social club. The prosecutor himself knew several
members of the club, attended some of their events, at his wife’s
request spoke at a club function to discuss the criminal justice
system, volunteered to take over the case when the previously-
assigned prosecutor developed a calendaring conflict and then had ten
contacts with the attorney designated as the club’s representative,
who was also an acquaintance of the prosecutor.

//T//

71

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 77 of 267

Petitioner alleges that although the Sacramento County
District Attorney's Office had no written standards for determining
whether to seek or continue pursuing the death penalty and despite
the fact that in other cases where the death penalty was initially
sought that office allowed defendants to plead guilty in exchange for
a sentence of life without parole, in petitioner’s case the
prosecutor refused to entertain such a resolution. Petitioner
contends that a full investigation and evidentiary hearing with
respect to this claim is necessary. In the end, he alleges that the
denial of his recusal motion violated his constitutional rights as
guaranteed by the Fifth, Eighth and Fourteenth Amendments.

Respondent moves for summary judgment on this claim.
Respondent argues that the state trial court conducted a full
evidentiary hearing on the recusal motion and that the state court's
determination of factual issues is entitled to a presumption of
correctness on habeas review. In this regard, respondent notes the
State court findings, affirmed on appeal, that petitioner had failed
to show bias, conflict of interest, an appearance of a conflict ora
likelihood that a fair trial could not be provided. Because
petitioner was not denied a fair trial by the involvement of the
Sacramento County District Attorney’s Office in trying the case,
respondent contends he is entitled to summary judgment in his favor
on this claim.

Petitioner opposes respondent’s motion and seeks judgment
in his favor as a matter of law on this claim. Petitioner argues
that the interest in the case expressed by the Municipal Court

72

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 78 of 267

Commissioner, the involvement and concern expressed by members of the
social club in which the victim had been an active member and the
prosecutor’s connection with that social club through his wife,
including his appearance at a club luncheon to discuss the capital
case process before he took over the prosecution of the case,
combined to form a web of personal and professional conflicts
resulting in unfairness in the prosecution of this case. Petitioner
agrees that the fairness of the trial is the issue presented but
contends that such fairness includes a fair-minded exercise of

prosecutorial discretion with respect to charging decisions and plea

bargaining. (Opp’n & Cross-Mot. for Summ. J. at 166 (citing Ganger
v. Peyton, 379 F.2d 709, 712 (4th Cir. 1967).) Petitioner again

argues that although this District Attorney’s Office had resolved
other capital cases with sentences of life without parole, it refused
to dispose of petitioner’s case in that manner.?’

Before petitioner’s trial commenced, an evidentiary hearing
was held with respect to petitioner’s recusal motion. (RT at 5-133.)
In addition to the facts summarized above, the court heard testimony
that Mr. John O’Mara, Supervisor of the Major Crimes Section, made
the initial recommendation in the charging and disposition of capital
cases and that the ultimate decision regarding whether to seek the

death penalty is made by the District Attorney of Sacramento County.

 

*7 In support of this point, petitioner cites three cases and

submits the declarations of counsel in two of those cases which
merely state that they were capital cases resolved by plea agreements
calling for the imposition of the sentence of life without parole.
(Opp’n & Cross-Mot. for Summ. J. at 168 n.121 & Ex. NN.)

73

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 79 of 267

(RT at 60, 70-72.) Deputy District Attorney O’Mara testified that
prior to re-assigning the case he told the social club representative
that in his judgment the case should proceed to trial and that a jury
should determine the appropriate penalty. (RT at 79.) Deputy
District Attorney Druliner, the trial prosecutor, testified that he
did not feel that the contacts from the social club representative
were attempts to influence his handling of the case. (RT at 61.) He
also had the impression that the social club was interested in seeing
the case handled in a professional manner as opposed to being
committed to the prosecution of the case to a death verdict, while
recognizing that there were some members who no doubt wanted the
latter course followed. (RT at 64-68.) Mr. O’Mara also testified
that he had told Mr. Druliner that he didn’t think it was a good idea
for him to address the social club but that he could not prevent him
from doing so. (RT at 86-87.) The trial court denied the motion to
recuse, finding that no conflict of interest had been established and
that there was no evidence that any pressure had been put on the
District Attorney’s Office or that the prosecutor had been improperly
influenced in his handling of the case. (RT at 131-33.)

Prosecutors are “traditionally accorded wide discretion

 

in the enforcement process.” Marshall v. Jerrico, Inc., 446
U.S. 238, 248 (1980). Nonetheless,
///T/
/fIT/
////]
///t/

74

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 80 of 267

ia] scheme injecting a personal interest,
financial or otherwise, into the enforcement
process may bring irrelevant or impermissible
factors into the prosecutorial decision and in
some contexts raise serious constitutional
questions.

id. at 249-50. Similarly, it has long been recognized that
[a criminal prosecutor] is the representative not
of an ordinary party to a controversy, but of a
sovereignty whose obligation to govern
impartially is as compelling as its obligation to
govern at all; and whose interest, therefore, in
a criminal prosecution is not that it shall wina
case, but that justice shall be done. ... He
may prosecute with earnestness and vigor --
indeed, he should do so. But, while he may strike
hard blows, he is not at liberty to strike foul
ones. It is as much his duty to refrain from
improper methods calculated to produce a wrongful
conviction as it is to use every legitimate means
to bring about a just one.

Berger v. United States, 295 U.S. 78, 88 (1935). Accord Young v.
United States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 807 (1987),
These same principles apply with equal force to state prosecutors.
Sheppard v. Rees, 909 F.2d 1234, 1238 (9th Cir. 1989).

Nonetheless, the standards of neutrality for prosecutors
are not as demanding as those applied to judicial or quasi-judicial
officers. Young, 481 U.S. at 810; Marshall, 446 U.S. at 249-50; Dick
v. Scroggy, 882 F.2d 192, 197 (6th Cir. 1989). This is because,
unlike judges who must always remain impartial, prosecutors are
partisan advocates who are permitted to be zealous in their
enforcement of the law. Marshall, 446 U.S. at 248-50; Dick, 882 F.2d
at 197. Accordingly, a petitioner claiming that a prosecutor bore a
personal bias against him must demonstrate that the fairness of his

75

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 81 of 267

trial was affected and that he was thus prejudiced by the
prosecutor's involvement. Dick, 882 F.2d at 196-97 (“[W]le are not
persuaded that Mr. Dick’s prosecution by a Commonwealth Attorney who
may have been less than disinterested constituted an irregularity
‘sufficiently fundamental’ to justify our setting aside the
conviction in this case.”); Newman v. Frey, 873 F.2d 1092, 1093-94
(8th Cir. 1989) (habeas relief denied where one of the prosecutors in
petitioner’s murder case was a friend of the murder victim and had
represented the victim's family and business in civil legal matters) ;
Gallo v. Kernan, 933 F. Supp. 878, 885 (N.D. Cal. 1996) (habeas relief
denied where it was claimed that the prosecutor demonstrated an
improper personal and emotional bias against petitioner by taking
unprecedented actions, including visiting the victim in the hospital,
attending the victim's divorce proceedings and taking positions
adverse to petitioner, that the prosecutor had not taken in similar
cases), aff'd, 141 F.3d 1175 (9th Cir. 1998); see also United States
v. Terry, 17 F.3d 575, 579 (2d Cir. 1994).

Instructive in this regard is the decision in Wright v.
United States, 732 F.2d 1048 (2d Cir. 1984). In that case the
petitioner challenged his federal Hobbs Act conviction on the grounds
that he had been deprived of his constitutional right to a
disinterested prosecutor. It was established that the wife of the
trial prosecutor had brought two prior complaints regarding
petitioner to federal authorities, had actively petitioned federal,
state and local authorities to investigate petitioner, and had
allegedly been assaulted by petitioner’s supporters. 732 F.2d at

76

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 82 of 267

1055. Nonetheless, the court affirmed the dismissal of the petition
for post-conviction relief concluding:

In short, this case, with the facts taken at
their worst against the Government, does not
present the spectacle of a prosecutor's using the
"awful instruments of the criminal law" [citation
omitted] for purpose of private gain and,
although we consider the choice of Puccio as
prosecutor to have been ill advised, we do not
regard it as having deprived Wright of due
process of law. At the very most... it
deprived him of the chance that, with another
prosecutor, he might have undeservedly escaped
indictment and consequent conviction for crimes
of which he was properly found to be guilty.

732 F.2d at 1058.

This case is no different. In support of his claim
petitioner focuses in large part on the prosecutor’s refusal to
resolve his case by way of guilty plea in exchange for an agreed upon
sentence of life imprisonment without parole. He cites three capital
cases that the Sacramento County District Attorney's Office agreed to
resolve in this manner. However, whether to offer a plea bargain
clearly is an area in which prosecutors are accorded relatively

unfettered discretion. Weatherford v. Bursey, 429 U.S. 545, 561

(1977) (*“[T]lhere is no constitutional right to plea bargain; the
prosecutor need not do so if he prefers to go to trial.”); King v.

Brown, 8 F.3d 1403, 1408 (9th Cir. 1993) .28
Petitioner’s reliance on the decision in Ganger v. Peyton

is likewise unavailing. In that case the petitioner had been

 

“2 "The Due Process Clause is not a code of ethics for

prosecutors; its concern is with the manner in which persons are
deprived of their liberty." Mabry v. Johnson, 467 U.S. 504, 511
(1984).

77

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 83 of 267

convicted of assaulting his wife. The prosecutor, who was employed
in that capacity part-time, represented the wife in the pending
diverce action based on the same assault. The court found that the
prosecutor had offered to dismiss the assault charge in exchange for
a property settlement favorable to his client in the divorce action.
379 F.2d at 711-12. Under those extreme circumstances the court
found that the obvious conflict of interest required the setting
aside of the state court conviction. Id. at 714-15. In petitioner's
case, then-Deputy District Attorney Druliner did not initiate the
prosecution, as the prosecutor in Ganger did. Rather, he took over
the prosecution from John O'Mara, the supervisor of the Major Crimes
Section of the office, who had developed a scheduling conflict. The
decision to seek the death penalty had already been made before
Druliner came into the case. Moreover, unlike the prosecutor in
Ganger, there is no claim here that the prosecutor who tried
petitioner’s case was utilizing the criminal process to advance his

own pecuniary interest. See Dick, 882 F.2d at 193-97 (habeas relief

 

denied in an assault case arising out of an auto accident where the
prosecutor subsequently represented the accident victim in a civil
case against the petitioner even though that representation may have
commenced prior to the challenged conviction); Newman, 873 F.2d at
1093-94; Wright, 732 F.2d at 1057-58 (distinguishing Ganger); Gallo,
933 F. Supp. at 885.

For these reasons the court concludes that petitioner has
failed to make a showing that the Sacramento District Attorney's
Office, and the deputy district attorney who tried his case in

78

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 84 of 267

particular, harbored such extreme personal bias or prejudice against
him that his due process rights were violated. Accordingly,
petitioner’s motion for summary judgment on this claim should be
denied and respondent’s motion for judgment in his favor should be
granted.

H. Systematic Underrepresentation of Hispanics in the Jury

Panel

Petitioner claims that the systematic and substantial
underrepresentation of persons of Hispanic origin from the panel from
which his jury was selected violated his constitutional right to a
jury drawn from a fair cross-section of the community. (Am. Pet. at
73-78.) Specifically, petitioner claims that the trial erred in
denying his motion to quash the jury venire in that he had made the
prima facie showing required under Duren v. Missouri, 439 U.S. 357
(1979). Accordingly, petitioner claims, the prosecution should have
been required to demonstrate a significant state interest advanced by
the jury selection process that resulted in the disproportionate
exclusion of Hispanics.

Respondent moves for summary judgment on this claim, noting
that the state trial court held an evidentiary hearing on the defense
motion to quash the jury venire and, after taking evidence, concluded
that the defense had failed to make even a prima facie showing of
unconstitutional underrepresentation. (RT at 1611-13.) That
determination was affirmed on appeal by the California Supreme Court.
See Breaux, 1 Cal. 4th at 297-99. Respondent argues that even viewed
in the light most favorable to petitioner, the evidence presented by

79

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 85 of 267

the defense established an absolute disparity between eligible
Hispanic jurors in the population and those appearing in the jury
pool of 2.8%, a disparity repeatedly found insubstantial and
constitutionally permissible.

Petitioner opposes the respondent's motion and moves for
summary judgment in his favor on this claim. He argues that it is
undisputed that the group alleged to be excluded (Hispanics) is a

“distinctive” group in the community. See Duren, 439 U.S. at 364.

 

He asserts the only questions are whether the representation of
Hispanics in the jury venire was fair and reasonable in relation to
the number of Hispanics in the community and, if not, whether that
underrepresentation was due to the systematic exclusion of Hispanics
in the jury-selection process. Id. Most importantly for resolution
of the pending motion, petitioner concedes that in light of binding
Ninth Circuit precedent he failed to make out a prima facie case of
substantial underrepresentation of Hispanics as required.

In Taylor v. Louisiana, 419 U.S. 522 (1975), the United
States Supreme Court held that systematic exclusion of women during
the jury-selection process, resulting in jury pools not "reasonably
representative" of the community, denies a criminal defendant his
Sixth and Fourteenth Amendment right to a jury selected from a fair

cross-section of the community. 419 U.S. at 531-33. ee also United

 

States v. Esquivel, 88 F.3d 722, 724-25 (9th Cir. 1996). In order to
establish a prima facie violation of the fair-cross-section
requirement, a defendant must show:

////1

80

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 86 of 267

(1) that the group alleged to be excluded is a

“distinctive” group in the community; (2) that

the representation of this group in venires from

which juries are selected is not fair and

reasonable in relation to the number of such

persons in the community; and (3) that this

underrepresentation is due to systematic

exclusion of the group in the jury-selection

process.

Duren, 439 U.S. at 364. See also Thomas v. Borg, 159 F.3d 1147,
1149-50 (9th Cir. 1998); Esquivel, 88 F.3d at 725.

It is conceded that petitioner satisfied the first prong of
the prima facie showing requirement in that Hispanics are members of
a distinctive and identifiable group in the community. ee United
States v. Nelson, 137 F.3d 1094, 1101 (9th Cir. 1998); United States
v. Sanchez-Lopez, 879 F.2d 541, 547 (9th Cir. 1989).*? As to the
second prong, however, “‘the Duren test requires proof, typically
statistical data, that the jury pool does not adequately represent
the distinctive group in relation to the number of such persons in
the community.’” Thomas, 159 F.3d at 1150 (quoting Esquivel, 88 F.3d
at 726). See also Belmontes, 350 F.3d at 890.

Here, petitioner argues that in determining the extent of
underrepresentation of Hispanics in the jury venires the comparative
disparity test should be employed. As petitioner recognizes,
however, that position has been rejected by the Ninth Circuit, which

instead has long applied the absolute disparity analysis.

Thomas, 159 F.3d at 1150; Esquivel, 88 F.3d at 726; United States v.

 

°° “[T]he Supreme Court has held that ‘there is no rule that
[Sixth Amendment claims] may be made only by those defendants who are
members of the group excluded from jury service.’” United States v.

Nelson, 137 F.3d at 1101 n.1 (quoting Taylor, 419 U.S. at 526).

81

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 87 of 267

Cannady, 54 F.3d 544, 548 (9th Cir. 1995); Sanchez-Lopez, 879 F.2d at
547; United States v. Kleifgen, 557 F.2d 1293, 1297 (9th Cir. 1977).
The absolute disparity is determined by “‘taking the percentage of
the group at issue in the total population and subtracting from it
the percentage of that group that is represented on the master jury
wheel.’” Thomas, 159 F.3d at 1150 (quoting Sanchez-Lopez, 879 F.2d
at 547).

In this case petitioner presented testimony from his
expert, Dr. Edgar Butler, establishing that at the most Hispanic
jurors were underrepresented by 2.8% as a matter of absolute
disparity. (RT at 291-372, 530-680.) Such an absolute disparity
figure has been found by the Ninth Circuit to be constitutionally
permissible. Nelson, 137 F.3d at 1101 (3.9% absolute disparity with
respect to Hispanic jurors insufficient to state a Sixth Amendment
claim); Esquivel, 88 F.3d at 726-27 (underrepresentation of 4.9% not
substantial); Cannady, 54 F.3d at 548 (2.2% to 3.1% disparity for
Hispanics failed to state a claim); United States v. Suttiswad, 696
F.2d 645, 649 (9th Cir. 1982) (7.7% absolute disparity
constitutionally permissible); Kleifgen, 557 F.2d at 1297 (2.9% and
4.4% absolute disparities insufficient to state a cognizable claim);
see also United States v. Rodriguez, 776 F.2d 1509, 1511 (11th Cir.
1985) ("Although precise mathematical standards are not possible,
this circuit has consistently found that a prima facie case of
underrepresentation has not been made where the absolute disparity

does not exceed ten percent."). Thus, petitioner has failed to

///T/

82

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 88 of 267

satisfy the second prong of the test under Duren and respondent is
entitled to judgment in his favor as to this claim.*°
Accordingly, petitioner’s motion for summary judgment on
this claim should be denied and respondent’s motion for judgment in
his favor should be granted.
I. Admission of Petitioner’s Post-Arrest Statements

In Claim I, petitioner alleges that the introduction of his
post-arrest statement taken at the hospital while he was under the
influence of morphine violated his rights under the Fifth, Sixth, and
Fourteenth Amendments. (Am. Pet. at 78.)

In support of this claim, petitioner alleges that, after
having been shot twice during his arrest, he was taken to a hospital
for emergency surgery. His injuries were painful. He feared that
the police might harm him and asked to have them removed from the
emergency room. At 5:31 a.m. he received a 10-milligram injection of
morphine. (Id. (citing RT at 407, 695, 709, 724-25 & 889).)

Petitioner alleges that morphine operates on a person’s
central nervous system, creating a euphoria that takes away the
person's perception of pain and of danger, thereby lessening the
self-protective instincts. An average person under treatment with
morphine would have difficulty understanding a Miranda advisement and

perceiving the effect of information given to the police, even though

 

°° In light of petitioner’s failure to make the required

showing as to the second prong, the court need not reach the issue of
whether the third prong of the test (whether underrepresentation is
due to systematic exclusion of the group in the jury-selection
process) was properly applied. Although the parties have nonetheless
addressed the third prong of the test, the court declines to do so.

83

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 89 of 267

the person may exhibit no outward signs of intoxication and may
appear to understand questions and give appropriate responses.
Intravenous injection of morphine has a greater effect on a patient
than any other mode of administration. An injection has its peak
effect on the patient about one hour after its administering. (Id.
at 78-79 (citing RT at 698, 700 & 721-25; People v. Fordyce, 612 P.2d
1131, 1133 (Colo. 1980)).

Petitioner alleges that Detective Bell read him his Miranda
rights at 6:32 a.m., when the morphine injection would have been
having its maximum effect. Petitioner stated that he would waive his
rights. Bell then interrogated petitioner for approximately an hour
and ten minutes and, after a break of 15 to 20 minutes, for an
additional 20 to 30 minutes. The interrogation occurred prior to
petitioner’s surgery. Bell testified that petitioner had some
difficulty focusing his attention, that Bell had to repeat questions,
that petitioner’s train of thought would wander, and that the
interview was terminated when petitioner no longer appeared to be
responsive to questions. (Id. at 79 (citing RT at 436-38, 452-54,
503-04, 514-15, 517-18 & 892).)

Petitioner claims the prosecution failed to meet its burden
of showing that his waiver of his Miranda rights was knowing,
intelligent, and voluntary and that his statement to Bell was
voluntary. Petitioner claims the use of his statement at trial
violated his rights to due process and equal protection of the law,
to freedom from compulsory self-incrimination, to a reliable
determination of his guilt or innocence of capital murder, and to a

84

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 90 of 267

fair, reliable individualized, nonarbitrary, and adequately guided
determination of the appropriateness of death as the penalty. (Id.
at 79-80.)

In his motion for summary judgment on this claim,
respondent argues that petitioner’s Miranda rights were not violated.
Respondent asserts that the material facts concerning petitioner's
contact with the authorities and the statements he made before and
after his arrest were thoroughly explored by the trial court at the
hearing on the Miranda motion. Respondent argues that the facts set
forth by the California Supreme Court in People v. Breaux, 1 Cal. 4th
at 300-01, are entitled to a presumption of correctness and that
petitioner is not entitled to an evidentiary hearing on his Miranda
claim because he had a full opportunity to litigate the issue in the
trial court, the trial court held a hearing, and the California
Supreme Court reviewed and affirmed the trial court’s decision.

(Alt. Mot. for Summ. J. at 119-21.)

Respondent states that courts determine whether a
confession was voluntary and whether a Miranda waiver was knowing and
intelligent by looking at the totality of the circumstances. (Alt.
Mot. for Summ. J. at 122 (citing Arizona v. Fulminante, 499 U.S. 279,
285-86 (1991); United States v. Bautista-Avila, 6 F.3d 1360, 1365
(9th Cir. 1993).) Respondent argues that the record demonstrates
that there was no improper influence on petitioner, his will was not
overborne, and he knowingly and intelligently waived his Miranda
rights and voluntarily gave a statement to police.

SII /

85

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 91 of 267

Respondent contends that petitioner was injected with
morphine “a full hour before he was informed of his Miranda rights
and an hour and a half before he was interviewed by Detective Bell.”
(Alt. Mot. for Summ. J. at 124 (citing RT at 438-39, 503, 695-97 &
889; Breaux, 1 Cal. 4th at 300).) The effects of the morphine were
estimated to last one to two hours, although Dr. Gylling testified
that petitioner told him he had injected heroin earlier that day,
which would have caused the morphine to leave petitioner’s system
faster. (Id. (citing RT at 700 & 722).) Medical professionals
testified that when petitioner spoke with Detective Bell he was
coherent and understood what was said to him, gave medical staff a
detailed history, and was wide awake and responsive. There was
testimony that petitioner answered “fairly in-depth questions
appropriately and with apparent understanding,” his speech was not
slurred, and he was competent to give informed consent to surgery.
Defense psychiatrist Dr. Mehtani conceded that petitioner was “well
versed in the Miranda rights, having exercised them in the prior week
when arrested for being under the influence of heroin and while under
the influence of heroin.” Respondent argues that petitioner's
attempt to shift blame for the murder to a non-existent Mexican
hitchhiker also demonstrates that petitioner was aware of the nature
of Detective Bell’s questions. (Id. (citing RT at 405, 407, 414-15,
418-19, 463-64, 690-91, 693 & 888-89; Breaux, 1 Cal. 4th at 301).)

On the basis of petitioner’s responses to the situation,
the nature of morphine, petitioner’s prior experience waiving his
rights, and the content of petitioner’s statement to Detective Bell,

86

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 92 of 267

respondent contends that petitioner’s statements were voluntary and
his waiver of Miranda rights was knowing and intelligent.

Petitioner opposes respondent’s motion and argues that his
conviction and sentence must be set aside because his statement made
at the hospital under the influence of morphine was admitted at the
guilt-phase of his trial even though the prosecution failed to show
that his waiver of Miranda rights was knowing, intelligent, and
voluntary or that the statement itself was voluntary. Petitioner
contends that he is entitled to summary judgment on the undisputed
facts or is at least entitled to an evidentiary hearing on this
claim. (Opp’n & Cross-Mot. for Summ. J. at 173.) Petitioner relies
on the facts alleged in his amended petition and on Detective Bell’s
testimony before the trial court that petitioner spoke in a soft
voice and slowly while being interrogated, that there were some long
pauses between petitioner’s answers, that those answers were often
simply “yes” or “no,” and that the interrogation ended because
petitioner had nodded off. (Id. at 173-74 (citing RT at 481 & 513-
18) .)

Petitioner also argues that his waiver of the privilege
against self-incrimination was not knowing, intelligent, and
voluntary due to his ingestion of drugs. Petitioner does not claim
that Detective Bell coerced his statements. Rather, petitioner urges
the court to consider the decision in People v. Fordyce for its
discussion of the effects of morphine on the ability of a patient to
make a knowing and intelligent decision to make a statement to police
LT f/f /

87

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 93 of 267

officers or, in the alternative, to hold an evidentiary hearing on
this issue. (Id. at 175-76.)

Petitioner contends that the circumstances in Fordyce and
this case were very similar: morphine was given in a dosage
effective to take the edge off the patient’s pain (612 P.2d at 1133;
RT at 408 & 699), doctors testified that at the time of the patient’s
statements to police the patient appeared to be oriented as to
person, place, and time (612 P.2d at 1133; RT at 401-02), and other
witnesses testified that the patient appeared to be reasonable and
able to follow directions (612 P.2d at 1133) or was coherent,
rational, and responsive during interactions (RT at 894-95). In
Fordyce, an expert toxicologist testified that an effective dose of
morphine creates a euphoria which takes away the perceptions of pain
and danger, thereby lessening the self-protective instincts, although
the patient may exhibit no outward signs of intoxication. An
effective dose of morphine also interferes with short-term memory, so
that “[a]n average person under treatment with morphine would have
difficulty understanding a Miranda advisement and perceiving the
important effect of information given to the police” (612 P.2d at
1133). The Colorado Supreme Court found that apparently rational
behavior can be consistent with an effective dose of morphine and
that the specific and predictable effects of morphine on the central
nervous system may cause the patient to be sufficiently impaired to
render any statement involuntary. The court ruled that the
defendant’s statements to police were inadmissible because her waiver
of the Fifth Amendment privilege against self-incrimination was not

88

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 94 of 267

knowing, intelligent, and voluntary. There was no testimony by an
expert toxicologist in petitioner’s case, and the testimony of
defense expert Dr. Mehtani and prosecution witnesses did not focus on
the specific effects of morphine on petitioner's will. (Id. at 176-
77.)

Petitioner suggests that this court “can benefit” from the
expert toxicologist’s testimony in Fordyce or, in the alternative,
should order an evidentiary hearing at which “an expert toxicologist
or pharmacologist could testify so that this court may assess whether
the morphine administered to [petitioner] was sufficient to render
his Miranda waiver invalid and subsequent statements inadmissible.”
(Id. at 177.)

Petitioner claims the state court record demonstrates that
the morphine administered to him rendered him incapable of
understanding either the Miranda advisement or the consequences of
waiving his Miranda rights. In this regard, petitioner views the
testimony of Dr. Gylling, Dr. Gage, Nurse Lords, and Detective Bell
as evidence that the intravenous administration of morphine
transformed him within an hour from a belligerent, aggressive, rude
and uncooperative individual who was afraid of the police into a
soft-spoken cooperative individual who was willing to respond to a
detective’s interrogation without counsel present. Petitioner
contends that it is reasonably probable that his waiver of his Fifth
Amendment rights resulted from morphine’s having taken away his
perception of danger and reduced his self-protective instincts,
making it difficult for him to perceive the effect of the information

89

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 95 of 267

he gave to the police. Petitioner asserts that there is no
persuasive evidence to the contrary. (Id. at 178-79.)

Petitioner cites Pierce v. Cardwell, 572 F.2d 1339, 1341

 

(9th Cir. 1978), for the proposition that a claim of intoxication, if
proved, entitles the petitioner to relief. The petitioner in Pierce
alleged that he was suffering from intoxication caused by the
combined effect of alcohol and Valium. The court held that the
alleged intoxication, if established as fact, may have made the
petitioner incapable of a voluntary, knowing, and intelligent waiver.
Petitioner also relies upon the decision in Gladden v. Unsworth, 396
F.2d 373, 379-81 (9th Cir. 1968), in which the court discussed the
constitutional dangers that arise when a defendant’s statement is
made while intoxicated and recognized that intoxication prevents an
individual from exercising his rational intellect or his free will.
(Id. at 179-80.)

Finally, petitioner argues that the erroneous admission of
his statement was prejudicial in both phases of his trial. In his
statement to Detective Bell, petitioner said he had used heroin on
the day he was shot but did not mention cocaine. Petitioner gave a
detailed description of a third-party perpetrator, a “Mexican
hitchhiker.” The defense theory at trial, supported primarily by the
testimony of Dr. Rosenthal, was that petitioner was so intoxicated on
cocaine that he was unable to premeditate or deliberate the killing
or form the specific intent to kill. The prosecutor attacked Dr.
Rosenthal’s testimony by establishing during cross-examination that
the testimony depended entirely on Dr. Rosenthal’s accepting as true

30

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 96 of 267

the statements made to him by petitioner. In closing argument, the
prosecutor emphasized that Dr. Rosenthal’s opinion was based on
petitioner’s story and pointed to petitioner’s statement to Detective
Bell, in which he made no mention of cocaine, did not claim that he
shot Connie Decker in a state of cocaine-induced rage, and instead
claimed a Mexican hitchhiker killed her. Thus, petitioner argues,
admission of petitioner’s hospital statement allowed the prosecutor
to undermine petitioner’s credibility and therefore the validity of
Dr. Rosenthal’s opinion, leaving petitioner effectively without a
defense. Petitioner asserts that the effect was compounded in the
penalty phase by the possibility that the jury viewed petitioner's
story of a Mexican hitchhiker as a calculated and callous attempt to
avoid responsibility for the killing. Petitioner concludes that the
admission of his hospital statement at trial was both erroneous and
harmful, entitling him to either summary disposition in his favor or
an evidentiary hearing. (Id. at 180-82.)

In reply and in opposition to petitioner's cross-motion,
respondent asserts that petitioner appears to have abandoned his
argument that his hospital statement was involuntary and is now
relying instead on Miranda grounds. Respondent reiterates that the
voluntariness of petitioner’s hospital statements was determined by
the state courts. Respondent characterizes petitioner’s assertion of
the effect of morphine to reduce anxiety as a new approach to the
facts but one that fails to undermine the validity of petitioner’s
waiver, particularly in light of the state courts’ determination,
based on an evidentiary hearing, that the effects of morphine had

91

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 97 of 267

worn off by the time of the questioning and that petitioner was not
Significantly under the influence of morphine. Respondent cites the
trial court’s rejection of the testimony of defense witness Dr.
Mehtani and the express finding that there was “no indication of
undue pressure. No indication of - that drugs or fear or loss of
sleep were influencing his decision.” Respondent contends that
petitioner is implicitly requesting judicial notice of evidentiary
matter regarding morphine as set forth in the Colorado Supreme Court
opinion and that such evidence would be improper new evidence under
Keeney v. Tamayo-Reyes. Respondent argues that petitioner has
offered nothing that overcomes the presumption of correctness under
former 28 U.S.C. § 2254(d) and that Claim I should be rejected.
(Resp’t’s Reply at 26-27 (citing RT at 1604).)

In reply, petitioner denies that either his evidence or his
approach is new. Petitioner asserts that the very evidence alluded
to, along with a virtually identical argument, was presented to the
California Supreme Court in 1991 on direct appeal. Petitioner
contends that he claimed then, as he does now, that his waiver was
invalid because the effects of morphine, as well as shock from his
gunshot wounds and the lingering effects of illicit drugs ingested
prior to his arrest, made him incapable of acting knowingly,
intelligently, and voluntarily. Petitioner contends that respondent
misstates the degree to which this court owes deference to the trial
court’s factual findings made after a hearing and argues that the
material facts were not adequately developed at that hearing because
there was no expert testimony regarding the effects of morphine on

92

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 98 of 267

voluntariness. Petitioner further argues that the record as a whole
supports a finding that he was under the influence of morphine when
he waived his rights and that respondent has disputed neither the
facts relied upon in pétitioner’s cross-motion or the expert
testimony in Fordyce. (Pet'r’s Reply at 43-45.)

At oral argument, the court inquired of petitioner's
counsel whether petitioner has abandoned the argument that his
statement was involuntary and now relies completely on Miranda, as
respondent argued. (Tr. of Oral Argument July 10, 2001, at 32.)
Petitioner’s counsel observed that the distinction between
“involuntary and Miranda” and between “14th Amendment v. 5th
Amendment” is difficult to sort out due to the fact that much of the
jurisprudence on voluntariness predated Miranda. Counsel stated that
petitioner continues to rely on the Fourteenth Amendment as well as
the Fifth Amendment and has not abandoned the claim that his
statement was involuntary. Counsel also asserted that petitioner
“was under the influence of a lot more than morphine and we may need
additional evidence on that influence.” (Id. at 32-33.)

In his post-arrest statement to Detective Bell in the
hospital, petitioner stated that he kidnapped Connie Decker for a joy
ride. (Alt. Mot. for Summ. J. at 23 (citing RT at 4428).)

Petitioner said he got into Ms. Decker’s car, held a gun on her, and
demanded that she drive away; directed her to stop in a parking lot,
traded seats with her, and drove away with her in the passenger seat;
picked up a Mexican hitchhiker; left Ms. Decker with the hitchhiker
while he went for a drive; found only the Mexican when he returned

93

 
10

11

12

13

14

15

16

17

18

19

20

2]

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 99 of 267

and was told by the Mexican that he had shot Ms. Decker and put her
in a dumpster; drove away with the Mexican; later contacted the
Mexican and, with the Mexican’s help, moved Ms. Decker’s body to
another location; took Ms. Decker’s purse and sold it, and took a
credit card from the purse and tried to use it. (Alt. Mot. for Summ.
J. at 21-23 (citing RT at 4402-10, 4416-19, 4422-24, 4426-28, 4560).)

Although petitioner did not confess to the killing, the
same analysis applies to direct confessions, statements that amount
to admissions of part or all of an offense, and statements that
purport to be exculpatory but are used by the prosecution to impeach
the defendant's testimony at trial or to prove his guilt by
implication. See Miranda v. Arizona, 384 U.S. 436, 476-77 (1966);
Gladden v. Unsworth, 396 F.2d 373, 375-76 (9th Cir. 1969).

Petitioner’s challenge to the introduction of his post-
arrest statement has been presented under the Fifth and Fourteenth
Amendments.** In Dickerson v. United States, the Supreme Court traced
the history of the law governing the admission of confessions,
observing that

[po] rior to Miranda, we evaluated the

admissibility of a suspect’s confession under a

voluntariness test. The roots of this test

developed in the common law, as the courts of

England and then the United States recognized

that coerced confessions are inherently
untrustworthy. Over time, our cases recognized

 

*1 Petitioner asserts in his amended petition that the

introduction of his post-arrest statement at trial violated his
rights under the Fifth, Sixth, and Fourteenth Amendments. The
parties have not argued and the undersigned does not discern a Sixth
Amendment basis for petitioner’s claim that his statements should not
have been admitted at trial. (See Am. Pet. at 78.)

94

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 100 of 267

two constitutional bases for the requirement that
a confession be voluntary to be admitted into
evidence: the Fifth Amendment right against
self-incrimination and the Due Process Clause of
the Fourteenth Amendment.

[Flor the middle third of the 20th
century our cases based the rule against
admitting coerced confessions primarily, if not
exclusively, on notions of due process. We
applied the due process voluntariness test in
“some 30 different cases decided during the era
that intervened between Brown [decided in 1936]
and Escobedo v. Illinois” [decided in 1964].

Those cases refined the test into an inquiry that
examines “whether a defendant’s will was
overborne” by the circumstances surrounding the
giving of a confession. The due process test
takes into consideration “the totality of all the

surrounding circumstances -- both the
characteristics of the accused and the details of
the interrogation.” The determination “depend[s]

upon a weighing of the circumstances of pressure
against the power of resistance of the person
confessing.”

We have never abandoned this due process
jurisprudence, and thus continue to exclude
confessions that were obtained involuntarily.
But our decisions in Malloy v. Hogan [in 1964]
and Miranda [in 1966] changed the focus of much
of the inquiry in determining the admissibility
of suspects’ incriminating statements. In
Malloy, we held that the Fifth Amendment’s Self-
Incrimination Clause is incorporated in the Due
Process Clause of the Fourteenth Amendment and
thus applies to the States. We decided Miranda
on the heels of Malloy.

In Miranda, we noted that the advent of
modern custodial police interrogation brought
with it an increased concern about confessions
obtained by coercion. Because custodial police
interrogation, by its very nature, isolates and

pressures the individual, we stated that “[e]ven
without employing brutality, the ‘third degree’
or [other] specific stratagems, . . . custodial

interrogation exacts a heavy toll on individual
liberty and trades on the weakness of
individuals.” We concluded that the coercion
inherent in custodial interrogation blurs the

95

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 101 of 267

line between voluntary and involuntary
statements, and thus heightens the risk that an
individual will not be “accorded his privilege
under the Fifth Amendment . . . not to be
compelled to incriminate himself.” Accordingly,
we laid down “concrete constitutional guidelines
for law enforcement agencies and courts to
follow.” Those guidelines established that the
admissibility in evidence of any statement given
during custodial interrogation of a suspect would
depend on whether the police provided the suspect
with four warnings. These warnings .. . have
come to be known colloquially as “Miranda rights”

Dickerson v. United States, 530 U.S. 428, 432-35 (2000) (citations

 

and footnote omitted).

The Miranda guidelines arose from the Court’s concern “that
reliance on the traditional totality-of-the-circumstances test raised
a risk of overlooking an involuntary custodial confession, a risk
that the Court found unacceptably great when the confession is
offered in the case in chief to prove guilt.” Id. at 442 (citing
Miranda, 384 U.S. at 457). “[S]omething more than the totality test
was necessary” to prevent the use of unwarned statements as evidence
in the prosecution's case in chief. Id. at 442 & 443-44.

In Colorado v. Connelly, 479 U.S. 157 (1986), the Court

 

considered the case of a man who approached police to confess toa
murder and did confess after receiving Miranda advisements. It was
later determined that the defendant was suffering from a psychosis
that interfered with his ability to make free and rational choices
and, while not preventing him from understanding his rights,
motivated him to confess. Although no police misconduct or coercion
occurred, the trial court suppressed the defendant's statements as

96

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 102 of 267

involuntary, finding that his mental state vitiated his attempted
waivers of the right to counsel and the privilege against self-
incrimination. The Colorado Supreme Court affirmed on the grounds
that the defendant’s mental state interfered with his rational
intellect and his free will, that admission of his confession would
violate the Due Process Clause of the Fourteenth Amendment, and that
the defendant’s mental condition precluded him from making a valid
waiver of his Miranda rights. 479 U.S. at 160-63.

The Supreme Court reversed, holding that “coercive police
activity is a necessary predicate to the finding that a confession is
not “voluntary” within the meaning of the Due Process Clause of the
Fourteenth Amendment.” Id. at 167.

Absent police conduct causally related to the

confession, there is simply no basis for

concluding that any state actor has deprived a

criminal defendant of due process of law.

[Als interrogators have turned to more subtle

forms of psychological persuasion, courts have

found the mental condition of the defendant a

more significant factor in the “voluntariness”

calculus. But this fact does not justify a

conclusion that a defendant’s mental condition,

by itself and apart from its relation to official

coercion, should ever dispose of the inquiry into

constitutional “voluntariness.”
Id. at 164 (footnote and citation omitted). Accordingly, while a
defendant’s mental condition is relevant to his susceptibility to
police coercion, “mere examination of the confessant’s state of mind
can never conclude the due process inquiry.” Id. at 165. With
regard to the Fifth Amendment privilege against self-incrimination,
the Court likewise held that “[t]he sole concern of the Fifth

Amendment, on which Miranda was based, is governmental coercion.”

97

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 103 of 267

Id. at 170. The voluntariness of a waiver of the Fifth Amendment
privilege or of any Miranda right depends on “the absence of police
overreaching, not on ‘free choice’ in any broader sense of the word.”
Id. at 169-70. See United States v. Kelley, 953 F.2d 562, 565-66
(9th Cir. 1992) (holding that a statement given to police while the
defendant was obviously suffering from heroin withdrawal was
voluntary and that the circumstances of the interrogation did not
reach the requisite level of coercive activity by police necessary to
support a finding to the contrary). See also Henry v. Keenan, 197
F.3d 1021, 1026 (9th Cir. 1999); Clabourne v. Lewis, 64 F.3d 1373,
1379 (9th Cir. 1995); United States v. Miller, 984 F.2d 1028, 1030-31
(9th Cir. 1993) .*?

In the present case, petitioner has not alleged and “does
not assert that his statements to Detective Bell were coerced.”
(Opp’n & Cross-Mot. for Summ. J. at 175.) The undisputed facts do
not demonstrate that any police overreaching or other governmental
coercion occurred in the taking of petitioner’s post-arrest
Statement. Respondent is therefore entitled to summary judgment on
Claim I, and petitioner’s cross-motion should be denied.

//I Tf
///f/

 

32

In People v. DeBaca,736 P.2d 25 (Colo. 1987) (en banc), the
Colorado Supreme Court distinguished People v. Fordyce on the facts
but also noted that Fordyce was decided before Colorado v. Connelly
and that the court had not addressed “the question whether the police
conduct was of the coercive nature required by Colorado v. Connelly
aS a necessary predicate to a finding of involuntariness under the
due process clause of the fourteenth amendment.” 736 P.2d at 27-28 &
n.3.

98

 
 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 104 of 267

J. Prosecutorial Misconduct/Comment on Defense Tactics

In this claim petitioner contends that the prosecutor
committed misconduct throughout his guilt-phase closing argument.
(Am. Pet. at 80-82.) Specifically, petitioner takes issue with the
following portion of that argument:

One of the things that has occurred in this case,

it’s been really interesting from my standpoint.

I think it’s probably been interesting maybe from

your standpoint. Fascinating actually.

It’s been like a law school trial tactics class

because one of the things you learn in law

school, that you’re taught in law school is that

if you don’t have the law on your side, argue the

facts. If you don’t have the facts on your side,

argue the law. If you don’t have either one of

those things on your side, try to create some

sort of a confusion with regard to the case

because any confusion at all is to the benefit of

the defense because confusion - -

(Am. Pet. at 80.) Petitioner asserts that this argument to the jury
that defense counsel were trained to create confusion with regard to
the case, and the trial court’s failure to cure the prejudice
stemming therefrom, violated his Fifth, Sixth, Eighth and Fourteenth
Amendment rights. (Id. at 80-82.)

Respondent contends that this claim is ripe for resolution
on summary judgment. Respondent argues that the challenged comment
made during the prosecutor’s guilt phase closing argument immediately
followed, and was in response to, the defense argument in which the
prosecutor was accused by defense counsel of “sandbagging,” rewarding
witnesses for favorable testimony, and making an effort to create a
misunderstanding as to the evidence regarding the effects of cocaine.

(Alt. Mot. for Summ. J. at 125-26.) Respondent points out that the

99

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 105 of 267

trial court overruled defense counsel’s objection to the prosecutor’s
comment, finding that neither side had gone too far. (Id. at 126.)
Respondent also notes that this argument was rejected by the
California Supreme Court on direct appeal because the prosecutor’s
single comment was properly understood as cautioning the jury to rely
on the evidence introduced at trial. (Id. at 126-27.) Respondent
argues that both rulings were correct since the challenged comment
was merely a response to defense counsel's argument impugning the
prosecutor's integrity, a cautionary instruction was given by the
trial court directing the jury to focus on the evidence and not on
any personal disagreement between counsel, and the comment did not
have a substantial and injurious effect or influence in determining
the verdict to the extent of denying petitioner a fair trial. (Id. at
126-27.)

Petitioner also moves for summary judgment in his favor on
this claim arguing that: (1) the prosecutor’s comment clearly and
improperly impugned defense counsel's integrity; (2) the trial
court's statement to the jury in overruling the defense objection
affirmed the prosecutor’s claim that defense attorneys were trained
to create confusion; and (3) the error was harmful both as to the
guilt and penalty phase verdicts as evidenced by the length and
closeness of the jury’s deliberations. (Opp‘'n & Cross Mot. for Summ.
J. at 182-84.)

The legal standards generally applicable to claims of
prosecutorial misconduct have been addressed in Section B, supra. In
short, in considering claims of prosecutorial misconduct involving

100

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 106 of 267

allegations of improper argument, the court is to examine the likely
effect of the statements in the context in which they were made and
determine whether the comments so infected the trial with unfairness
as to make the resulting conviction a denial of due process. Turner,
281 F.3d at 868; Sandoval, 241 F.3d at 778; see also Darden, 477 U.S.
at 181; Donnelly, 416 U.S. at 643. “[I]t ‘is not enough that the
prosecutors’ remarks were undesirable or even universally
condemned.’"” Darden, 477 U.S. at 181 (citation omitted). The issue
is whether the “remarks, in the context of the entire trial, were
sufficiently prejudicial to violate [petitioner’s] due process
rights.” Donnelly, 416 U.S. at 639.

It is generally unprofessional and improper for a
prosecutor to malign or impugn the integrity of defense counsel in
closing argument. See United States v. Rodrigues, 159 F.3d 439, 449-
51 (9th Cir. 1998), amended by 170 F.3d 881 (9th Cir. 1999); Williams
v. Borg, 139 F.3d 737, 745 (9th Cir. 1998); United States v.
Frederick, 78 F.3d 1370, 1379-80 (9th Cir. 1996). However, a
prosecutor's comments must be examined in the context of the entire
trial and not in isolation. United States v. Robinson, 485 U.S. 25,
33 (1988); Greer, 483 U.S. at 765-66; United States v. Young, 470
U.S. 1, 11-12 (1985).

In order to make an appropriate assessment, the

reviewing court must not only weigh the impact of

the prosecutor's remarks, but must also take into

account defense counsel's opening salvo. Thus

the import of the evaluation has been that if the

prosecutor's remarks were “invited,” and did no

more than respond substantially in order to

“right the scale,” such comments would not

warrant reversing a conviction.

101

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 107 of 267

Young, 470 U.S. at 12-13. This "idea of ‘invited response' is used

not to excuse improper comments, but to determine their effect on the

trial as a whole." Darden, 477 U.S. at 182 (citing Young, 470 U.S.
at 13). While a prosecutor may fairly rebut defense counsel's

contentions, United States v. Bagley, 772 F.2d 482, 494 (9th Cir.
1985), the prosecution is not entitled to use improper tactics in
response to tactics of defense counsel, Young, 470 U.S. at 7-9.

Here, the prosecutor’s comment does not justify the
granting of habeas relief. As noted above, the law requires that in
assessing whether error of constitutional dimension occurred the
prosecutor’s comments must be viewed in context. The prosecution’s
guilt phase closing argument in this case contained no mention of
defense counsel or their conduct. (RT at 6454-6520.) In the defense
guilt phase closing argument petitioner’s counsel chided the
prosecutor for “sandbagging” by not talking about “the real facts of
this case” and not mentioning the testimony of defense expert Dr.
Fred Rosenthal.*? (RT at 6533.) Defense counsel also suggested that
the prosecutor was willing to reward a witness who gave testimony
Favorable to the prosecution and had elicited misleading testimony
calling into question the testimony of a defense witness. (RT at
6547, 6552.) In his rebuttal guilt phase argument the prosecutor

addressed involuntary manslaughter, voluntary manslaughter, second

 

3 Dr. Rosenthal was called as a psychiatric expert by the

defense. He testified that in his opinion due to petitioner’s
cocaine use and lack of sleep petitioner did not intend to or
premeditate the shooting of the victim but was reacting impulsively
and irrationally rather than with deliberation. (See RT at 5307-11.)

102

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 108 of 267

degree murder and first degree murder with respect to petitioner’s
killing of the victim. (RT at 6674.) It was in this context that
the prosecutor made the challenged comment. (Id.) Defense counsel
objected on the grounds that the argument was in “violation of the
Sixth Amendment” and “went beyond the facts on the record.” (RT at
6675.) The trial court overruled the objection stating, apparently
in response to the second stated basis of the objection, as follows:

I will instruct the jury, however, that any

argument that relates to facts that are not on

the record should be disregarded by the jury. At

times counsel may make an error, forget what's

there and what is not; but they may argue those

facts that are on the record, are those facts

which are commonly known by all the people. With
that explanation, the objection is overruled.

At the next recess, petitioner’s counsel reiterated his
objection to the prosecutor’s rebuttal argument as suggesting defense
counsel was engaging in improper conduct, thereby denying petitioner
his Sixth Amendment right to effective assistance of counsel. (RT at
6679.) Counsel requested that the prosecutor be instructed not to
again attack the character of defense counsel. (Id.) The trial
court denied the request, stating:

Very common in trials. There is fairly wide

latitude given to counsel in their argument.

They do not have to be complete gentlemen. And I

believe that I heard defense counsel impugn the

motivation of the prosecution for testimony - or

argument that they made. And again, this is -

this is the observation and opinion of counsel in

an adversary type position. I don’t think it has
gone too far. Of course there are bounds upon

///T/

103

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 109 of 267

that. But I don’t think that it has gone to the

point where it would deprive Mr. Breaux of his

Sixth Amendment rights.

(RT at 6682.) Defense counsel’s motion for a mistrial on this basis
was also denied. (Id.) The court’s jury instructions included the
pattern instruction that statements made by the attorneys are not
evidence. (RT at 6733.)

The undersigned does not agree with the trial court’s
characterization of the prosecutor’s comment as “very common.” Nor
was the prosecutor’s comment clearly intended to merely caution the
jury to rely on the evidence introduced at trial. The comment,
though brief and isolated, also suggested to the jury that defense
counsel had been trained to confuse the jury because confusion was
always to the benefit of the defense. The argument was therefore
improper. See Rodrigues, 159 F.3d at 449-51 (prosecutor’s comment
that defense counsel had “tried to deceive [the jury] . . . about
what this case is really about” found to be a false accusation and “a
gratuitous attack on the veracity of defense counsel” that distorted
the trial process); Frederick, 78 F.3d at 1379-80 (prosecutor’s
argument “complimenting” defense counsel for confusing a prosecution
witness on cross-examination found to be improper). However, despite
the impropriety in this case, there is no constitutional error
justifying the granting of habeas relief unless the comment was
prejudicial to the point of denying petitioner a fair trial. Darden,
477 U.S. at 181; Turner, 281 F.3d at 868; Rodriques, 159 F.3d at 449-
51; Williams, 139 F.3d at 745. In this case the comment at issue was
brief and isolated and certainly was not the predominant theme of the

104

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 110 of 267

prosecutor’s rebuttal argument. Defense counsel objected to the
argument and, although the objection was overruled, the trial court
advised the jury that any argument relating to facts not established
by the evidence should be disregarded. The jury was later instructed
that the arguments of counsel were not evidence. While these
instructions were not particularly focused on the nature of defense
counsel’s objection, they nonetheless suggested that counsel’s
argument should be viewed as merely that. Moreover, to some extent
the comment did suggest a focus on the evidence even though the
prevailing implication was that defense counsel was seeking to create
confusion. Finally, defense counsel in his closing argument told the
jury that the prosecutor was “sandbagging,” not addressing the “real
facts of this case” and suggested that the prosecutor had elicited
misleading testimony in attacking the defense case. Such comments by
the defense invited some response, thus supporting the conclusion
that the prosecutor’s improper comment did not have the effect of
denying petitioner a fair trial. See Darden, 477 U.S. at 181-82.
Accordingly, as to this claim petitioner’s motion for

summary judgment should be denied and respondent’s motion granted. **

 

34 This case is distinguishable from Bruno v Rushen, 721 F.2d

1193 (9th Cir. 1983), upon which petitioner relies. In that case the
prosecutor argued to the jury that defense counsel had engaged in
witness tampering and had agreed to aid in the fabricating of a
defense for the sake of profit. Id. at 1194 & nn.1-3. In addition,
the prosecutor openly hinted to the jury that the fact that the
defendant had hired counsel was in some way probative of his guilt.
Id. at 1194. The court found that error of constitutional dimension
had occurred and that the error was not harmless in light of the
extensive nature of the improper argument and the fact that the
comments were calculated to wrongly impute guilt to the defendant and
struck at the heart of the defendant’s story. Id. at 1194-95. None

105

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 111 of 267

K. Consciousness of Guilt Jury Instruction

Petitioner alleges that the trial court erred in
instructing the jury it could consider a defendant’s post-arrest
false statements (CALJIC 2.03) and efforts to conceal evidence
(CALUIC 2.06) as tending to prove a consciousness of guilt. (Am.
Pet. at 82-95.) Petitioner notes that the instructions were given
over his objection and asserts that the instructions were irrelevant
in the context of this case where petitioner had conceded his guilt
on counts two through eight and conceded that he had killed the
victim but contested only the allegation that the killing was murder
in the first degree. In light of these concessions, petitioner
claims that the instructions were unconstitutional in that they
encouraged the jury to draw the impermissible inference that such
evidence was inculpatory of petitioner on the special circumstances
allegations and on the first degree murder charge.

Respondent moves for summary judgment on this claim,
arguing that the challenged instructions were properly given since
petitioner’s acts showed consciousness of guilt with respect to all
offenses and special circumstances charged. Respondent also argues
that a defendant’s post-arrest conduct can be relevant to the state
of mind with which an offense is committed. Respondent notes that
the California Supreme Court rejected petitioner’s arguments on

direct appeal on the grounds that: (1) the instructions in question

 

 

of those factors are present here. See Dortch v. O'Leary, 863 F.2d
1337, 1345-46 (7th Cir. 1988) (prosecutor’s argument that defense
counsel had presented “the biggest snow job in the courtroom” did not
deny defendant a fair trial).

106

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 112 of 267

caution that such evidence is not sufficient to establish guilt; (2)
the instructions do not address the defendant's mental state at the
time of the offense and do not compel the drawing of an impermissible
inference in regard thereto; and (3) the issue of petitioner’s guilt
on each of the charges remained before the jury in that petitioner
had not pled guilty to any of the charges. See Breaux, 1 Cal. 4th at
304. In addition, respondent contends that the Ninth Circuit has
rejected petitioner’s argument with respect to CALJIC 2.03 and that
CALJIC 2.06 is indistinguishable. See Turner v. Marshall, 63 F.3d
807, 819-20 (9th Cir. 1995), overruled on other grounds by Tolbert v.
Page, 182 F.3d 677 (9th Cir. 1999).

Petitioner opposes respondent’s motion and moves for
summary judgment in his favor on this claim. In doing so petitioner
argues that the instructions provided the jury with an improper
permissive inference in that they suggested a conclusion could be
drawn from evidence that was not justified by reason and common
sense. See Ulster County Court v. Allen, 442 U.S. 140, 157-63
(1979). In this regard, petitioner argues that evidence of his post-
arrest false statements and his efforts to conceal evidence was not
relevant to the only contested issue at trial, whether he was guilty
of first degree murder or of some other crime based upon his mental
state at the time of the commission of the crime. Petitioner argues
that because the facts proved (acts reflecting consciousness of
guilt) had no rational connection to whether he acted with
deliberation and premeditation, the instructions were given in
violation of his right to due process. Finally, petitioner asserts

107

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 113 of 267

that the error was prejudicial in that the only issue at trial was
his mental state at the time and which was hotly contested, with the
length and closeness of the jury deliberations reflecting that the
question was a close one.

On direct appeal the California Supreme Court rejected
petitioner’s challenge to the consciousness of guilt instructions
because: (1) the instructions did not address the defendant’s mental
state at the time of the offense and did not direct or compel the
drawing of any inference with respect thereto; and (2) petitioner had
not pled guilty to any pending charge and the issue of guilt was
before the jury on all of those charges. Breaux, 1 Cal. 4th at 304.
The undersigned agrees with that conclusion.

As noted above in Section E, supra, a challenge to jury
instructions generally does not state a federal constitutional claim.
Middleton, 768 F.2d at 1085; Gutierrez, 695 F.2d at 1197. In order
to warrant federal habeas relief, a challenged jury instruction
cannot be merely “‘undesirable, erroneous, or even “universally
condemned,”’ but must violate some due process right guaranteed by
the fourteenth amendment.” Prantil, 843 F.2d at 317 (quoting Cupp,
414 U.S. at 146). To prevail, petitioner must demonstrate that an
erroneous instruction “‘so infected the entire trial that the
resulting conviction violates due process.’”" Prantil, 843 F.2d at
317 (quoting Darnell, 823 F.2d at 301). The court must evaluate the
challenged jury instructions “‘in the context of the overall charge
to the jury as a component of the entire trial process.’” Id.
(quoting Bashor, 730 F.2d at 1239).

108

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 114 of 267

In this case, the court’s instructions were as follows:
If you find that before this trial the defendant

made a willfully false or deliberately misleading
statement concerning the charge upon which he is

now being tried, you may consider such statements

as a circumstance tending to prove a

consciousness of guilt but it is not sufficient

by itself to prove guilt. The weight to be given

such a circumstance and its significance, if any,
are matters for your determination.

*k kK

If you find that a defendant attempted to

suppress evidence against himself in any manner,

such as by concealing evidence, such attempts may

be considered by you as a circumstance tending to

show a consciousness of guilt. However, such

evidence is not sufficient in itself to prove

guilt, and its weight and significance, if any,

are matters for your consideration.

(CT at 1342-43.)

The Ninth Circuit has upheld instructions such as those at
issue here so long as they do not state that the conduct or statement
constitutes “evidence of guilt, but merely states that the jury may
consider them as indicating a consciousness of guilt.” Turner, 63
F.3d at 819-20. The challenged instructions pass muster under that
standard. Moreover, despite petitioner’s trial strategy not to
contest his guilt with respect to the non-homicide charges and the
killing (RT at 6521-29), the question of petitioner’s guilt as to
those charges was still submitted to the jury for decision. Indeed,
the trial judge confirmed with defense counsel after jury selection
that the defense had “not entered into any stipulations, you have not
pleaded guilty, you have not made any admissions in front of the

jury.” (RT at 4216.) Evidence was admitted at trial from which the

109

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 115 of 267

jury could find that petitioner had made false post-arrest statements
to police and had attempted to conceal incriminating evidence. (See
RT at 4403-28, 4439-40, 4544-47, 4621-24, 4648, 4701-04, 4846-51.)
Thus, the instructions were appropriate in light of the pending
charges and the evidence admitted at trial.

Most importantly, petitioner has failed to meet his burden
of showing that the giving of these instructions “had [a] substantial
and injurious effect or influence in determining the jury’s verdict.”
Brecht v. Abrahamson, 507 U.S. 619, 637 (1993). Even assuming that
consciousness of guilt had no relevance in this case given
petitioner’s concessions at trial, the challenged jury instructions
did not require the jury to draw any conclusions. The instructions
merely informed the jury that misleading acts or statements “may” be
considered as a circumstance tending to show or prove a consciousness
of guilt. See Turner, 63 F.3d at 820. Finally, nowhere in closing
arguments was it suggested to the jury that finding consciousness of
guilt was relevant to determining the degree of petitioner’s guilt
with respect to the killing. While it may have been preferable for
the trial court to have specifically admonished the jury in this
regard, petitioner has failed to establish any reason to believe that
the jury applied the challenged instructions in a way that violated
his due process rights.

Accordingly, with respect to this claim petitioner’s motion
for summary judgment should be denied and respondent’s motion
granted.

L////

110

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 116 of 267

L. Petitioner’s Competence to Stand Trial

In Claim L, petitioner alleges that he was unable to assist
counsel in a rational manner and that his conviction and death
sentence therefore violated the Fifth, Sixth, Eighth, and Fourteenth
Amendments. (Am. Pet. at 84-92.) The claim is a substantive, as
opposed to procedural, incompetence claim.

Respondent contends that nothing proffered by petitioner
shows that he was unable to understand the nature and purpose of the
proceedings or that he was unable to assist his attorneys.*
Respondent asserts that petitioner offers no documents in support of
this claim and relies on the uncontested facts shown at trial that he
used drugs around the time of the charged crimes, that he was ina
traffic collision on June 16, 1984, in which he hit his head, that he
was shot in the course of his arrest, and that he was given pain
medication during treatment for his gunshot wounds, along with the
new allegation that he was abused as a child. Respondent argues that
the uncontested facts from trial coupled with petitioner's

allegations of child abuse are insufficient as a matter of law to

 

*° In Claim L petitioner alleges that he “was incompetent to

stand trial, was not capable of understanding the nature and purpose
of the proceedings against him, did not comprehend his own status and
condition in reference to such proceedings, and also was not able to
assist his attorneys in conducting his defense in a rational manner.”
(Am. Pet. at 85.) In opposition to respondent’s motion regarding
Claim L, petitioner observes in a footnote that “{[m]uch of
respondent's briefing on this claim addresses the ‘unable to
understand the nature and object of the proceedings’ prong of the
competency test” and declares that “[p]etitioner’s claim does not go
to this prong of the test.” (Opp’n & Cross-Mot. for Summ. J. at 192
n.134.) It appears that petitioner has abandoned his allegation that
he was not capable of understanding the nature and purpose of the
proceedings against him.

111

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 117 of 267

demonstrate a federal constitutional error for which petitioner is
entitled to relief. (Alt. Mot. for Summ. J. at 135-37.)

Respondent states that the standard for incompetence to
stand trial is whether the defendant's mental condition is such that
he lacks the capacity to understand the nature and object of the
proceedings against him, to consult with counsel, and to assist in
preparing his defense. Respondent acknowledges that a state deprives
a defendant of due process if it fails to provide an adequate
mechanism for determining whether a defendant is incompetent to stand
trial and that a trial court is required to investigate the
defendant’s competence if a sufficient basis for doubt is shown.
Respondent contends, however, that petitioner neither challenges the
adequacy of California’s mechanism for determining incompetence nor
claims that the trial court was required to declare a doubt regarding
petitioner’s competence based on the information before that court.

Petitioner agrees that there are a number of undisputed
facts relevant to this claim, including the facts that petitioner had
a history of polysubstance abuse that began when he was nine years
old; suffered a head injury in a traffic accident not long before his

arrest that went untreated; and was wounded during his arrest and

 

36

Respondent argues at length that the United States Supreme
Court has not held that incompetence to stand trial “in itself”
warrants federal habeas relief. Respondent concedes that Ninth
Circuit opinions have so stated but characterizes those statements as
being wrong as a matter of law, arguing that relief may not be

granted on this claim under Teaque v. Lane. (Alt. Mot. for Summ. J.
at 137-42.) See pp. 13-15, supra. Respondent also asserted an

abuse-of-the-writ argument in support of his motion for summary
judgment on Claim L, but the argument was withdrawn in respondent's
reply. (Alt. Mot. for Summ. J. at 136; Resp’t’s Reply at 7.)

112

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 118 of 267

given morphine for the pain. Petitioner contends that all of these
facts affected his competency to stand trial but that the primary
focus of Claim L is that he was unable to assist in his defense
because of the abuse he suffered as a child and because of other
factors arising from his family history. Petitioner asserts that it
is also undisputed that he did not discuss these matters with his
trial counsel, despite repeated questioning, and that his inability
to do so can be addressed in the context of an evidentiary hearing on
petitioner’s claims of ineffective assistance of counsel, if a
hearing is held. Petitioner cites the arguments he has offered in
support of Claims C and W*’ concerning counsel’s awareness of his
inability to assist in his defense and counsel’s failure: to develop
evidence to prove abuse indirectly; to institute competency
proceedings; and to secure the services of an expert in child sexual
abuse.*® Petitioner concludes that he is entitled to summary judgment
on Claim L or to an evidentiary hearing to resolve any remaining
factual issues concerning his competence to stand trial. (Opp’n &
Cross-Mot. for Summ. J. at 191-93 & n.135; Ex. UU.)

“The conviction of an accused person while legally

incompetent to stand trial is a clear violation of the constitutional

 

7 Petitioner indicates that his amended petition mistakenly

incorporates the allegations of Claims C and X into Claim L.
Petitioner intended to and did incorporate the allegations of Claims
C and W into Claim L. (Opp’n & Cross-Mot. for Summ. J. at 191
n.133.)

*8 Petitioner also argues that respondent’s procedural bar
arguments, including those relating to Keeney v. Tamayo-Reyes, Teague

v. Lane, and the AEDPA standard of review, should all be summarily

rejected.

113

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 119 of 267

guarantee of due process.” Hernandez v. Ylst, 930 F.2d 714, 716 (9th

 

Cir. 1991) (citing Pate v. Robinson, 383 U.S. 375, 378 (1966)). See
also Cooper v. Oklahoma, 517 U.S. 348, 354 (1996); Davis v. Woodford,
333 F.3d 982, 999 (98th Cir. 2003); Cacoperdo v. Demosthenes, 37 F.3d
504, 510 (9th Cir. 1994). A defendant is incompetent to stand trial
if he lacks sufficient present ability to consult with his lawyer
with a reasonable degree of rational understanding or lacks a
rational as well as factual understanding of the proceedings against

him. Dusky v. United States, 362 U.S. 402, 402 (1960). See also

 

Godinez v. Moran, 509 U.S. 389, 396 (1993); Williams v. Woodford, 306

 

F.3d 665, 705 (9th Cir. 2002); Hernandez, 930 F.2d at 716 n.2.
The burden of establishing mental incompetence rests with
the petitioner. Boag v. Raines, 769 F.2d 1341, 1343 (9th Cir. 1985);

Lee v. United States, 468 F.2d 906, 906-07 (9th Cir. 1972); see also

 

Williams, 306 F.3d at 705. Ina habeas corpus proceeding, a
petitioner is entitled to an evidentiary hearing on the issue of
competency to stand trial if he or she presents sufficient facts to
create a real and substantial doubt as to competency, even if those

facts were not presented to the trial court. Deere v. Woodford, 339

 

F.3d 1084, 1086 (9th Cir. 2003); Steinsvik v. Vinzant, 640 F.2d 949,
954 (9th Cir. 1981). “A... . ‘substantial doubt’ exists ‘when there
is substantial evidence of incompetence’” Deere, 339 F.3d at 1086
(quoting Cuffle v. Goldsmith, 906 F.2d 385, 392 (9th Cir. 1990)).

It is undisputed that petitioner had a history of substance
abuse that began at a young age; that he suffered a head injury ina
traffic accident not long before his arrest and the injury went

114

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 120 of 267

untreated; that injuries suffered by petitioner during his arrest
required hospitalization; and that drugs were administered to him in
the hospital and throughout his pretrial incarceration. These
factors may have affected petitioner’s ability to assist in his
defense and when joined with his allegations of child abuse and other
adverse factors in his family history create a real and substantial
doubt as to whether petitioner was able to assist counsel in his
defense.

The court finds that the allegations set forth in Claim L
are sufficient to demonstrate a federal constitutional error for
which petitioner may be entitled to relief if the allegations are
proved. The undersigned, of course, is not suggesting that the
allegations and the current record requires the ultimate conclusion
that petitioner was not competent to assist in his defense. Rather,
taken as a whole, the facts in the record raise sufficient doubt to
preclude the granting of summary judgment on the claim. Therefore,
Claim L should not be dismissed for failure to allege a
constitutional error.’

Petitioner, as the moving party on his cross-motion for
summary judgment, has not demonstrated that he is entitled to
judgment in his favor at the present time. An evidentiary hearing is
likely necessary to resolve the truth of petitioner’s allegations

concerning his inability to assist counsel in his defense. See

 

°° Respondent’s arguments concerning Keeney v. Tamayo-Reyes,
Teague v. Lane, and the AEDPA standard of review also lack merit.

115

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 121 of 267

Deere, 339 F.3d at 1086; Williams, 306 F.3d at 705 (district court
conducting evidentiary hearing on petitioner’s mental state in
conjunction with his ineffective-assistance-of-counsel claims).
Accordingly, neither party is entitled to summary judgment in their
favor as to this claim.
M. Death Qualification of Jury

In this claim petitioner asserts that prospective jurors
were questioned during voir dire regarding their views on the death
penalty and, as a result, several prospective jurors who could have
otherwise been fair and impartial were excluded because of their
views regarding the death penalty. (Am. Pet. at 92-93.) Petitioner
alleges that this “death-qualifying” voir dire denied him his rights
to a representative jury, an impartial jury, a reliable determination
of his guilt or innocence and a fair, reliable, individualized, non-
arbitrary and adequately-guided determination with respect to the
proper penalty as required under the Fifth, Sixth, Eighth and
Fourteenth Amendments.

Respondent moves for summary judgment in his favor on this
Claim, arguing that the California Supreme Court properly rejected
petitioner’s argument on direct appeal because the United States
Supreme Court has held that the “death qualification process” does
not violate a defendant's federal constitutional rights. See
Lockhart v. McCree, 476 U.S. 162 (1986). In response, petitioner
agrees that United States Supreme Court precedent is adverse to his
position with respect to both the fair-cross-section and impartial
jury aspects of his claim. See Lockhart, 476 U.S. at 173-84;

116

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 122 of 267

Buchanan v. Kentucky, 483 U.S. 402, 414-20 (1987); see also Furman v.
Wood, 190 F.3d 1002, 1004-05 (9th Cir. 1999). Thus, petitioner
concedes that the relief he seeks on this claim can come only from
the United States Supreme Court.

In light of petitioner’s concession, respondent’s motion
for summary judgment should be granted on this claim.

N. Defense Counsel’s Concession of Non-Homicide Counts Without

Petitioner’s Waiver of His Right to a Jury Trial

In this claim petitioner alleges that in closing argument
trial counsel improperly conceded petitioner’s guilt as to all
charges except the murder count. In this regard, petitioner alleges
that his trial counsel urged the jury to return guilty verdicts as to
those charges, telling the jury that the only question for them to
resolve was whether he was guilty of first degree murder, second
degree murder or manslaughter. Petitioner alleges that he was
unaware his counsel would be conceding his guilt, did not understand
his constitutional rights and did not waive, and would not have
waived, his constitutional right to trial with respect to those other
charges. Thus, petitioner alleges that his counsel’s concession of
guilt was carried out in violation of petitioner’s constitutional
rights. (Am. Pet. at 93-95.) Both sides have moved for summary
judgment in their favor with respect to this claim.

Respondent argues defense counsel’s tactical concession
that petitioner was the perpetrator of the charged offenses was
reasonable in light of the overwhelming evidence to that effect and
did not require that petitioner waive his trial rights. Respondent

117

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 123 of 267

notes that a similar contention by petitioner was rejected by the
California Supreme Court on direct appeal. Breaux, 1 Cal. 4th at
306-07,

Petitioner opposes respondent’s motion and seeks summary
judgment in his favor on this claim, arguing that his trial counsel
entered a waiver-less, de facto guilty plea on his behalf.

Petitioner clarifies that this is not an ineffective assistance claim
challenging the tactical decisions of counsel. Rather, it is his
claim that: (1) regardless of the evidence and the soundness of the
tactical decision, there was an absence of personal, constitutional
waivers attendant to the de facto guilty plea as required; and (2)
counsel was ineffective in conceding guilt in the absence of such
waivers. He contends that the writ must issue as to the seven non-
homicide counts to which counsel improperly conceded guilt and that
he also suffered prejudice with respect to his first-degree murder
conviction since it was based upon the robbery conviction that was
infected by the error.

In reply respondent states that petitioner suggests a rule
that defense counsel may not make a tactical decision to concede
guilt in closing argument as to some charges in urging the jury to
return a defense verdict with respect to the remaining charges absent
a personal plea waiver from the defendant. Respondent asserts that
no such rule exists. Petitioner counters that courts have recognized
that guilty plea principles apply to actions by trial counsel that
are the functional equivalent to a guilty plea. See Brookhart v.
/////

118

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 124 of 267

Janis, 384 U.S. 1 (1966); Wiley v. Sowders, 647 F.2d 642 (6th Cir.
1981).

Beginning with the voir dire of perspective jurors
petitioner's trial counsel was straightforward and direct in
embracing a guilt phase strategy that would concede guilt on all
charges except those posing the threat of a potential death sentence.
Thus, counsel stated to the second prospective juror he questioned:

And you’d learn, when I make my opening
statement, Mr. Breaux is charged with eight
separate charges.

Mr. Breaux maintains he is not guilty of the
charge of first degree murder, but as to the
other seven charges, the defendant is going to
concede those in this trial.

There’s not going to be any contest as to
the other seven charges.

Would you tell me what your reaction to
knowing those facts is?

x we *

As for seven of those eight charges, he’s

admitting those.
ek kek *

The defense position would be that it’s

relevant for you to hear about the seven other

crimes so you’re going to hear about that. But
we're not going to contest the issue of his
guilt. In other words, we’re going to concede

he's guilty.

We feel there’s value in the jury hearing
that in that that information will be of some
assistance in deciding the issues we are
contesting.

And so, knowing that, that’s our attitude
and that, therefore, the prosecution will have to
present evidence on those other seven counts,
what’s your response to knowing that that’s our
position, that we want you to hear it and,
therefore, you’ll be required to hear that
evidence even though we’re not contesting it?

(RT at 2811-13.) Throughout the course of voir dire defense counsel
made similar statements regarding the focus of the defense solely on

119

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 125 of 267

the first degree murder charge. (See, e.g., RT at 2878, 2991-92,
3028, 3053, 3160, 3222, 3484, 3510, 3600, 3633, 3651, 3710.)

Counsel unequivocally announced the defense trial strategy
again at the outset of his opening statement by telling the jury:

The D.A. has described here this morning
some of the evidence that you will hear in this
case.

Let me briefly outline for you the remainder
of the evidence that will be presented so you
might have a total picture in your mind at the
outset.

The evidence in this case will show that Mr.
David Breaux is not guilty of first degree
murder, and the evidence will show the special
circumstances are not true.

Mr. Breaux is guilty of all the other
charges, the other seven charges. For that
reason, many of the witnesses will not be asked
any questions or very few questions by myself.

But we feel it is important that you hear
about the facts. Because those facts will be
relevant to your determination that Mr. Breaux is
not guilty of first degree murder.

(RT at 4287.)

In his opening statement in the guilt phase counsel went on
to tell the jury that the evidence would show that petitioner robbed
a store where Greg Hardy worked as a clerk, kidnapped Mr. Hardy to
delay the report of the robbery to police, robbed Connie Decker,
kidnapped her and, in a cocaine-induced frenzy and rage, shot and
killed her. (RT at 4293-95.) Petitioner’s counsel also stated that
the evidence would show that when confronted by police two days
later, Mr. Breaux refused to surrender and was in possession of a
firearm. (RT at 4297.) Counsel concluded his opening statement by
telling the jury that:

/////

120

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 126 of 267

When all the evidence is in, it will be
clear that Mr. Breaux is not guilty of first
degree murder and it will also be clear that Mr.
Breaux is guilty of second degree murder or
manslaughter and all of the other charges.

(RT at 4298.)

Throughout the guilt phase trial petitioner’s counsel
remained consistent with this announced strategy. Thus, at the
conclusion of the guilt phase, counsel returned to the strategy
announced in voir dire and in opening statements:

As I told you at the outset, it’s our
position that the District Attorney has not
proven first degree murder in this case.

And it’s our position that the District
Attorney has not proven beyond a reasonable doubt
and to a moral certainty that the special
circumstances are true.

As I told most of you in jury selection, as
to all the other charges and allegations against
Mr. Breaux, we concede those. And as jurors,
when you go back into the jury room, as far as
the defense is concerned, you can take the other
jury forms and check guilty and not give them any
further thought.

What this trial has been about from the very
day you entered the courtroom is whether or not
Mr. Breaux, at the time he killed this woman,
carefully thought about the killing and whether
or not it occurred during the course of a robbery
as defined within the law.

(RT at 6521.)
Throughout his closing guilt phase argument counsel
conceded petitioner’s guilt with respect to all charges save for the

first degree murder charge.*® Counsel concluded his argument by

 

*° In this regard, counsel argued that: petitioner was guilty

of all of the charges except the murder charge (RT at 6522); the jury
instructions were long and complicated but need not concern the Jury
because Mr. Breaux was guilty of every count and every charge except

121

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 127 of 267

focusing, as the defense had throughout, solely on the first degree
murder charge which posed the risk of imposition of the death
penalty:

And I’m confident that if you will apply the

law in this case that you will find Mr. Breaux is

not guilty of first-degree, felony murder and

that he is not guilty of deliberate and

premeditated murder and that the special

circumstances are not true.

(RT at 6658.)

As noted above, petitioner takes the position that in this
claim he does not challenge the tactical decisions of counsel as
constituting ineffective assistance. The concession is well taken.
It has frequently been recognized that conceding guilt as to some
counts of a multi-count case to bolster the case for innocence on the
remaining counts is, although somewhat unusual, a valid trial
strategy which does not necessarily constitute deficient performance
by counsel. See Anderson v. Calderon, 232 F.3d 1053, 1087-90 (9th

Cir. 2000), cert. denied, 534 U.S. 1036 (2001), abrogation on other

grounds recognized by Osband v. Woodford, 290 F.3d 1036, 1043 (9th

 

Cir. 2002); United States v. Swanson, 943 F.2d 1070, 1075-76 (9th
Cir. 1991) (“We recognize that in some cases a trial attorney may
find it advantageous to his client’s interests to concede certain
elements of an offense or his guilt of one of several charges.”); see

also United States v. Holman, 314 F.3d 837, 840 (7th Cir. 2002),

 

the murder charge (RT at 6523); after the jurors dealt with the other
charges by checking “guilty,” the first question they should address

is whether Mr. Breaux was guilty of first degree felony-murder (RT at
6534).

122

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 128 of 267

cert. denied, U.S. , 123 S. Ct. 2238 (2003) (and cases cited

therein); Haynes v. Cain, 298 F.3d 375, 382 (Sth Cir.) (en banc),
cert. denied, 537 U.S. 1072 (2002) (court finding that in conceding
guilt as to second degree murder defense counsel adopted a strategy
that proved effective in avoiding the death penalty for their
client). “Conceding an indefensible charge is thought to build
eredibility with a jury by acknowledging the overwhelming evidence of
guilt for that particular charge, creating goodwill and trust that
can be applied towards arguments attacking the remaining charges.”
Holman, 314 F.3d at 840. See also Anderson, 232 F.3d at 1088-89
(counsel’s closing argument crafted to attempt to avoid the
possibility of the death penalty found to be a strategic choice that
survives review under the Strickland standard). This was an
appropriate case for utilization of such a strategy since the
evidence on counts two through eight was overwhelming.

Petitioner, however, claims that, regardless of the
evidence and the soundness of the tactical decision, this was a de
facto guilty plea without the required personal, constitutional
waivers and that counsel's concession of guilt in the absence of such
waivers constituted ineffective assistance of counsel. This is a
more difficult question.

The ultimate decision as to whether to plead guilty or not
guilty is left to the defendant. See Brookhart v. Janis, 384 U.S. 1,
JIL /

///T1
///TT/

123

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 129 of 267

7 (1966); Jones v. Barnes, 463 U.S. 745, 751 (1983).** An attorney is
required “to consult with the defendant on important decisions and to
keep the defendant informed of important developments in the course
of the prosecution.” Strickland, 466 U.S. at 688.

Although the strategy in question has been approved of by
many courts in circumstances similar to those confronted by counsel
in this case, it has also been held that “an attorney’s concession of
a client’s guilt without any indication of the client’s consent to
the strategy is deficient conduct for Strickland purposes.” Holman,
314 F.3d at 843. See also Francis v. Spraggins, 720 F.2d 1190, 1194
(llth Cir. 1983) (“Where a capital defendant, by his... plea,
seeks a verdict of not guilty, counsel, though faced with strong
evidence against his client, may not concede the issue of guilt
merely to avoid a somewhat hypocritical presentation during the
sentencing phase and thereby maintain his credibility before the
jury.”); Elmer Wiley v. Sowders, 669 F.2d 386, 389 (6th Cir. 1982);
Barl Wiley v. Sowders, 647 F.2d 642, 650 (6th Cir. 1981)
(“[P]etitioner was deprived of effective assistance of counsel when
his own lawyer admitted his client’s guilt, without first obtaining
his client’s consent to this strategy.”); Haynes, 298 F.3d at 382
(“[I]t is plausible that the failure of Haynes’ attorneys to obtain
his consent [in conceding guilt as to second degree murder] might

constitute deficient performance under Strickland.”).

 

** Of course, pleading guilty before trial implicates the

criminal defendant’s right against self-incrimination, the right to a
trial by jury, and the right to be able to confront one’s accusers.
Boykin v. Alabama, 395 U.S. 238, 243 (1969).

124

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 130 of 267

The preferred method of pursuing this defense strategy is
for counsel to obtain the defendant’s consent on the record in open
court, thereby forestalling any issues with respect to consent that
may be raised later. See Holman, 314 F.3d at 843; Elmer Wiley, 669
at 389; Earl Wiley, 647 F.2d at 650. An affidavit from the defendant
reflecting a knowing and voluntary consent to the strategy would also
likely suffice. See Holman, 314 F.3d at 843. Here, there is no
indication in the record whether petitioner’s counsel had
petitioner’s consent to pursue this strategy based upon concession of
guilt.*? Petitioner’s trial counsel have not addressed this subject
in their declarations filed in connection with these habeas
proceedings. Whether counsel’s performance was constitutionally
deficient turns on whether petitioner did in fact consent to this
strategy. Under these circumstances additional evidence is required
before it can be determined whether counsels’ performance was
constitutionally deficient. Holman, 314 F.3d at 843 n.4; Elmer Wiley,
669 at 389 (“[W]e remand this case to the District Court for the
purpose of conducting an evidentiary hearing to determine whether the
petitioner freely and knowingly consented to the trial strategy.”)

Finally, respondent argues that petitioner is not entitled
to relief with respect to his murder conviction on this claim even if
habeas relief was granted on the other charges and the special

circumstances. (Opp’n to Cross-Mot. for Summ. J. at 29-30.)

 

** The most that can be said from the present record is that

petitioner was present during voir dire, opening statements and
closing argument and did not voice his own objection to his counsel's
statements of concession.

125

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 131 of 267

Petitioner argues in conclusory fashion that prejudice exists because
the constitutional error undermined the robbery verdict which served
as the only known basis for the first degree murder conviction.
(Opp’n & Cross-Mot. for Summ. J. at 200.)

Assuming the error alleged in this claim is established, in
order to be entitled to relief petitioner will be required to
establish that he suffered prejudice as a result. Strickland, 466

U.S. at 694; see also Bell v. Cone, 535 U.S. 685, 696-98 (2002)

 

(prejudice presumed only in those extreme cases where counsel fails
to oppose the prosecution entirely, not where tactical decisions are
made to concede elements of a case to focus on others); Haynes, 298
F.3d at 382. Establishing prejudice may be a difficult task with
respect to this claim. However, neither party has addressed the
issue sufficiently and the court therefore concludes that neither
party has met the burden imposed under Rule 56(c) of showing an
entitlement to judgment as a matter of law on this claim. See
Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986) (moving
party who bears the burden of proof must make a showing in support of
summary judgment “sufficient for the court to hold that no reasonable
trier of fact could find other than for the moving party”) .*

For these reasons the court will recommend that the cross-

motions for summary judgment on claim N be denied.

L//f/

 

*8 As noted above, resolution of ineffective assistance of

counsel claims often necessitates a hearing on the issue of
prejudice. Babbitt, 151 F.3d at 1177; Siripongs I, 35 F.3d at 1314;
see also Hoffman, 236 F.3d at 536.

126

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 132 of 267

oO. Petitioner’s Absence From Certain Court Proceedings

In Claim 0, petitioner claims his absence from various
court proceedings violated his rights under the Fifth, Eighth, and
Fourteenth Amendments. Petitioner cites pages 1273, 1277, 1305,
1306, 1307, 1308, 1309, 1424-25, 1451-56, 1547, 1549, 1550, and 1552
of the Clerk's Transcript in support of this claim. Petitioner
asserts that absence by waiver in a capital case is a violation of
multiple constitutional rights. Citing Claim L, petitioner also
claims his oral waiver of personal presence at the specified
proceedings was not knowing, voluntary, and intelligent. (Am. Pet.
at 95.)

Respondent contends that petitioner’s absence from
inconsequential trial appearances upon his waiver of presence did not
violate his rights. Respondent argues that each proceeding at which
petitioner waived his presence occurred outside the presence of the
jury and concerned solely procedural matters not requiring
petitioner’s presence and at which counsel fully represented his
interests. Respondent cites the same pages of the Clerk’s Transcript
relied upon by petitioner. Respondent argues that federal law does
not support petitioner’s assertion that a defendant in a capital case
cannot waive his presence and that therefore petitioner’s waiver
precludes a finding that his rights were violated. With regard to
the allegation that petitioner was incompetent to waive his presence
at the specified proceedings, respondent relies on the arguments
offered in favor of summary judgment on Claim L. Respondent contends
that any relief on Claim O would depend on a new rule that may not be

127

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 133 of 267

applied to petitioner under Teague v. Lane. Respondent also contends
that petitioner is not entitled to an evidentiary hearing on this
claim unless the court intends to consider facts outside the record.
(Alt. Mot. for Summ. J. at 146-49.)

In opposition, petitioner concedes that the Ninth Circuit
has rejected the contention that waivers of personal appearance are
not permitted in capital cases. (Opp’'n & Cross-Mot. for Summ. J. at
200 (citing Campbell v. Wood, 18 F.3d 662, 671-72 (9th Cir. 1994) (en
banc)). Petitioner contends, however, that he was mentally
incompetent to waive his right to be present. Petitioner relies in
this regard on the arguments made in opposition to respondent's
motion and in support of his own cross-motion on Claim L.

Every person charged with a felony has a fundamental right

to be present at every stage of the trial. Illinois v. Allen, 397

 

U.S. 337, 338 (1970); Campbell, 18 F.3d at 671. This right is
guaranteed by the Confrontation Clause of the Sixth Amendment and the
Due Process Clauses of the Fifth and Fourteenth Amendments. United
States v. Gagnon, 470 U.S. 522, 526 (1985). The right to be present,
like many other constitutional rights, may be waived. See Gagnon,
470 U.S. at 529; Taylor v. United States, 414 U.S. 17, 19-20 (1973);
Hayes v. Woodford, 301 F.3d 1054, 1078 (9th Cir. 2002); Brewer v.
Raines, 670 F.2d 117, 119 (9th Cir. 1982).** The Ninth Circuit has
determined that there is “no principled basis for limiting to

noncapital offenses a defendant’s ability knowingly, voluntarily, and

 

“” A defendant may also lose the right to be present at trial

by misconduct. Allen, 397 U.S. at 342-43; Campbell, 18 F.3d at 671.

128

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 134 of 267

intelligently to waive the right of presence.” Campbell, 18 F.3d at

672. See also Hayes, 301 F.3d at 1078-80 (affirming district court’s

 

conclusion following evidentiary hearing that capital case
defendant’s waiver of personal appearance at the first day of the
penalty phase trial was voluntary); Amaya-Ruiz v. Stewart, 121 F.3d
486, 496 (9th Cir. 1997) (finding that the defendant in a capital
case voluntarily waived his right to be present at the hearing on
aggravating and mitigating factors).

“A waiver is an ‘intentional relinquishment or abandonment

of a known right or privilege.’” Campbell, 18 F.3d at 672 (quoting
Johnson v. Zerbst, 304 U.S. 458, 464 (1938)). The determination of

 

whether a waiver was knowing and voluntary is a mixed question of law

and fact. Id. (citing Terrovona v. Kincheloe, 852 F.2d 424, 427 (9th

 

 

Cir. 1988)). “The ultimate issue of voluntariness is a legal
question requiring independent federal determination.” Id. (citing
Arizona v. Fulminante, 499 U.S. 279, 286 (1991)). In resolving the

issue of voluntariness, a court must “indulge every reasonable
presumption against the loss of the constitutional right to be
present at a critical stage of the trial.” Id. (citing Allen, 397

U.S. at 343). See also Amaya-Ruiz, 121 F.3d at 496.

 

Respondent’s motion for summary judgment on Claim O is
perfunctory. Respondent contends that all appearances waived by
petitioner were inconsequential, occurred outside the presence of the
jury, and concerned only procedural matters not requiring
petitioner’s presence. Respondent offers no discussion or analysis
of the specific proceedings at issue, merely citing the same pages of

129

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 135 of 267

the state court record listed in the amended petition. With regard
to respondent’s reliance on the arguments advanced as to Claim L, the
court has determined that an evidentiary hearing is necessary to
resolve the truth of petitioner’s allegations concerning his
inability to assist counsel in his defense. Due to the deficiencies
of respondent’s motion, the need for an evidentiary hearing with
regard to some of the allegations in Claim L, and the presumption
against the loss of the constitutional right to be present at any
critical stage of the trial, the court finds that respondent has not
demonstrated that he is entitled to judgment as a matter of law on
Claim O.

Petitioner’s cross-motion for summary judgment likewise
fails to demonstrate that there exists no genuine issue as to any
Material fact and that petitioner is entitled to judgment as a matter
of law on Claim ©. Petitioner claims that his absence from various
proceedings was not knowing, voluntary, and intelligent. (Am. Pet.
at 95.) He explains the basis for this claim by citing to Claim L,
in which he broadly alleges his incompetence to stand trial:

[Petitioner] was incompetent to stand trial, was

not capable of understanding the nature and

purpose of the proceedings against him, did not

comprehend his own status and condition in

reference to such proceedings, and also was not

able to assist his attorneys in conducting his

defense in a rational manner.

(Am. Pet. at 85.) In the course of briefing the pending motions,
petitioner has narrowed this claim. In opposition to respondent’s
motion for summary judgment, petitioner states that “[m]uch of

respondent’s briefing on [Claim L] addresses the ‘unable to

130

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 136 of 267

understand the nature and object of the proceedings’ prong of the
competency test” and asserts that “[pJetitioner’s claim does not go
to this prong of the test.” (Opp’n & Cross-Mot. for Summ. J. at 192
n.134.) In reply to respondent’s opposition, petitioner states
further that

[t]he competency issue here is a relatively

narrow and discrete one: petitioner was unable to

meaningfully participate in his defense at the

penalty phase because he was unable to discuss

the abuse he had suffered at the hands of his

father, and because trial counsel, knowing to a

reasonable certainty that petitioner had, in

fact, been abused, failed to obtain the services

of an expert who would be able to elicit that

information from petitioner.

(Pet'r's Reply at 47.)

Petitioner has disavowed his allegation that he was unable
to understand the nature and object of the proceedings and has
narrowed his claim of incompetence to the specific issue of his
ability to “meaningfully participate in his defense at the penalty
phase” because of abuse by his father in conjunction with the other
factors noted above in Section L. Assuming for the sake of argument
that each court proceeding at issue in Claim 0 occurred during the
penalty phase of petitioner’s trial, the court finds that petitioner
has made no showing that his waiver of presence from any of the
proceedings was not knowing, voluntary, or intelligent due to his
history of abuse or that any of the proceedings deprived petitioner
of his right to meaningfully participate in his defense. Moreover,
there are disputed material facts concerning petitioner’ ability to

assist counsel in his defense. As the moving party on his cross-

131

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 137 of 267

motion for summary judgment, petitioner has not made the required
showing and is not entitled to summary judgment in his favor on Claim
O.

Accordingly, the motions of both parties for summary
judgment as to this claim should be denied.

P. Exclusion of Jurors For Cause Based Upon Death Penalty

Views

In Claim P petitioner asserts that the trial court erred
when, upon motion of the prosecution, it excused prospective jurors
Cara Gehrke, Timothy Grieve, and Isabell Miller because of their
views on the death penalty. (Am. Pet. at 95-96.) Petitioner alleges
that the record does not show that these jurors’ views would have
prevented or substantially impaired the performance of their duties
as jurors. Petitioner asserts that the trial court’s error violated
his Sixth, Eighth, and Fourteenth Amendment rights to due process of
law and to a fair, reliable, individualized, nonarbitrary, and
adequately guided determination of the appropriateness of death as
the penalty.

Respondent contends that petitioner’s claim is groundless
and seeks summary judgment based on the transcript of voir dire.
Respondent asserts that petitioner is not entitled to an evidentiary
hearing on this claim because it was the subject of a hearing before
the trial court and a decision on appeal. (Alt. Mot. for Summ. J. at
150-54.)

Respondent cites Adams v. Texas, 448 U.S. 38, 45 (1980),
for “the general proposition that a juror may not be challenged for

132

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 138 of 267

cause based on his views about capital punishment unless those views
would prevent or substantially impair the performance of his duties
aS a juror in accordance with his instructions and his oath.”
Respondent relies on Wainwright v. Witt, 469 U.S. 412 (1985), in
which the Supreme Court reaffirmed the Adams standard and held that
the standard does not require that a juror’s bias be proved with
unmistakable clarity:

[D]eterminations of juror bias cannot be reduced

to question-and-answer sessions which obtain

results in the manner of a catechism. What

common sense should have realized experience has

proved: many veniremen simply cannot be asked

enough questions to reach the point where their

bias has been made “unmistakably clear”; these

veniremen may not know how they will react when

faced with imposing the death sentence, or may be

unable to articulate, or may wish to hide their

true feelings. Despite this lack of clarity in

the printed record, however, there will be

situations where the trial judge is left with the

definite impression that a prospective juror

would be unable to faithfully and impartially

apply the law. ... [T]lhis is why deference

must be paid to the trial judge who sees and
hears the juror.

469 U.S. at 424-26 (footnote omitted). Respondent states that the
Court determined in Witt that the trial court’s decision on the juror
at issue was fairly supported by the record even though the trial
court did not expressly state the standard on which it relied and the
prospective juror'’s statements were ambiguous.

Respondent argues that in this case prospective jurors
Gehrke, Grieve, and Miller all made statements that fairly support
the trial court’s findings of substantial impairment. Cara Gehrke

stated at the outset of voir dire that she was against the death

133

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 139 of 267

penalty and did not think murder would justify taking a life. (RT at
2358.) When the prosecutor asked her if she really thought she would
be able to vote for the death penalty, she answered, “No, I don’t
think I could.” (RT at 2369.) The prosecutor then challenged her
for cause under Witt. (RT at 2369-70.) The trial court addressed
the challenge as follows:

The test that we are now operating under is

whether or not her views about capital punishment

would prevent or substantially impair her

performance of her duties as a juror in

accordance with the instructions and the oath

that she took. .

This is one of those instances .. . thata

juror, after being talked to by counsel, will

take perhaps differing and conflicting types of

positions, and the last answer, whether she

didn’t believe that she could, she didn’t say

that she believed that she would.

Nevertheless, under the standard of Witt, I

can come to the conclusion then, that her - her

ability to perform has been substantially

impaired.

The Court will so find and the challenge is
sustained.
(RT at 2371-72.)

Timothy Grieve stated that he felt strongly about the death
penalty and said, “I think it is morally wrong for society to execute
someone regardless of the situation.” (RT at 3084.) When defense
counsel asked Grieve whether there was a possibility that, if all
doubt had been removed and the case was egregious enough, he could
envision himself voting for the death penalty, Grieve responded “I
don’t think so. . . . I don’t think there is any way I could.” (RT
at 3088-89.) The trial court sustained the prosecutor's challenge

under Witt, finding that “the attitude of this juror makes him

134

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 140 of 267

substantially impaired in following instructions of the Court and his
oath as a juror.” (RT at 3089.)

Isabell Miller stated that she did not know if she could
Sit on the case and explained, “I wouldn’t want to commit anybody to
the death chamber. I couldn’t have that on my conscience.” (RT at
3796, 3802.) When the prosecutor asked her whether she could vote
for the death penalty in any case, she responded, “I don’t think I
could. No.” (RT at 3803.) The court, noting an apparent conflict
between statements made to the prosecutor and statements made to
defense counsel, asked her whether she could consider the evidence
and, if proper, vote for the death penalty. (RT at 3804.) She
answered, “I don’t think I could.” (Id.) Defense counsel then asked
her whether she could consider voting for the death penalty in an
extreme case, if the facts were terrible enough and she felt there
had been an inexcusable killing for no good reason, i.e., “just a
horrible death for absolutely no acceptable reason.” (RT at 3805.)

Miller responded, “I don’t think so.” ( ) The court then

Id.
sustained the prosecutor’s challenge. (Id.)

Respondent argues that this record shows that all three
prospective jurors expressed conscientious objections to the death
penalty which demonstrated a substantial reluctance to impose the
death penalty. Respondent contends that, although the prospective
jurors said they did not “think” they could vote for the death
penalty, their statements were absolute expressions that they could
never vote for the death penalty. Respondent asserts that such

/////

135

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 141 of 267

statements provided ample support for the trial court’s rulings and
therefore summary judgment should be granted.

Petitioner also seeks summary judgment on Claim P,
asserting that the same record cited by respondent demonstrates that
all three prospective jurors were unconstitutionally excluded for
cause because of their views concerning the death penalty. (Opp’n &
Cross-Mot. for Summ. J. at 201-04.)

Petitioner advances two arguments in support of his cross-
motion. First, he argues that jurors cannot be excluded if they are
merely indecisive about whether the death penalty will affect them.
For this argument, petitioner relies on the decisions in Gray v.
Mississippi, 481 U.S. 648 (1987), and Adams, 448 U.S. at 49-50.
Petitioner's second argument is that jurors who firmly believe that
the death penalty is unjust may nevertheless serve as jurors in
capital cases so long as they state clearly that they are willing to
temporarily set aside their own beliefs in deference to the rule of
law. In support of this argument, petitioner relies on Lockhart v.
McCree, 476 U.S. 162, 176 (1986), and Gray, 481 U.S. at 658, 662-63.
Petitioner argues that prospective jurors cannot be excluded despite
initial responses indicating that they are excludable if further
questioning makes it clear that they could set aside their scruples
and serve as jurors.

Petitioner contends that both arguments are applicable to
prospective juror Cara Gehrke. On initial examination by defense
counsel, Mrs. Gehrke stated that she was against the death penalty
and did not believe in it. (RT at 2358.) She also said she could

136

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 142 of 267

“listen openly, fairly” to the evidence, including penalty phase
evidence, and could be “fair minded” in “openly consider [ing] ”
whether or not the penalty evidence persuaded her one way or another.
(RT at 2360-61.) She stated: “I can’t say there is no case that I
wouldn’t, you know, vote for the death penalty,” and “I just don’t
happen to believe in it... . But I can’t say that I would never.”
(RT at 2362-63.) She further stated that she could “put aside [her]
personal feelings, listen to the evidence, consider the evidence, and
be open to the possibility of voting” for either penalty. (RT at
2363.) On examination by the prosecutor, she stated that it “would
be hard for me to vote for the death penalty. But, if I was picked
as a juror, and I had to do so, then I would put my personal feelings
- if that’s what you're going to ask me ~ I would put them aside and
I would think nothing about how I felt personally.” (RT at 2364-65.)
When the prosecutor asked her if she really thought she would
honestly consider voting for death, when the penalty decision would
be solely up to her, she responded, “That’s - that’s a hard question.
Unless it really, you know, comes up, I can’t... answer that.”
(RT at 2366-67.) The prosecutor asked whether she would be able to
vote for the death penalty when she didn’t believe in it and had been
against it for a long time, and she replied, “No, I don’t think so.”
(RT at 2369.)

Petitioner cites the trial court’s observation that Mrs.
Gehrke had expressed “perhaps differing and conflicting types of
positions” as well as the California Supreme Court’s finding on
direct appeal that Mrs. Gehrke’s answers, like those of prospective

137

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 143 of 267

jurors Grieve and Miller, were “arguably equivocal.” (RT at 2372;

Breaux, 1 Cal. 4th at 308-10.) Petitioner contends that the record

on voir dire and the findings of both state courts show that Mrs.
Gehrke was merely indecisive, like Mrs. Bounds, the prospective juror
excluded by the trial court in Gray. The trial court in Gray had
excluded Mrs. Bounds after finding that her responses to questions
about her views on the death penalty revealed that she was “totally
indecisive. She says one thing one time and one thing another.” 481
U.S. at 655 n.7. The Supreme Court ruled that such a juror was
clearly qualified to be seated as a juror under the Adams and Witt
criteria. 481 U.S. at 659. Petitioner argues that the state trial
court’s finding in this case concerning Mrs. Gehrke’s “differing and
conflicting types of positions” is essentially the same as the trial
court’s finding in Gray that Mrs. Bounds “sa[id] one thing one time
and one thing another.” Thus, petitioner argues, the exclusion of
Mrs. Gehrke was no more justified than was the exclusion of Mrs.
Bounds in Gray. Petitioner argues further that the exclusion of Mrs.
Gehrke was improper because she expressly stated that she could and
would put her personal feelings aside for purposes of this case. (RT
at 2363-65.) Petitioner contends that Mrs. Gehrke should not have
been excluded from the jury because she was willing to set aside her
own beliefs in deference to the rule of law and made it clear she
could set aside her scruples and serve as a juror. See McCree, 476
U.S. at 176; Gray, 481 U.S. at 658, 662-63.

Next, petitioner offers the following summary of Timothy
Grieve’s voir dire responses: he felt strongly about the death

138

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 144 of 267

penalty, believed it was “morally wrong for society to execute
someone regardless of the situation,” doubted that he could vote for
death even if convinced the defendant was guilty of a reprehensible
crime, and said that, despite the possibility that he could change
his mind, he did not think there was any way he could vote for death.
(RT at 3084-89.) Petitioner offers the following summary of Isabell
Miller’s voir dire responses: she initially said she “wouldn’t want
to commit anybody to the death chamber” and “couldn’t have that on
[her] conscience,” but then indicated she could be fair and impartial
to both sides in deliberations, said she thought she would be open to
the possibility of voting for death depending on the evidence and
arguments, said she would do her best to decide for either punishment
depending on what she heard in the courtroom and thought that she
could do that, responded to the prosecutor’s questions by saying she
didn’t think she could vote for the death penalty in any case and
wouldn’t want that on her conscience, and told the trial judge she
didn’t think she could vote for the death penalty even if the facts
were terrible. (RT at 3796-3805.) Petitioner contends that this
record does not show that either Timothy Grieve or Isabell Miller was
substantially impaired in the performance of his or her duties in
accordance with the court’s instructions and the juror’s oath, or
that either of them could not temporarily set aside his or her
scruples and serve as a juror.

In opposition to petitioner’s cross-motion, respondent
argues that the words used by the three prospective jurors in their
responses during voir dire do not comprise the sole determining

139

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 145 of 267

factor. Respondent emphasizes the importance of the trial judge’s
assessment of each prospective juror’s feelings based on his or her
Statements and all relevant considerations, including demeanor, tone
of voice, body language, and other forms of non-verbal communication
and indicia of feelings. Respondent asserts that the trial judge
must evaluate the credibility of each prospective juror’s statements
under oath based in large part on observations made during voir dire.
Respondent argues that, under Witt, 469 U.S. at 431-35, the trial
judge’s decisions must be given due deference and should be followed
if fairly supported by the record. Respondent contends that where,
as here, the trial court’s decisions depended on interpretation of a
juror’s statements, those decisions should be conclusive if rational
under the circumstances.

In reply, petitioner asserts that respondent has completely
ignored the Supreme Court’s holding in Gray, despite petitioner's
argument that the exclusion of Mrs. Gehrke is indistinguishable from
the exclusion of Mrs. Bounds in Gray, and has also implied that the
trial judge’s decision to exclude these three prospective jurors is
immune to reversal. In addition, petitioner asserts that
respondent’s characterization of the deference to be accorded to a
trial judge’s decisions is significantly overstated. Petitioner
contends that Gray could not have been decided as it was if the trial
judge’s decision had been deemed conclusive merely because of the
trial judge’s opportunity to assess the prospective jurors’
statements.

ST f/f]

140

 
10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 146 of 267

It is well established that “{t]he State infringes a
capital defendant’s right under the Sixth and Fourteenth Amendments
to trial by an impartial jury when it excuses for cause all those
members of the venire who express conscientious objections to capital
punishment.” Wainwright, 469 U.S. at 416. The Supreme Court so held
in 1968 in the context of a challenge to an Illinois statute that
permitted trial courts to excuse for cause “any juror who shall, on

being examined, state that he has conscientious scruples against

 

capital punishment.” Witherspoon v. Illinois, 391 U.S. 510, 512
(1968). In Witherspoon, “nearly half the veniremen .. . were

excused for cause because they ‘expressed qualms about capital

punishment.’” Witt, 469 U.S. at 418 (quoting Witherspoon, 391 U.S.
at 513). The Supreme Court in Witherspoon held that a jury obtained

under the Illinois statute “would not be the impartial jury required
by the Sixth Amendment, but rather a jury ‘uncommonly willing to
condemn a man to die.’” Id. (quoting Witherspoon, 391 U.S. at 521).
The Witherspoon Court concluded that “a sentence of death cannot be
carried out if the jury that imposed or recommended it was chosen by
excluding veniremen for cause simply because they voiced general

objections to the death penalty or expressed conscientious or

religious scruples against its infliction.” Witherspoon, 391 U.S. at
522. “[T]he Witherspoon Court also recognized the State's legitimate

interest in excluding those jurors whose opposition to capital
punishment would not allow them to view the proceedings impartially,
and who therefore might frustrate administration of a State’s death
penalty scheme.” Witt, 469 U.S. at 416.

141

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 147 of 267

In Witt the Court clarified the standard to be used for
determining when prospective jurors may properly be excused for cause
on the basis of their death penalty views. The Court rejected the
standard suggested by dicta in Witherspoon and held that the proper
standard is that articulated in Adams v. Texas. 469 U.S. at 418-24.
The Court rejected “adherence to a requirement that a prospective
juror make it ‘unmistakably clear .. . that [he or she] would
automatically vote against the imposition of capital punishment.’”
Id. at 419 (quoting Witherspoon, 391 U.S. at 522 n.21). Instead, “‘a
juror may not be challenged for cause based on his views about
capital punishment unless those views would prevent or substantially
impair the performance of his duties as a juror in accordance with
his instructions and his oath.’” Id. at 420 & 424 (quoting Adams,
448 U.S. at 45).

The Adams test for determining juror exclusion eliminates

 

both “the requirement that a juror may be excluded only if he would
never vote for the death penalty” and “the extremely high burden of
proof” required to show that a prospective juror would be unable to
apply the death penalty under any circumstances. Id. at 421. The
standard “does not require that a juror’s bias be proved with
‘unmistakable clarity,’” for “determinations of juror bias cannot be
reduced to question-and-answer sessions which obtain results in the
manner of a catechism.” Id. at 424.

This standard “leaves trial courts with the difficult task
of distinguishing between prospective jurors whose opposition to
Capital punishment will not allow them to apply the law or view the

142

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 148 of 267

facts impartially and jurors who, though opposed to capital
punishment, will nevertheless conscientiously apply the law to the
facts adduced at trial.” Id. at 421. Some prospective jurors
“cannot be asked enough questions to reach the point where their bias
has been made ‘unmistakably clear,’‘” and some jurors “may not know
how they will react when faced with imposing the death sentence, or
may be unable to articulate, or may wish to hide their true
feelings.” Id. at 424-25. Accordingly, “where the trial judge is
left with the definite impression that a prospective juror would be
unable to faithfully and impartially apply the law” and therefore
excuses the juror for cause, “deference must be paid to the trial
judge who sees and hears the juror,” despite a lack of clarity in the
printed record. Id. at 425-26.

The Court in Witt addressed at length the question of the
degree of deference that a federal habeas court must pay to a state
trial judge’s determination of juror bias arising from the juror’s
death penalty views. Id. at 426-30. The Court noted its observation
in Patton v. Yount, 467 U.S. 1025 (1984), that

the question whether a venireman is biased has

traditionally been determined through voir dire

culminating in a finding by the trial judge

concerning the venireman’s state of mind. .

[S]uch a finding is based upon determinations of

demeanor and credibility that are peculiarly

within a trial judge’s province. Such

determinations were entitled to deference even on

direct review; “[t]he respect paid such findings

in a habeas proceeding certainly should be no

less.”

469 U.S. at 428 (quoting Patton, 467 U.S. at 1038) (footnotes

omitted). The Court decided that its holding in Patton “applies

143

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 149 of 267

equally well to a trial court’s determination that a prospective
capital sentencing juror was properly excluded for cause,” for the
trial judge’s “predominant function in determining juror bias
involves credibility findings whose basis cannot be easily discerned
from an appellate record.” Id. at 429. A state trial court’s
findings concerning a prospective juror’s bias are therefore factual
findings entitled to a presumption of correctness on federal habeas
review. Id. at 429, 431. “[Tlhe question is not whether a reviewing
court might disagree with the trial court’s findings, but whether
those findings are fairly supported by the record.” Id. at 434. In
order to determine whether the trial court’s findings are fairly
supported by the record, the reviewing court must consider the entire
context surrounding the trial court’s exclusion of a prospective
juror. Id. at 424-26; see also Darden v. Wainwright, 477 U.S. 168,
176-78 (1986) (noting that the court’s “inquiry does not end with a
mechanical recitation of a single question and answer” and taking
into account the trial court’s statements to the entire venire and to
other prospective jurors where the entire venire was present
throughout the voir dire).

The record in this case shows that prospective juror
Timothy Grieve was initially questioned on the morning of November
17, 1986, in a group of four prospective jurors. (RT at 2971-84.)
After providing general information about criminal proceedings, the
trial judge requested the assurance of each of the four prospective
jurors that he or she “will follow the law as I state it to you
whether you do agree with it or not.” (RT at 2977.) Grieve was the

144

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 150 of 267

only one of the four prospective jurors who did not give the court

such an assurance, stating instead, “Well, in the sense if it is a

capital case I would not be able -- I would have some difficulty with
the death penalty.” (RT at 2978.) The judge responded, “We'll get
to that a little later on and, yes, it is a capital case.” (RT at
2978.) The judge then advised the four prospective jurors that they

might be questioned individually by the court and the attorneys as to
their attitude concerning the death penalty and the alternative
penalty of life in state prison without possibility of parole. (RT
at 2979.) The judge subsequently asked the four prospective jurors
if they could think of any reason why, if chosen to be a juror, they
could not be fair and impartial to both sides. Immediately after
asking the question, the judge remarked that Grieve had raised an
issue in that regard and that they would talk to him about it later.
(RT at 2983.)

In the afternoon of November 17, 1986, Grieve was
questioned individually. (RT at 3082-89.) After Grieve indicated
that he understood defense counsel’s prefatory remarks, counsel asked
Grieve whether he could listen to each side present its respective
positions during the penalty phase of the trial, if the case reached
that phase. (RT at 3083-84.) Grieve responded, “Well, listen to
them, yes. But --” (RT at 3084.) Defense counsel then said,
“Obviously, you feel strongly about the death penalty” and asked
Grieve to state what his feelings were. (Id.) Grieve responded, “I
think it is morally wrong for society to execute someone regardless
of the situation.” (Id.) He explained that his feelings were based

145

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 151 of 267

on both moral grounds and on practical grounds arising from the
fallibility of judges and juries and the resulting possibility of
error. Grieve stated that it bothered him that someone who is
innocent could be executed. (RT at 3085.) When asked whether his
moral scruples were such that he could not consider the possibility
of voting for death, even if personally persuaded that a defendant
had committed the killing and had done so in an absolutely
reprehensible fashion, he answered, “I really wouldn’t know, of
course, until I was in that situation. But I doubt it.” (RT at
3085-86.) Defense counsel rephrased the question, asking again
whether it was possible that Grieve could vote for the death penalty
in a theoretical case. (RT at 3086.) Grieve responded:
Uh, again, I’m not sure.
I could say, by way of example, as a police
reporter, I am aware of some pretty heinous
crimes.
And none of the ones I’m aware of really
could compel me to vote for the death penalty,
even if I believed in the case.
The man -- decapitation murder in Sacramento
a couple of weeks ago, for instance, that has
been as heinous as they get.
And I don’t think I would be in support of
the death penalty for whoever is found guilty of
that.
(RT at 3086-87.) In response to defense counsel’s final question
concerning the possibility of voting for the death penalty in an
egregious case from which all doubt had been removed, Grieve
responded,
/////
/////
ST fff

146

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 152 of 267

I don’t think so. Again, I don’t think -- I

mean, there is always that possibility that

somewhere out there there is going to be

something that changes my mind.

But, with everything I know now, I don’t

think there is any way I could.

(RT at 3087-89.) The trial judge sustained the prosecutor’s
challenge for cause under Witt, finding that Grieve would be
substantially impaired in following instructions of the court and his
oath as a juror. (RT at 3089.)

This record reflects that Grieve consistently affirmed and
explained his belief that he would be unable to vote for the death
penalty. Grieve gave no indication that he could put aside his
personal feelings and vote for the death penalty in this case or in
any hypothetical case. Significantly, Grieve did not provide
assurance that he could follow the law as stated by the court
regardless of whether he agreed with it or not. There is ample
support for the trial court’s finding that Grieve would be
substantially impaired in following the instructions of the court and
his oath as a juror. The record supports the trial court's decision
to excuse prospective juror Grieve for cause.

Prospective juror Isabell Miller was initially questioned
on the morning of November 21, 1986, in a group of three prospective
jurors. (RT at 3780-94.) Immediately after the group voir dire was
completed, Miller was questioned individually. (RT at 3794-3805.)
In response to defense counsel’s question about her reaction to the
possibility of sitting as a juror in the kind of case described by

the judge, Miller responded, “I don’t know if I could or not” and

147

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 153 of 267

explained, “I don’t know about being guilty or not.” (RT at 3796.)
When asked whether it caused her concern that the case involved a
charge of first degree murder as well as other charges, she answered
in the affirmative and stated, “Well, I wouldn’t want to commit
anybody to the death chamber. I couldn’t have that on my conscience.
That’s all.” (Id.) She responded, “I do” when asked if she had
“feelings about the death penalty.” (Id.) Defense counsel asked
whether she could listen to the evidence fairly during the guilt
phase of the trial, to which Miller answered with certainty, “Oh,
yes, I could do --.” (RT at 3797.) With regard to the penalty phase
of the trial, however, Miller answered only “I think so” upon being
asked if she thought she could be fair and impartial to both sides.
(RT at 3798.) She also answered “I think so” when asked if she
thought she could “at least in theory, be open to the possibility of
voting for either death or life without possibility of parole
depending upon what's been said to you and how you feel after you've
heard all that has occurred in the courtroom.” (RT at 3799.) In
response to defense counsel’s inquiry as to whether she could sit as
a juror in the penalty phase and decide for either punishment
depending upon the evidence, Miller said only that she would do her
best. (RT at 3800.)

The prosecutor asked Miller whether she had said she would

not commit anybody to the death chamber.

A. Yes, that’s what I said. I wouldn’t want it
on my conscience.

Q. Okay. And you also said that you could not
have that on your conscience; is that accurate?
A. That’s right.

148

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 154 of 267

(RT at 3802.) The prosecutor explained that the court’s penalty
phase instructions would not tell the jurors how to vote and that it

would be up to each juror individually to make the decision, to which

Miller responded, “I see.” (RT at 3802-03.) Voir dire continued as
follows:

Q. Do you think that you honestly, if the

decision was yours to make -- ina jury

deliberation, could you, in considering the
evidence and considering the instructions, could
you really vote for the death penalty in any

case?

A. I don’t think I could.
No.

Q. And why is that?

And I’m not challenging you, I’m just asking
you why do you think that you don’t think that
you could?

A. Well, I wouldn’t want that on my conscience.
That’s why.

I just -- anything else but the death
penalty.

(RT at 3803-04.)
The court attempted to clarify Miller’s seemingly
contradictory views:
Q. A minute ago you said, first of all, that
you -- that the death penalty would be on your

conscience and you didn’t think you could put
somebody in the death chamber or something like

that.
A. Uh-huh. (In the affirmative.)
Q. Then Mr. Fathey asked some questions and you

said, yes, you could consider and you could vote
for the death penalty, and now Mr. Druliner is
asking you if you could vote for it and you said
you can’t vote for the death penalty.

What is your true feelings?

Could you consider the evidence, and if it’s
proper, vote for the death penalty and if it’s
not, not vote for the death penalty?

A. I don’t think I could. I just don’t think I
could.

149

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 155 of 267

(RT at 3804.) Defense counsel then received the same answer:

Q. Ma’am, if the case were extreme enough, if
the facts were terrible enough and you felt that
there had been an inexcusable killing for no good
reason, could you consider voting for the death
penalty in such a case?

A. I don’t think so.

(RT at 3805.) The court sustained the prosecutor’s challenge for
cause, finding that Miller was substantially impaired as defined in

Witt. (Id.)

 

Close scrutiny of the record reveals no inconsistency in
Miller’s opposition to the death penalty. She stated repeatedly that
she did not want to commit anybody to the death chamber and could not
have such a decision on her conscience. While she was certain she
could listen to the evidence fairly during the guilt phase of the
trial, all of her answers to defense counsel regarding the penalty
phase were equivocal: “I think so” as to her ability to be fair and
impartial to both sides when considering the evidence; “I think so”
as to her ability to be open, “at least in theory,” to the
possibility of voting for either death or life without possibility of
parole; and “I’d do my best” as to her ability to sit as a juror in
the penalty phase and decide for either punishment depending on what
she heard in the courtroom. Miller did not state at any time that
she could vote for the death penalty. Nor did Miller state that she
would put aside her personal feelings and consider the death penalty.
When the court asked her to clarify her true feelings and state
whether she could vote for the death penalty, she responded that she
did not think she could. She gave the same answer to defense

150

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 156 of 267

counsel. The trial judge, having satisfied himself that Miller had
expressed her true feelings about the death penalty, was justified in
finding that Miller’s views would have substantially impaired her
performance of her duties as a juror. The record supports the trial
court’s decision to excuse prospective juror Miller for cause.
Prospective juror Cara Gehrke was initially questioned on
the afternoon of November 10, 1986, in a group of three prospective
jurors. (RT at 2328-41.) Immediately after the group voir dire was
completed, Gehrke was questioned individually. (RT at 2341-69.)
Defense counsel described the proceedings that would occur during the
penalty phase if the defendant were found guilty and asked Gehrke

what she thought of the death penalty:

A. I don’t believe in it.

Q. What do you mean by that?

A. Well, taking -- I mean, I don't believe in
the taking of a life.

But once they do, I don’t think taking
another life is going to justify the first one.

It is not going to bring the victim back.

And all it is going to do is cause
heartache, and that, for the -- you know, for
both sides of the families.

So I’m against the death penalty.
Q. Have you thought about that for some period
of time?

Your views on it?

Or have you just thought about it since we
have been in court here this afternoon?

A. No. I felt that way -- I felt that way ever
Since I can remember.
I don’t -- I don’t believe in --

(RT at 2357-58.)

Defense counsel probed further, asking Gehrke first whether
she thought she could take an oath saying she would listen openly and
fairly; she responded, “Yeah.” (RT at 2360-61.) Counsel asked next

151

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 157 of 267

whether she could be “a fair-minded person” and listen to evidence
meant to persuade her that death is the appropriate penalty; she
responded, “Yeah.” (RT at 2361.) When counsel asked whether she
could not only listen to the evidence in support of both possible
penalties but also be a fair-minded person and consider whether or

not the evidence persuaded her in one direction or the other, Gehrke

answered somewhat equivocally, “Yeah. I think -- yeah.” (RT at
2361.) Voir dire continued as follows:
Q. And then, finally, at some point, the Court

would expect of you, and it would be [a]
requirement as a juror, if you are sworn to hear
this case, to, at least, be open in theory to the
possibility of voting either for death or for
life in prison without the possibility of parole.

It would not expect you to, in fact, vote
one way or the other. Of course, that’s up to
you to decide that.

But you must, in fact, entertain openly the
possibility that you -- forget the possibility --
that you would vote either way notwithstanding
your feelings, whether they are strong or

otherwise.
Do you think you could do that?
A, Yes. I guess, I could.
Q. Now, let me ask you again, because it is

important to all of us.

In saying that yes, you think you could,
would you be able to assure his Honor and both of
the counsel -- both for the State and for the
defense -- that, after having heard the evidence,
after having considered it, that, at least, you
would consider voting for the death penalty or
for life without possibility of parole?

A. Yes.
Q. You are not telling the Court that there is
no case -- or are you -- are you telling the

Court there is no case that you could envision
voting for death?
Or would you have to wait to hear the
evidence?
A. No. I can’t say there is no case that I
wouldn‘t, you know, vote for the death penalty.
I just don't happen to believe in it.

152

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 158 of 267

But I can’t say that I would never.

QO. It comes down to this, ma’am.

You need to assure the Court that you could
put aside your personal feelings, listen to the
evidence, consider the evidence, and be open to

the possibility of voting in either direct -- it
doesn’t -- pardon me?
A. I was going to say yes. I could do that.

(RT at 2362-63.)

In response to probing by the prosecutor, Gehrke reiterated
that she had been against the death penalty for a long time. (RT at
2363-64.) She also stated, however, that she could put her personal
feelings aside:

Q. . . . [B]ased on your initial responses to
the question about the death penalty, it appeared
that what you were talking about is you don’t
believe in the death penalty, and you felt that
way for a long time?

A. That’s right.

Q. And --

A. It would be hard for me to vote for the
death penalty.

But, if I was picked as a juror, and I had
to do so, then I would put my personal feelings -
- if that’s what you are going to ask me -- I
would put them aside and I would think nothing
about how I felt personally.

It would be what, you know, I was doing here
in court.

(RT at 2364-65.)

The prosecutor explained to Gehrke that the court would
give penalty phase instructions concerning the law, that the
instructions would only describe the factors to consider, that “what
it comes down to is that decision would be your individual decision
and the individual decisions of the eleven other jurors,” and that

her vote would be solely up to her. (RT at 2365-66.)

153

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 159 of 267

Q. Now, given that the decision would be yours,
don’t -- do you think that you would really,
honestly consider voting for the death penalty
when you know that you could vote for life
without possibility of parole and then avoid
voting for something that you don’t believe in?
A. I -- I -- I don’t think I follow you.

I don’t know what you mean.

You mean, if the decision was mine and I
don’t have those other eleven people?
Q. No. What I mean is that your vote in the
penalty phase, your vote at any time as a juror,
is your vote. Okay?

It is not the person’s next to you vote.

Not the judge’s vote.

It is yours.
A. Uh-huh.
Q. Okay. Now, assuming you are in the penalty
phase of the case, and you have heard all of the
evidence, and the judge has explained to you the
law of what the various factors are that you can

consider -- okay?
A. Yeah.
Q. Okay. And when you describe the death

penalty as something you don’t believe in,
obviously, that causes concern. Causes me some
concern.

Now, when -- assume that we are in the
penalty phase of the case.

In other words, the defendant has been found
guilty of murder in the first degree and one or
more of the special circumstances have been found
to be true.

A. Okay. Yeah.

Q. That’s how we get into the penalty phase.
A. (Nodded head.)

Q. That's how we get into the penalty phase.

Now, really, what it comes down to is will
you be able to vote for something, that is the
death penalty, considering the fact that it’s
something that you didn’t believe in and haven’t
believed in and you’ve been against it for just
about as long as you can remember?

Do you really think that you would be able
to vote for the death penalty?

A. No, I don’t think I could.

(RT at 2366-69.)

154

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 160 of 267

Defense counsel objected to the prosecutor’s final question
and to Gehrke’s response to it, on the ground that both were
ambiguous. The objection was overruled. Argument was then heard
outside Gehrke’s presence. The prosecutor challenged the juror
pursuant to Witt on the ground that her responses showed that her
feelings about the death penalty would prevent or substantially
impair her performance of her duties as a juror in accordance with
the instructions and the oath. Defense counsel argued that the juror
had stated without ambiguity that she could vote for the death
penalty if persuaded it was appropriate and that the prosecutor
obtained a contrary response by means of a leading question that was
awkward and ambiguous. (RT at 2369-71.)

The trial court stated the Witt test, emphasizing the words
“prevent or substantially impair,” and ruled as follows:

This is again one of the instances where I

mentioned that a juror, after being talked to by

counsel, will take perhaps differing and

conflicting types of positions, and the last

answer, whether she didn’t believe that she
could, she didn’t say that she believed that she

would.

Nonetheless, under the standard of Witt, I
can come to the conclusion, then, that her -- her
ability to perform has been substantially
impaired.

The Court will so find and the challenge is
sustained.

(RT at 2372.)

The record reflects that Gehrke was consistent in stating
that she was against the death penalty, that she didn’t believe in
the taking of life, and that she had held these feelings for as long
as she could remember. The record also reflects that Gehrke was

155

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 161 of 267

confident she could take an oath to listen openly and fairly and was
equally confident she could listen to evidence meant to persuade her
that death was the appropriate penalty. She was less confident,
however, that she could consider whether that evidence persuaded her
in one direction or the other. In response to defense counsel’s
increasingly lengthy and confusing questions, she “guessed” she could
be open “in theory” to the possibility of voting for the death
penalty. In an even less meaningful response, she responded in the
affirmative when defense counsel asked her whether she would be able
to assure the court and counsel for both sides that, after hearing
the evidence and having considered it, she would at least “consider
voting for the death penalty or for life without possibility of
parole.” Gehrke was unwilling to say she would never vote for the
death penalty and initially thought she could put her personal
feelings aside, listen to the evidence, consider the evidence, and be
“open to the possibility of voting.” In response to the prosecutor's
initial questions, Gehrke repeated that she could put her personal
feelings aside and consider the death penalty. However, after the
prosecutor described the nature of the decision to be made by jurors
in the penalty phase of the trial, Gehrke appeared to be confused.
Once she grasped the prosecutor’s final question, i.e., whether she
really thought she would be able to vote for the death penalty when
it would be easy to avoid that course by voting for life in prison
without possibility of parole, she answered that she did not think
she could vote for the death penalty.

LI TT/

156

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 162 of 267

Gehrke’s responses were not “differing and conflicting”
when those responses are considered in light of the questions asked.
In addition, the trial judge, aided by his ability to assess Gehrke’s
demeanor, was entitled to resolve any ambiguity arising from her
responses in favor of a determination that she would be substantially
impaired in following instructions of the court and her oath as a
juror. The record therefore supports the trial court’s finding of
impairment and decision to excuse prospective juror Gehrke for cause.

Petitioner’s reliance on Gray in support of this claim is

unavailing. The trial judge in that case did indeed state that Mrs.

Bounds “is totally indecisive,” saying “one thing one time and one
thing another.” Gray, 481 U.S. at 655 n.7. However, the judge had

previously concluded that Bounds was capable of voting to impose the
death penalty. Id. at 653. After the prosecutor asked the court for
an additional peremptory to use against Bounds, the judge admitted
that he had made the State use “about five” peremptory challenges
against prospective jurors who were unequivocally opposed to the
death penalty. As a means of correcting his errors, the judge caused
Bounds to be subjected to further voir dire in the hope that she
would “equivocate” so that he could “let her off as a person who
can’t make up her mind.” Id. at 653-54. In response to further
questioning, however, “Bounds stated that she could reach either a
guilty or not guilty verdict and that she could vote to impose the
death penalty if the verdict were guilty.” Id. at 654. Despite the
absence of any answer that rendered Bounds excludable for cause, the
trial judge stated that he had “cheated the State” out of at least

157

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 163 of 267

five peremptories and would therefore excuse Bounds for cause. Id.
at 654-55 &n.7. The issue before the Supreme Court in Gray was
whether the trial court’s clearly erroneous exclusion of Bounds for
cause should be subject to harmless-error review. Id. at 651. The
wholly unsupported exclusion of Bounds for cause bears no resemblance
to the exclusion of Cara Gehrke for cause in the present case.

The undersigned finds that respondent has carried his
burden as moving party in demonstrating that the trial court’s
findings of bias were made under the proper standard, that those
findings are entitled to deference, and that the decisions to excuse
the three prospective jurors are fairly supported by the record.
Petitioner has failed to adduce evidence that the trial court’s
factual determinations were erroneous. Petitioner’s cross-motion for
summary judgment should therefore be denied, and respondent’s motion
for summary judgment should be granted on Claim P.

Q. Discriminatory Imposition of the Death Penalty

Petitioner alleges that the trial court violated his rights
under the First, Fifth, Sixth, Eighth, and Fourteenth Amendments in
summarily rejecting his claim “that the death penalty was
discriminatorily imposed on the basis of the victim’s race” and in
denying petitioner's request for an evidentiary hearing, a
continuance, and fees for an expert witness. (Am. Pet. at 96-97.)

Petitioner makes the following allegations in support of
this claim: In a motion filed on March 4, 1987, petitioner asserted
that the death penalty is discriminatorily imposed on the basis of
the victim’s race. He requested an evidentiary hearing, along with a

158

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 164 of 267

continuance and expert consultant fees. Petitioner offered evidence
that, of thirteen cases in which the death penalty was imposed in
Sacramento County under California’s 1978 death penalty law, eleven
of the victims were white, one was Hispanic, and one was Asian. The
prosecutor opposed the motion. The trial court denied the motion on
the ground that petitioner had made an insufficient showing for
relief or for a continuance.

Petitioner claims that the death penalty is
discriminatorily imposed in Sacramento County on the basis of the
race of the victim and that the trial court’s summary denial of his
motion and requests for evidentiary hearing, funding, and a
continuance denied him his rights to due process and equal protection
of the law, to freedom from discrimination on the basis of race, to
meaningful access to the courts, to mount a defense, and to a fair,
reliable, individualized, nonarbitrary, and adequately guided
determination of the appropriateness of death as a penalty. (Am.
Pet. at 96-97 (citing CT at 1577; RT at 7471, 7473-75, 7476).)
Petitioner contends that his claim is supported by the facts alleged
and by other facts to be presented at an evidentiary hearing after
full investigation and factual development.

Respondent seeks summary judgment on the ground that
statistical evidence is insufficient to establish discriminatory
imposition of the death penalty and that petitioner’s claim must fail
under McCleskey v. Kemp, 481 U.S. 279 (1987), and Harris v. Pulley,
885 F.2d 1354 (9th Cir. 1988). (Alt. Mot. for Summ. J. at 154-60.)
Respondent asserts that the material undisputed facts are those

159

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 165 of 267

contained in the trial court record. (Id. (citing CT at 1565-77; RT
at 7470-76).) According to respondent, the record shows that
petitioner presented the trial court with a list of death judgments
imposed in Sacramento County between 1978 and 1987, indicating that
in eleven cases the victims were white, in one case the victim was
Hispanic, and in one case the victim was Asian. At oral argument,
petitioner cited an additional case in which the death penalty was
imposed and the victims were white.

Respondent argues that petitioner had a full opportunity to
litigate this claim in the state courts, a hearing was held, the
trial judge determined the pertinent facts and rendered a decision,
and the decision was reviewed and affirmed by the California Supreme
Court. Respondent asserts that the evidence in the trial court
record is the only proper evidence before this court.

Respondent notes that petitioner sought a continuance and
expert funding in order to permit Edward J. Bronson to present
statistical evidence of discrimination in the imposition of the death
penalty. The trial judge was aware that certiorari had been granted
in McCleskey v. Kemp and cited several other cases in concluding that
“there is not a sufficient showing here that it is proper to grant
the motion or for a continuance, and the motion is thus denied.”
(Alt. Mot. for Summ. J. at 155.) Respondent argues that the trial
court’s decision to deny both funding and a continuance was correct
and that petitioner is not entitled to an evidentiary hearing on
habeas review because statistical evidence is insufficient to state a
federal claim.

160

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 166 of 267

Citing McCleskey, 481 U.S. at 292-93, and Carriger v.

Lewis, 971 F.2d 329, 334 (9th Cir. 1992) (en banc), respondent argues

that petitioner cannot prevail on a claim of discriminatory
application of the death penalty unless he proves that the
decisionmakers in his case “acted with discriminatory purpose” that
had a discriminatory effect on him. In McCleskey, the Supreme Court
considered a study performed in Georgia (the Baldus study) and
decided that use of statistics alone will not show discriminatory
charging in criminal cases because

the application of an inference drawn from the

general statistics to a specific decision ina

trial and sentencing simply is not comparable to

the application of an inference drawn from

general statistics to a specific venire-selection

or Title VII case. In those cases, the

statistics relate to fewer entities, and fewer

variables are relevant to the challenged

decisions.
481 U.S. at 294-95. The Supreme Court noted that the State cannot
provide a practical rebuttal to statistical studies in death penalty
cases because public policy forbids an inquiry into the
decisionmaking process of jurors and because the policy
considerations behind a prosecutor's broad discretion makes it
improper to require prosecutors to defend their decisions to seek the
death penalty. Id. at 296. The Court held that it is unnecessary
for the State to rebut a statistical study such as that relied upon
by McCleskey because it was apparent from the record that McCleskey
had committed an act for which the United States Constitution and the
laws of Georgia permit imposition of the death penalty, thereby

//L//

161

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 167 of 267

providing a legitimate and unchallenged explanation for the
prosecutor’s decision. Id. at 296-97.

Respondent also asserts that the Ninth Circuit rejected a
Similar challenge in 1989 in Harris v. Pulley, where the defendant
claimed that California’s capital sentencing scheme had been applied
discriminatorily based on race, age, and gender and had also been
applied arbitrarily and capriciously. The defendant in that case
offered two studies of 238 cases involving both homicides and robbery
homicides that resulted in the penalty of death in California between
1978 and 1982. The raw numbers indicated that murders involving
white victims accounted for 76.5% of all death sentences for
intentional homicides in California during the relevant time period,
while only 38.7% of the homicides involved white victims. The
studies concluded that someone whose victim was white had a five
times greater possibility of receiving the death penalty than someone
whose victim was not white. The study involving robbery homicides
showed that crimes involving white victims accounted for 73% of all
death sentences, while only 46.5% of the robbery homicides involved
white victims. The study concluded that someone committing robbery
murder on a white victim had approximately three times the
possibility of receiving the death sentence as someone committing
robbery murder on a nonwhite victim. The study also analyzed
statistical information based on gender and age. The Ninth Circuit
held that the statistical proffer of evidence did not entitle Harris
to an evidentiary hearing on his equal protection claim because it
was insufficient to show that the decisionmakers in his case acted

162

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 168 of 267

with discriminatory purpose. 885 F.2d at 1374-75. The court also
rejected the claim that California’s capital sentencing system is
arbitrary and capricious in its application, holding that the offered
study did not prove that the factors of race, gender, and age entered
into any capital sentencing decision in California or that any of
these elements was a factor in the Harris case. Id. at 1376. The
court concluded that the study “does not demonstrate a
constitutionally significant risk of racial, gender or age bias
affecting the California capital sentencing process.” Id. at 1377.

Respondent argues that the courts have effectively
foreclosed the use of statistics to prove discrimination or
arbitrariness in the imposition of the death penalty. Respondent
reasons that the Supreme Court’s rejection of the Baldus study, which
was extensive, complex, and sophisticated, particularly given the
size of the disparities found in the rates in which the Georgia death
penalty was imposed, leads to the conclusion that statistical
evidence of discrimination or arbitrariness must far exceed that
offered in McCleskey to constitute a pattern of discriminatory impact
or a constitutionally significant risk of race bias affecting the
capital sentencing process. Respondent contends that the evidence
submitted by petitioner in this case -- a mere one page chart listing
thirteen capital cases tried in Sacramento County between 1978 and
1987 -- falls far short of that submitted in either McCleskey or
Harris.

Respondent contends that petitioner has failed to present a
colorable factual basis in support of his claim of discriminatory

163

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 169 of 267

prosecution or to establish the right to an evidentiary hearing.
Citing Williams v. Calderon, 52 F.3d 1465, 1484 (9th Cir. 1995),
respondent asserts that a hearing is not appropriate even if the
court assumes that petitioner's factual allegations are true, if this
court concludes that petitioner cannot establish error or prejudice.
In assessing the need for an evidentiary hearing, respondent urges
the court not to accept as true or consider allegations that are
conclusory, vague, or irrelevant and to consider only allegations
supported by specific references to the state trial record or by
competent evidence such as affidavits, declarations, and reliable
exhibits. Respondent observes that petitioner has not identified
with specificity any evidence to be presented at an evidentiary
hearing where he would be required to show that the decisionmakers in
his case acted with discriminatory purpose. Respondent argues as
well that, even if it is true that eleven of thirteen victims were
white in capital offenses in Sacramento County during a nine-year
period, that fact does not establish purposeful discrimination
against petitioner and does not present a colorable showing that
racial considerations actually entered into his prosecution.

In conclusion, respondent asserts that the defense motion
was not based on specific evidence that the death penalty was imposed
in petitioner’s case as a result of a discriminatory purpose and that
the trial court’s ruling on the motion was therefore correct. For
these reasons, respondent argues, petitioner was not denied his
// fff
SII ff

164

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 170 of 267

rights to due process and equal protection, and summary judgment
should be granted for respondent on Claim Q.*

Petitioner opposes respondent’s motion for summary judgment

on the ground that it is premature. (Opp’n & Cross-Mot. for Summ. J.
at 204-06.) Petitioner agrees that under McCleskey and Harris he

cannot prevail on his claim of racially discriminatory imposition of
the death penalty unless he shows that the decision to prosecute him
was based on the victim’s race. Petitioner claims he did the best he
could with what was available, i.e., he showed that in other capital
cases during the same period as his case, the same office had
obtained death sentences almost exclusively in cases where the
victims were white. Petitioner contends that this evidence leads to
a reasonable inference that the race of the victim was a motivating
force in the decision to seek the death penalty against him.
Petitioner concedes that his evidence was not sufficient to amount to
actual proof of the influence of race but argues that it was
sufficient “to prove racial influence lay in the hands of the very
agencies who were being challenged for bias.” (Id. at 205).
Petitioner argues that it was the lack of actual proof that led him
to seek the aid of the fact-development processes of the state trial
court and that the denial of those processes is the reason why such
processes are required in this court before the claim is ripe for

summary judgment or an evidentiary hearing. Petitioner states that

 

*5 Respondent again argues that any relief granted for

petitioner on this claim would depend on a new rule that may not be
applied to petitioner under Teague v. Lane.

165

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 171 of 267

discovery has been authorized concerning prosecuting agencies’
capital case standards in at least two other habeas cases in the
Bastern District. (Id. at 206 (citing Belmontes v. Calderon, CIV S-
89-0736 DFL JFM (San Joaquin County district attorney), and Grant v.
Vasquez, CIV S-90-0770 DFL JFM (Shasta and San Bernardino County
district attorneys)).)

Petitioner seeks to distinguish his case from McCleskey and
Harris by asserting that there are significant differences between
the showing made in this case and those made in McCleskey and Harris.
Petitioner notes that the showings in the latter cases involved
statewide statistics, while petitioner’s deals with a single local
prosecuting agency over the same time period as his own case.
Petitioner argues that, while it made little sense in McCleskey and
Harris to infer from statewide statistics that bias was operating in
a particular local agency, it makes sense in this case to draw
inferences from the conduct of the very agency responsible for
prosecuting petitioner. (Id. at 206.)

In reply, respondent maintains that summary judgment is
proper because statistical disparity is insufficient to establish a
constitutional violation. Respondent renews his contention that
petitioner’s motion was properly denied because it was based solely
upon statistical disparity and the sole purpose of the requested
continuance and funding was to present statistical evidence to the
state trial court. Respondent argues that petitioner's attempts to
distinguish his case factually from McCleskey and Harris are
// f/f

166

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 172 of 267

unavailing because the legal principles of those cases foreclose
petitioner’s claim. (Resp’t’s Reply at 30-31.)

In reply to respondent’s reply, petitioner asserts that
there are no disputed issues of material fact on Claim Q, that the
claim is ripe for resolution, and that summary judgment should be
granted in petitioner’s favor for the reasons alleged in the amended
petition. (Pet’r’s Reply at 52.) However, at oral argument,
petitioner’s counsel cited Claim Q as a claim requiring further
factual development and possibly an evidentiary hearing if further
factual development is permitted. (Tr. of Oral Argument Heard July
10, 2001, at 20.) Respondent argued that the issue is primarily a
legal one and that it is unnecessary to get to “the ultimate
evidence” if this court agrees that petitioner failed to make a
sufficient showing in the trial court to require the court to
exercise its discretion in favor of discovery. (Id. at 39-40.)

It bears repeating that petitioner’s federal habeas claim
is that the state trial court violated petitioner’s constitutional
rights by rejecting a defense claim that the death penalty was
discriminatorily imposed on the basis of the race of petitioner’s
victim and by denying the defense requests for an evidentiary
hearing, a continuance, and funds for an expert witness.
Accordingly, this court’s analysis must begin with an examination of
the defense motion and requests and the trial court’s ruling on them.

On January 6, 1987, the jury rendered a verdict imposing
the death penalty on petitioner, and the case was set for further
proceedings on January 13, 1987. (CT at 1556-58.) All matters,

167

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 173 of 267

including judgment and sentencing, were subsequently continued to
March 12, 1987. (CT at 1561.) On March 4, 1987, defense counsel
filed a motion titled “Motion for Evidentiary Hearing Prior to
Judgment and Sentencing.” (CT at 1565.) The purpose of the motion
was stated as follows:

the defendant David Anthony Breaux will

move this Court for an evidentiary hearing on his
contention that the death penalty is imposed
discriminatorily because, with all other things
being equal, white victim crimes are more likely
to result in the death penalty. .

Mr. Breaux will further move this Court for
a continuance in judgment and sentencing for a
minimum of 390 days and for $3,750 for expert
consultant fees in order to prepare Mr. Breaux’s
effort to persuade this Court that the death
penalty is discriminatorily imposed in white
victim crimes.

(CT at 1565-66.) The motion was supported by the following brief
points and authorities:

California Constitution; United States
Constitution, Eight [sic] and Fourteenth
Amendments (Equal Protection and Due Process of
Law); McCleskey v. Kemp, 753 F.2d 877 (11th Cir.
1985), cert. granted, 92 L.Ed.2d 737 (7/7/86).

(CT at 1566.) The motion was also supported by defense counsel’s
declaration on information and belief that the victim in this case
was white and

there is (a) a significant statistical
relationship between the imposition of the death
penalty in California in general, and Sacramento
County in particular, and in cases in which the
crime victim is white, and (b) this statistical
relationship is the result of the
unconstitutional impact of the race of the white
crime victims.

//T//

168

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 174 of 267

(CT at 1566.) Counsel declared that he had spoken with Edward J.
Bronson, who was capable of acting as an expert consultant and
preparing the defense for a McCleskey motion, and that Mr. Bronson
was available to work as a consultant in the case. (CT at 1566-67.)

Counsel’s declaration cites two exhibits submitted with the
motion for evidentiary hearing: Exhibit A, a letter dated February
20, 1987, from Mr. Bronson to defense counsel, and Exhibit B, Mr.
Bronson's curriculum vitae. (CT at 1567-76.**) In the letter, Mr.
Bronson states his understanding that defense counsel’s “major
concern is that Mr. Breaux’s possible death sentence may be the
result of a discriminatory process, particularly the race of the
victim,” and that “[eJarlier motions in the case raised the issue of
arbitrariness, focusing on the apparent standardless charging process
of the Sacramento District Attorney’s Office by way of a discovery
motion.” (CT at 1569.) Mr. Bronson describes discrimination as “a
narrower attack” and discusses such an attack as follows:

The issue of discrimination in the

imposition of the death penalty was recently

argued before the United States Supreme Court in

McCleskey v. Kemp, a decision that could be

coming down at any time. In California the

Jackson case, raising similar issues, is now

pending before Justice Jefferson, who is taking

evidence on the discrimination claim, sitting as

a special master.

If discrimination in the administration of
the death penalty can be demonstrated, I assume

the courts will be willing to strike it down.
However, Since discrimination, if it exists, is

 

“© The letter from Mr. Bronson appears first in the record but

is preceded by a cover page indicating “Exhibit ‘B.’” (CT at 1568-
70.) Mr. Bronson’s curriculum vitae appears second but is preceded
by a cover page indicating “Exhibit ‘A.‘” (CT at 1571-76.)

169

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 175 of 267

hardly likely to be avowed, it must be proved
empirically in a proper evidentiary hearing.
That is not a simple matter.

First of all, one cannot prove
discrimination by reference to a single case
before the court; one must demonstrate the
discrimination by showing a pattern (except in
unusual situations like Wheeler). However, mere
disproportion is not a sufficient showing, as it
might well be in a jury compositional challenge.
Therefore, the second requirement would be to
show that the disproportion cannot be explained
by non-discriminatory reasons.

Among other factors, one should examine such
matters as number of victims, prior record of the
defendant, relationship of the victim and the
accused, etc.

The pool to be surveyed is not just those
capitally charged, but those capitally eligible
in Sacramento over a period of time, five to
seven years.

While there is a large body of research that
demonstrates that there is discrimination,
especially based on the race of the victim, the
research has all been done outside of California.
Oddly enough the Bureau of Criminal Statistics of
the Department of Justice, which collects a
tremendous amount of data, has never cross
tabulated the data on victims and offenders.
Thus, there is a good deal of information on
offenders and on their victims, but nothing to
connect the two groups.

I have testified on this issue before (in
San Diego), but given the lack of good data, the
argument tends to be demonstrated inferentially
(discrimination) rather than directly.

If the judge in Breaux is willing to
consider evidence on this issue, then I would
propose a two- or three-stage process. The first
stage would be [to] determine what sources are
available to undertake the collection of the
necessary data, the extent to which that
information is open to me, and its usability.
Such sources would include District Attorney
files, including their homicide log; Public
Defender files; police and probation reports; and
newspapers. At that point I could report back to
the court on the feasibility of such a study, and
its cost.

Such an approach would avoid an undesirable
open-ended commitment, in time and money, from

170

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 176 of 267

the court. If the study does prove feasible, I
could report back to the court with a preliminary
research design and an estimate of time and cost.
Progress reports could also be included.

(CT at 1569-70.)

When the motion was argued on March 12, 1987, defense
counsel submitted an additional exhibit that was made a part of the
record as Exhibit C to the motion. (RT at 7471; CT at 1577.)
Counsel described the exhibit as “a one-page sheet that purports to
be a compilation of all death penalty verdicts rendered in this
county since the law was changed in 1978.” (RT at 7471.) Counsel
explained the exhibit and argued as follows:

That sheet breaks down by race and cites the
victims in each of those cases. While I don’t
pretend to this Court to be any expert in knowing
exactly whether this is precisely all the cases,
to the best of my information and belief it is
with one exception. It does not include the name
of Gerald Gallego, and if it did, it would note
that the race of the victim, the two victims in
that case were also white.

As the Court can see, there is no exceptions
[sic] other than one, which is the case involving
Steven Ainsworth. All of the victims are all
white in each and every case that I am aware of
that has resulted in a death verdict in this
county, and I would point out to the Court it
simply buttresses the assertion made in the
declaration in support of the motion that there
appears to be an appropriate factual basis to
conduct an evidentiary proceeding to explore
whether or not the province recited in the
Baldwin [sic] study that is discussed in detail
in the McCleskey opinion.

That’s the first point I wanted to make is
simply to have this sheet noted as part of our
record.

The second thing is, as the Court indicated
to us in chambers its tentative feelings about
this motion and it noted a California opinion
with which I was not familiar that the Court said

171

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 177 of 267

would be inconsistent with the position taken by
Mr. Breaux, I point out only the obvious, without
having read that opinion, and that is that the
U.S. Supreme Court is the final arbiter of the
federal constitution, and McCleskey is before the
U.S. Supreme Court based upon a very divided
Court of Appeals decision.

If the Court has read McCleskey, I am sure
it has, it noted that there are eight separate
opinions within that one citation and that
literally not one Associate Justice joined in the
lead opinion without qualification, and while
there is a majority in favor of denying the writ
filed by Mr. McCleskey, it is only stating the
obvious to say that the Court was real divided in
its feelings about Mr. McCleskey and McCleskey’s
contentions. Those factual contentions in that
opinion have virtually nothing to do with the
State of California, and the reason that we filed
the motion the way we have is that we are not
suggesting to this Court that we know for a fact
there is a problem. What we do know, we ask this
Court to acknowledge, is there seems to be a
strong basis upon which to go forth with the
study. If in fact this law is applied in the way
that it’s somehow deflected because of the race
of the victim, in the words noted even by the
lead opinion in McCleskey, the entire statute and
its application may be unconstitutional. The
only way to intelligently get at that is to study
this county and this state, and that’s exactly
what Dr. Bronson is available to do, and while he
is not the end all in this matter -- it’s certain
that the People would want their own person
involved in this, he is the logical and
appropriate basis to begin.

I know the Court has read the motion, so
this is only repeating what it has a copy of,
but, again, we are not asking the Court to make
any ultimate ruling about what it should do. We
are simply asking for an opportunity to prepare
for an evidentiary hearing, and that takes time
and a modest amount of money, and that’s what we
are here asking this Court to do.

(RT at 7471-73.)

 

Exhibit C to the defense motion for an evidentiary hearing
bears the date of February 18, 1987, is titled “Sacramento County

172

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 178 of 267

Venue Death Judgments,” and is subtitled “Race of Defendants/Race &
Gender of Victims.” A footnote indicates that this list includes
four cases in which venue was changed to Sacramento but does not
include two cases in which venue was changed from Sacramento. The
list presents the names of thirteen defendants, all of whom appear to
be male. Six of the defendants are identified as white, four as
black, two as Hispanic, and one as Native American. Ten of the
twenty victims*’ are identified as white females and eight as white
males. One victim is identified as an Asian female and one as a
Hispanic male. (CT at 1577.)

The prosecutor opposed the motion for evidentiary hearing
on the grounds that defense counsel had not made a sufficient factual
showing and that the motion was untimely:

The issue that Counsel says he believes
applies in this case would have been an issue
that has existed, if it exists at all, for years,
and I would submit that the motion factually
should be denied. There is no support for it.
Dr. Bronson doesn’t say he can really even do
such a study. He says in his letter that he
would like to avoid an undesirable open ended
commitment in time and money, and I would submit
that at this point in time the Court should go
forward with the sentencing of the defendant and
Simply deny the motion. It’s inappropriate.

Both the victim and the defendant are white.

Race was not an issue at all in this case. There
was no indication whatsoever that race was an
issue. There was no allegation of that at any
time. There have been numerous motions litigated
in the case, including a recusal motion, and no
such allegations were ever made by the defense,
so I question the timing and the motive of the
motion other than it’s [a] delaying tactic, and I

 

‘” Six victims are shown for one defendant and two each for two

other defendants.

173

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 179 of 267

would submit that factually the motion should be
denied.

(RT at 7473-74.)

In response, defense counsel noted that certiorari was not
granted in McCleskey until July 6, 1986, while the information was
filed in the Breaux case in July of 1984 and the death verdict was
not rendered until January of 1987. (RT at 7474.) Defense counsel
denied that the motion was brought for the purpose of delay, argued
that an earlier-filed motion would have been opposed as premature,
and disputed the contention that McCleskey was inapplicable. (Id. at
7474-75.)

After hearing the parties’ arguments, the trial court
addressed the motion for evidentiary hearing as follows:

First, the granting of a certiorari by the
Supreme Court does not have the effect of
changing the law. It has been held in other
cases that the granting of certiorari is not the
grounds for a trial court to grant any relief.
Specifically, it has been held that it’s an abuse
of discretion for a trial court to grant relief
based on the granting of certiorari where it’s
looking for it by the Supreme Court is the thing
to do [sic].

There are several cases that have raised the
issues that have come up in McCleskey, and,
frankly, the circuits are going in several
directions. However, you do have the case of
Wicker against McCotter, which I think is a Fifth
Circuit case, 1986, 798 Federal 2nd 155. The
Court there held where the petitioner was white
and also the victim was white, that the
petitioner failed to state a claim for relief on
the ground he was denied legal protection because
the death penalty in Texas here was imposed in
race of the victim [sic], specifically saying
that the discussions in McCleskey do not apply
when you have both the victim and the defendant
who is white.

174

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 180 of 267

I‘d like to say also that in People against
Allen -- see if I can find the citation on that.
That's 42 Cal. 3rd 1222, a 1986 decision of the
California Supreme Court that held that what they
called “intercase” proportionality review is not
required. This also indicates because of the
rationale in that particular case that was done,
McCleskey would not be applicable in California
under the California law.

I want to say that I have also read and
considered Moore against Blackburn, which is a
1986 case, 806 Federal 2nd 560. It cited some of
the studies in this particular area.

Of course, in the Federal Supreme Court at
this time, Pulley against Harris has held that
the federal constitution was not ina fair
proportionality review [sic].

Based on the cases that I have read in the
matter, it appears to me that there is not a
sufficient showing here that it is proper to
grant the motion or for a continuance, and the
motion is thus denied.

(RT at 7475-76.) After the court made its ruling, defense counsel
clarified for the record that Dr. Bronson was available and prepared
to go forward with the proposed study. (RT at 7476-77.)

This record demonstrates conclusively that the defense
motion did not present the trial court with a fully developed claim
that the death penalty was discriminatorily imposed upon petitioner
on the basis of the race of his victim. The defense merely
speculated that “all other things being equal, white victim crimes
are more likely to result in the death penalty” in California, and on
that ground sought a continuance and funding to hire an expert to
study the matter in preparation for an evidentiary hearing. (CT at
1566.) Defense counsel freely admitted during oral argument that the
factual contentions in the Eleventh Circuit case relied upon by
defendant “have virtually nothing to do with the State of California”

175

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 181 of 267

and that “the reason that we filed the motion the way we have is that
we are not suggesting to this Court that we know for a fact there is
a problem.” (RT at 7472.) Counsel spoke of the need to “explore”
the matter and urged the court to agree that there “seems to be a
strong basis upon which to go forth with the study” because the “only
way to intelligently get at” possible discrimination in imposing the
death penalty “is to study this county and this state.” (RT at 7471-
73.) Indeed, counsel stated, “[W]e are not asking the Court to make
any ultimate ruling about what it should do. We are simply asking
for an opportunity to prepare for an evidentiary hearing ... ."

(RT at 7473.)

The expert selected by the defense also recognized the
speculative nature of the proposed study. He cited defense counsel’s
“concern” that petitioner’s possible death sentence “may be the
result of a discriminatory process” and referred to “discrimination,
if it exists.” (CT at 1569.) The expert cautioned that “mere
disproportion is not a sufficient showing” and described the need to
survey “not just those capitally charged, but those capitally
eligible in Sacramento over a period of time, five to seven years,”
along with the need to consider various distinguishing factors in the
cases. (CT at 1569-70.) The tentative and preliminary nature of the
defense contention is further demonstrated in the expert’s statements
that the research demonstrating discrimination had all been done
outside of California, that there was a lack of good data in
California, and that his first task would be to determine the
feasibility of conducting a study of discrimination in the state and

176

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 182 of 267

in Sacramento County in particular. The expert suggested that, if he
determined that such a study was feasible, he would then draw up “a
preliminary research design and an estimate of time and cost” for the
court's consideration.*® (CT at 1570.)

The record establishes that the state trial court did not
rule on the merits of a claim of discrimination. The court denied
only the motion that was before it, finding that the defense had made
an insufficient showing to warrant either an evidentiary hearing or a
continuance. The trial court properly declined to speculate on what
the Supreme Court's ruling might be in McCleskey and noted that the
federal circuit courts were not in agreement on the issues raised in
that case.

The trial court cited Wicker v. McCotter, 798 F.2d 155 (Sth
Cir. 1986), in which it was held that the white defendant failed to
present a factual issue warranting an evidentiary hearing on his
equal protection claim based on allegations that prosecutors in Texas
are more likely to charge a defendant with capital murder when the
victim is white and that a defendant tried in Texas for the murder of
a white person is more likely to be convicted and sentenced to death
than a defendant charged with the murder of a person of another race.

798 F.2d at 157.

T//T/

 

“© It appears that when the prosecutor said “Dr. Bronson

doesn’t say he can really even do such a study,” he was not referring
to Dr. Bronson’s availability or willingness to do a study but was
instead referring to Dr. Bronson’s indication that he would begin by
determining whether a study was feasible.

177

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 183 of 267

The trial court also cited Moore v. Blackburn, 806 F.2d 560
(Sth Cir. 1986), in which the appellate court denied the petitioner’s
application for a certificate of probable cause to appeal the denial
of his third federal habeas petition. One of the petitioner's claims
was that the death penalty is discriminatorily applied in Louisiana.
806 F.2d at 563. Petitioner sought reconsideration based on two
studies that purported to show a greater probability for imposition
of the death penalty where the victim of the crime is white. The
Fifth Circuit cited its previous decision that no evidentiary hearing
was warranted because the statistical tables failed to take into
account the statutory aggravating circumstances and were therefore
incomplete. 806 F.2d at 564 n.6. The court ruled that the
petitioner’s inadequate studies failed to bring his claim within the
“ends of justice” exception to the bar against successive petitions.
806 F.2d at 564.

In addition, the trial judge cited People v. Allen, 42 Cal.
3d 1222 (1986), in which the California Supreme Court considered
whether the state’s death penalty statute is unconstitutional for
failing to require intercase proportionality review. 42 Cal. 3d at
1285-88. The state's highest court rejected the argument that equal
protection principles mandate application of California's disparate
sentencing statute to capital cases. The court found that the
disparate sentencing statute was adopted to promote uniform sentences
in the context of California’s determinate sentencing law, while in
capital cases
Sh / tf

178

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 184 of 267

the jury has ultimate responsibility for
determining if death is the appropriate penalty
for the particular offense and offender. In
exercising this essentially normative task, it
may apply its own moral standards to the
aggravating and mitigating evidence presented.
It may reject death if persuaded to do so on the
basis of “any constitutionally relevant evidence
or observation.” Thus, the “evidence or
observation[s]” that persuaded juries in
apparently “comparable” cases not to assess the
death penalty may not be immediately apparent
from the record. Under these circumstances, the
Legislature could properly conclude that
superficial factual similarities among capital
cases with opposite sentencing results establish
no presumption that the cases in which the more
severe sentence was imposed are “disparate.”

Id. at 1287-88 (citations omitted). In Pulley v. Harris, 465 U.S. 37
(1984), also cited by the state trial court, the United States
Supreme Court had reached the same conclusion, holding that
California’s death penalty scheme was not rendered unconstitutional
by the absence of a provision for proportionality review. See 465
U.S. at 43-44 (ruling that the Eighth Amendment does not require
California appellate courts to compare a particular defendant’s death
sentence with the penalties imposed in similar cases to determine
whether the defendant’s penalty is disproportionate to the punishment
imposed on others convicted of the same crime) .

This record does not support a conclusion that the state
trial court violated any of petitioner’s federal constitutional
rights by denying the defense motion for an evidentiary hearing and a
continuance. Legally, the motion was supported only by broad
constitutional principles and an Eleventh Circuit case in which the
defendant's petition for certiorari had been granted. In McCleskey,

179

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 185 of 267

the Eleventh Circuit had reversed the district court’s order granting
habeas relief and held, inter alia, that (1) “proof of a disparate
impact alone is insufficient to invalidate a capital sentencing
system, unless that disparate impact is so great that it compels a
conclusion that the system is unprincipled, irrational, arbitrary and
capricious such that purposeful discrimination-1.e., race is
intentionally being used as a factor in sentencing-can be presumed to
permeate the system”; (2) increased likelihood of a death sentence
for a white victim crime is not sufficient to overcome the
presumption that the state’s death-sentencing process is operating in
a constitutional manner; and (3) the statistical studies offered by
the petitioner were insufficient to show that his sentence was
determined by the race of his victim or even that the race of his
victim contributed to the imposition of the penalty in his case.
McCleskey v. Kemp, 753 F.2d 877, 892, 897, 898 (llth Cir. 1985),
aff'd, 481 U.S. 279 (1987). The Eleventh Circuit's conclusions
provided no legal support for the defense motion in this case.
Factually, the defense motion was founded on mere
speculation and supported by scanty information about fourteen cases
in which the death penalty had been imposed in Sacramento County
Since 1978. Exhibit C to the defense motion indicates the race of
each defendant and each victim, but little else. The list does not
account for the distinguishing factors identified by Mr. Bronson as
ones that should be examined, such as the prior record of the
defendant and the relationship between the victim and the accused.
Nor did the defense attempt to place the listed cases in the context

180

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 186 of 267

of all cases that were capitally eligible during the same time
period. The defense proffer failed to provide a basis for the
speculation that “all other things being equal, white victim crimes
are more likely to result in the death penalty” in Sacramento County.

On this record, the court finds that the state trial court
did not err in denying the defense motion for an evidentiary hearing
and a continuance. Respondent is therefore entitled to summary
judgment on petitioner's claim of trial court error.

To the extent that Claim Q alleges discriminatory
application of the death penalty apart from a claim of trial court
error, petitioner has not supported such a claim with evidence other
than that previously presented. Even if this court were to deem
petitioner's list of thirteen Sacramento County cases, as augmented
by the additional name provided at the hearing of petitioner's
motion, to be an indication of a discrepancy that correlates to race,
the discrepancy is insufficient to support an inference that the
decisionmakers in petitioner’s case acted with a discriminatory
purpose. Cf. Belmontes, 350 F.3d at 892-94 (expert report analyzing
prosecutors’ charging decisions in 122 death-eligible homicides
committed in San Joaquin County over a nine year period which coded
data for over 450 variables and reflected the results of numerous
logistic regression tests found to support a prima facie showing of
unlawful charging discrimination). Absent evidence of discriminatory
purpose, a petitioner cannot prevail on a claim of discriminatory
imposition of the death penalty. See McCleskey, 481 U.S. at 292-93,
312-13; Belmontes, 350 F.3d at 894-95; Jeffers v. Lewis, 38 F.3d 411,

181

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 187 of 267

419 (9th Cir. 1994) (en banc); Carriger, 971 F.2d at 334; Harris v.
Pulley, 885 F.2d at 1373-74. Petitioner is not entitled to an
evidentiary hearing on the issue because he has not alleged facts
which, if proved, would entitle him to relief. See Townsend v. Sain,
372 U.S. 293, 312-19 (1963). Petitioner’s claim of discriminatory
imposition of the death penalty, to the extent that petitioner has
alleged such a claim independent of his claim of trial court error,
should therefore be dismissed for failure to state a claim.
R. Prosecution’s Use of Peremptory Challenges

Petitioner alleges that his Fifth, Sixth, Eighth, and
Fourteenth Amendment rights were violated by the prosecution’s use of
peremptory challenges to exclude potential jurors who expressed
reservations about the death penalty. (Am. Pet. at 98-99.)
Petitioner claims the prosecutor used his peremptory challenges to
produce a jury that was uncommonly willing to condemn a man to death.
Petitioner objected during jury selection to the use of peremptory
challenges to excuse prospective jurors who expressed reservations
about the death penalty, but the trial court overruled the objection
on the ground that such persons are not a cognizable group.
Petitioner alleges that such persons are a cognizable group which
cannot be unfairly excluded from the jury and that the prosecution's
misuse of peremptory challenges deprived him of his rights to due
process and equal protection of the law, to trial by a fair and
impartial sentencer, to not be arbitrarily deprived of life and
liberty interests under state law, and to a fair, reliable,
individualized, nonarbitrary, and adequately guided determination

182

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 188 of 267

that death was the appropriate penalty according to the conscience of
the community.

Respondent denies that the prosecutor used peremptory
challenges to obtain a jury which was impermissibly biased in favor
of a death verdict and disputes petitioner’s contentions. Respondent
asserts that petitioner is not entitled to an evidentiary hearing on
this claim because it was the subject of a hearing before the trial
court and a decision on appeal. Respondent contends that he is
entitled to summary judgment because petitioner was not denied the
right to a fair and impartial trial. Respondent seeks judgment in
his favor on the basis of the material undisputed facts included in
the trial record of voir dire and the defense motion to dismiss the
jury panel due to alleged discriminatory use of peremptory
challenges. (Alt. Mot. for Summ. J. at 160-66.)

Respondent notes that the defense motion to dismiss the
jury panel alleged discrimination based on race as well as
discrimination based on reservations about the death penalty. The
motion was directed at peremptory challenges exercised with respect
to at least eleven prospective jurors. (Id. at 161-62 & 162 n.86
(citing RT at 4139-42 & 4164-70).) The prosecutor denied that he had
excused any prospective juror solely due to the person’s feelings
regarding the death penalty. As to each minority prospective juror
named by defense counsel, the prosecutor stated reasons for excusing
each person that were independent of the person’s race or ethnic
background and also independent of the person’s attitude toward the
death penalty. The prosecutor stated his reasons for excluding some,

183

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 189 of 267

but not all, of the non-minority prospective jurors cited by the
defense as having objections to the death penalty. (Id. at 162
(citing RT at 4169-70 & 4175-84).) The trial court found that people
“leaning” against the death penalty were not a cognizable group.

(Id. (citing RT at 4170-71.) On appeal, the California Supreme Court
denied this claim on legal grounds, citing cases in which that court
had previously found no constitutional violation for the alleged
defect: People v. Gordon, 50 Cal. 3d 1223, 1263 (1990); People v.
Turner, 37 Cal. 3d 302, 313-15 (1984). (Alt. Mot. for Summ. J. at
162 (citing Breaux, 1 Cal. 4th at 321).) In Gordon, the court found
no constitutional infirmity in permitting peremptory challenges by
both sides on the basis of specific juror attitudes on the death
penalty:

While a statute requiring exclusion of all jurors

with any feeling against the death penalty

produces a jury biased in favor of death, we have

no proof that a similar bias arises, on either

guilt or penalty issues, when both parties are

allowed to exercise their equal, limited numbers

of peremptory challenges .. . against jurors

harboring specific attitudes they reasonably

believe unfavorable.

50 Cal. 3d at 1263 (quoting Turner, 37 Cal. 3d at 315, and noting
omission of citations).

Respondent argues that peremptory challenges, which are not
required by the Constitution, are a means to achieve the end of an
impartial jury and can ordinarily be exercised by either side without
stating a reason. (Alt. Mot. for Summ. J. at 163-64 (citing Gray v.
Mississippi, 481 U.S. 648, 653 (1987); Swain v. Alabama, 380 U.S.

202, 220 (1965)).) Respondent contends that the Sixth Amendment

184

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 190 of 267

requirement of a fair-cross-section on the venire is another means of
assuring an impartial jury and is not a guarantee of a representative
jury. (Id. at 164 (citing Holland v. Illinois, 493 U.S. 474, 480
(1990)). Moreover, respondent argues, women and certain racial
groups are the only groups that have been recognized by the Supreme
Court as distinctive for purposes of determining whether a defendant
has been deprived of a cross-sectional or unbiased jury. (Id. at 164
(citing Holland, 493 U.S. at 478-85; Lockhart v. McCree, 476 U.S.
162, 177 (1986)).) Respondent asserts that the removal of
prospective jurors for cause based on their attitudes about the death
penalty does not deprive a defendant of a cross-sectional or unbiased
jury, and a prosecutor’s use of peremptory challenges to eliminate a
distinctive group in the community does not deprive the defendant of
the Sixth Amendment right to the fair possibility of a representative
jury. (Id. at 164 (citing McCree, 476 U.S. at 176-78, and Holland,
493 U.S. at 478).) Respondent concludes that the Supreme Court has
squarely rejected petitioner’s claim concerning peremptory challenges
and that summary judgment in his favor should be granted on this
claim.

In opposition, petitioner contends that he is entitled to
summary judgment on his claim that the prosecutor committed
constitutional error by using peremptory challenges to remove jurors
who expressed reservations about the death penalty insufficient to
permit them to be excluded for cause. Petitioner states that his
claim alleges two alternative theories, with the first theory being
that “the prosecutor’s actions violated the Constitution’s fair-

185

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 191 of 267

cross-section requirement insofar as those actions resulted in the
exclusion of a cognizable group.” (Opp'n & Cross-Mot. for Summ. J.
at 206-07.) Petitioner concedes that this ground for relief is
precluded by the Supreme Court’s decisions in Lockhart v. McCree and

Holland v. Illinois. Petitioner’s second theory is that the

 

prosecutor’s actions “also violated due process, equal protection and
the Eighth Amendment because the prosecutor produced a jury that was
biased in favor of death.” (Opp'n & Cross-Mot. for Summ. J. at 207.)
Petitioner contends that he is entitled to summary judgment because
he “can show that peremptory challenges resulted in a jury biased in
favor of death under the due process clause and the Highth
Amendment.” (Id. at 208.)

In support of his alternative theory, petitioner relies on
Witherspoon v. Illinois, 391 U.S. 510 (1968), in which the Supreme
Court said that a jury from which all persons with reservations about

the death penalty have been excluded is “a jury uncommonly willing to

condemn a man to die,” “a tribunal organized to return a verdict of
death,” “a hanging jury,” and a jury in which the scales are
“deliberately tipped toward death.” 391 U.S. at 521, 522 n.20, 523.

The Supreme Court concluded that the integrity of the process that
decided the defendant’s fate was necessarily undermined by such a
jury and that to execute a death sentence against the defendant in
that case would deprive him of his life without due process of law.
Id. at 523. Petitioner admits that these pronouncements were made in
a case in which prospective jurors had been improperly excluded from
the jury by means of challenges for cause rather than by peremptory

186

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 192 of 267

challenges. Petitioner argues that the distinction is “of no moment,
given what is at stake,” and that it cannot matter how the jury came
to be a jury uncommonly willing to condemn a man to die. (Opp’n &
Cross-Mot. for Summ. J. at 208-09.) Petitioner asserts that his jury
was as fundamentally skewed as the jury in Witherspoon and that the
Constitution cannot be deemed to tolerate a death sentence imposed
under such circumstances.

Petitioner dismisses respondent’s reliance on Lockhart v.
McCree, asserting that respondent has misstated the ruling of the
case. Petitioner asserts that in Witherspoon the Supreme Court
determined that a jury was biased at the penalty phase if stripped of
jurors who were skeptical of the death penalty but who could judge
each case on its merits. In McCree, petitioner argues, the Court
merely answered the question left open in Witherspoon, determining
that the exclusion of such jurors did not produce a biased jury at
the guilt phase. McCree, 476 U.S. at 165. Petitioner argues that no
decision of the Supreme Court has rejected or cut back on the holding
in Witherspoon that a jury culled of persons skeptical of the death
penalty but able to judge the case on its merits is constitutionally
biased for purposes of the penalty phase of trial. Petitioner
asserts that it is this principle upon which he relies in seeking
summary judgment in his favor on Claim R.

Respondent counters that petitioner’s alternative argument
is meritless. Respondent asserts that in McCree the Supreme Court
did in fact hold that “death qualification” does not violate the
right to an impartial jury. 476 U.S. at 176-78. Respondent also

187

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 193 of 267

contends that petitioner’s argument goes well beyond the holding of
Witherspoon, in which the Court decided that excusing individual
prospective jurors for cause due to bias against the death penalty
violated the Sixth Amendment right to an impartial jury. Respondent
emphasizes that the Court did not decide in Witherspoon that
peremptory challenges based on bias against the death penalty would
also violate the Sixth Amendment. Respondent notes that there are
major constitutional differences between peremptory challenges and
excusals for cause and further observes that the Court’s
clarifications in Witt contradicted statements in Witherspoon
regarding the standard for excusals. Respondent argues also that
petitioner’s Eighth Amendment claim concerning bias at the penalty
phase of his trial cannot be sustained on the basis of the decision
in Witherspoon, which concerned the Sixth Amendment, because doing so
would constitute a new rule barred by Teague v. Lane.

Respondent contends that, aside from the legal merits,
petitioner's alternative argument lacks factual support because the
evidence does not show that petitioner’s jury was biased. Respondent
points to the trial court’s determination that the prosecutor had not
discriminated on the basis of prospective jurors’ views on the death
penalty.

In reply, petitioner reiterates both his argument that a
jury stripped of all persons with even the slightest skepticism about
the death penalty is a “hanging jury” and his argument that McCree is
inapplicable to this case because it did not concern the composition
of the penalty phase jury. Petitioner denies that a ruling in his

188

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 194 of 267

favor on Claim R would violate Teague, arguing that such a ruling
would not constitute new law in light of Witherspoon and Batson v.
Kentucky, 476 U.S. 79 (1986). Petitioner argues in the alternative
that the Teaque exception for watershed rules of criminal procedure
would apply.

The court turns first to respondent’s assertion that Claim
R lacks factual support. Respondent has pointed to the state court
record of voir dire and the defense motion to dismiss the jury panel
due to alleged discriminatory use of peremptory challenges based on
prospective jurors’ race or opposition to the death penalty. The
prosecutor denied having excused any prospective juror solely due to
the person's feelings about the death penalty. As to each
prospective juror who was a member of a minority group, the
prosecutor stated reasons independent of the person’s race or ethnic
background, and independent of the person's attitude toward the death
penalty, for excusing the person. The prosecutor also stated reasons
for excluding each of the non-minority prospective jurors cited by
the defense as having stated objections to the death penalty. (RT at
4139-42, 4162-89.) The trial court determined that the prosecutor
did not exercise his peremptory challenges for the purpose of
excluding a constitutionally cognizable group, that petitioner failed
to make a prima facie showing of discrimination on the basis of race
or ethnicity, and that the prosecutor provided adequate reasons to
rebut any inference of discrimination that might be drawn with regard
to his exercise of peremptory challenges. (RT at 4170-71, 4184,
4189.)

189

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 195 of 267

The court finds that in moving for summary judgment
respondent has carried his burden of pointing to those parts of the
record that support his contentions with respect to this claim. The
burden shifts to petitioner. See Matsushita Elec. Indus. Co., 475
U.S. at 586. Petitioner has not pointed to evidence of
discrimination or bias and has not demonstrated that the prosecutor
used peremptory challenges to obtain a jury that was biased in favor
of a death verdict. In the absence of factual support for Claim R,
petitioner is not entitled to judgment in his favor.

Even if petitioner were to come forward with factual
support for Claim R, it would be unavailing because the claim is
based on a legal theory that lacks merit. Petitioner relies on
language contained in Witherspoon v. Illinois, 391 U.S. 510 (1968),
in which the Supreme Court held that the State violates a capital
defendant’s right under the Sixth and Fourteenth Amendments to trial
by an impartial jury when it excuses for cause all members of the
venire who express conscientious objections to capital punishment.
391 U.S. at 518, 521-22; see also Wainwright, 469 U.S. at 416.

The Supreme Court in Witherspoon addressed an Illinois
statute that permitted trial courts to excuse for cause any juror
that had qualms about the death penalty. 391 U.S. at 512-13. As
petitioner concedes, the Court did not address the use of peremptory
challenges to exclude such prospective jurors. Petitioner does not
cite any case, or indeed any legal principle, that justifies the
extension of Witherspoon’s holding to the exclusion of prospective
//ff/

190

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 196 of 267

jurors by peremptory challenge. Petitioner merely asserts that the
distinction is “of no moment, given what is at stake.”

Petitioner’s assertion flies in the face of the cases
discussing and applying the holding of Witherspoon as well as the
jurisprudence concerning jury impartiality and the exercise of
peremptory challenges. See, e.g., Adams v. Texas, 448 U.S. 38, 45
(1980) (describing Witherspoon and its progeny as a line of cases
establishing “the general proposition that a juror may not be
challenged for cause based on his views about capital punishment
unless those views would prevent or substantially impair the
performance of his duties as a juror in accordance with his
instructions and his oath”); Batson v. Kentucky, 476 U.S. at 89
(holding that a prosecutor is ordinarily entitled to exercise the
allotted number of peremptory challenges for any reason at all but
may not challenge potential jurors solely on account of their race);
McCree, 476 U.S. at 177-78 (rejecting an impartiality argument based
on the theory that excluding prospective jurors with a particular
viewpoint results in an impermissibly partial jury); Gray, 481 U.S.
at 652 n.3, 667-68 & nn. 17-18 (observing that “peremptory challenges
ordinarily can be exercised without articulating reasons,” unless a
defendant establishes a prima facie case of purposeful discrimination
in the prosecutor's exercise of those challenges); Morgan v.
Illinois, 504 U.S. 719, 731 (1992) (describing Witherspoon as “a
limitation of a State’s making unlimited challenges for cause to
exclude those jurors who ‘might hesitate’ to return a verdict
imposing death”); United States v. Annigoni, 96 F.3d 1132, 1138 n.8

191

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 197 of 267

(9th Cir. 1996) (en banc) (“[T]he sole restriction on the use of
peremptory challenges is that neither side may exercise a challenge
on the basis of the race, gender, or ethnicity of the challenged
juror.”). It is neither unconstitutional nor uncommon for a
prosecutor to use a peremptory challenge to remove a prospective
juror after having unsuccessfully challenged the person for cause on
the basis of his or her death penalty views. See Gray, 481 U.S. at
652 & 667-68. Cf. Ross v. Oklahoma, 487 U.S. 81, 85 (1988).

Petitioner has not provided factual or legal support for
Claim R. Respondent has carried his burden in pointing to portions
of the record that demonstrate the lack of a factual basis for the
claim and has shown that petitioner’s legal argument lacks merit.
Accordingly, petitioner’s motion for summary judgment should be
denied, and respondent’s motion should be granted on Claim R.

Ss. California Death Penalty Statutory Scheme

In this claim petitioner presents a sweeping constitutional
challenge to the 1978 California Death Penalty Law both on its face
and as applied to him at trial and on appeal. (Am. Pet. at 99-111.)
Specifically petitioner alleges that: (1) the penalty phase jury
instruction as to the consideration of aggravating and mitigating
factors was unconstitutionally vague; (2) the penalty phase jury
instruction as to Factor (b) aggravating factors was
unconstitutional; (3) California law allowing the prosecution to
relitigate the facts of his prior felony convictions as aggravating
evidence is unconstitutional; (4) the penalty phase instructions
improperly allowed the jury to double count his capital offense as an

192

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 198 of 267

aggravating factor under both Factor (a) and Factor (b); (5) to the
extent the 1978 California Death Penalty law permits the jury not to
be instructed that any aggravating factor relied upon must be
established beyond a reasonable doubt it is unconstitutional; (6) it
was constitutional error not to require the jury to designate the
aggravating factors relied upon; (7) it was constitutional error not
to require the jury to unanimously agree as to the aggravating
factors relied upon; (8) the penalty phase instruction failed to
adequately convey to the jury the meaning of “mitigation”; (9) to the
extent the 1978 California Death Penalty law invests the power of
sentencing to the District Attorney and fails to provide guidance
in making the decision of whether to seek the death penalty it is
unconstitutional; (10) to the extent the 1978 California Death
Penalty law fails to give prisoners sentenced to death the same type
of disparate sentence review afforded non-capitol felons it violates
the Equal Protection Clause of the Constitution; (11) the California
Supreme Court fails to provide fair and meaningful review in capital
cases in violation of the Constitution; (12) California law provides
no discernible, uniform standard by which a jury is to decide whether
to impose the sentence of death; (13) the 1978 California Death
Penalty law fails to narrow the class of offenders eligible for the
death penalty; and (14) petitioner’s death sentence predicated upon
the triple use of the felony-murder doctrine was unconstitutional.
(Id.)

Respondent has moved for summary judgment in its favor as
to each aspect of this claim. In his cross-motion for summary

193

 
10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 199 of 267

judgment petitioner seeks summary judgment in his favor while
conceding that under precedent binding on this court he is not
entitled to prevail as to several aspects of the claim. Below, the
court will address each subpart of this claim and will summarize the
arguments of the parties where necessary.
1. Jury Instruction Regarding Consideration of Aggravating and
Mitigating Factors
In his opposition and cross-motion (Opp’n & Cross-Mot. for
Summ. J. at 210) petitioner acknowledges that relief on this claim
has been foreclosed by the United States Supreme Court’s decision in
Tuilaepa v. California, 512 U.S. 967, 978 (1994). See also Williams
v. Calderon, 52 F.3d 1465, 1481-82 (9th Cir. 1995). Accordingly,
respondent is entitled to summary judgment on this sub-claim.
2. Jury Instruction as to Factor (b) Aggravating Factors
Likewise, petitioner acknowledges that relief on this claim
has also been foreclosed by the Supreme Court pursuant to Tuilaepa,
512 U.S. at 976-78. (Opp’n & Cross-Mot. for Summ. J. at 210.)
Accordingly, respondent is entitled to summary judgment on this sub-
claim as well.
3. Facts of Prior Felony Convictions as Aggravating Evidence
Petitioner concedes that the Ninth Circuit has previously
rejected the argument presented by this claim in McDowell v.
Calderon, 107 F.3d 1351, 1366 (9th Cir.), vacated in part on other

grounds on reh’g en banc, 130 F.3d 833 (9th Cir. 1997), and that this

 

court is bound by that decision. (Opp’n & Cross-Mot. for Summ. J. at

//tf/

194

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 200 of 267

210.) Accordingly, respondent is entitled to summary judgment on
this sub-claim.
4. Consideration of Petitioner’s Capital Offense as an
Agqgravating Factor Under Both Factor (a) and Factor (b)
Petitioner concedes that the Ninth Circuit has rejected

this argument in Gerlaugh v. Stewart, 129 F.3d 1027, 1044 (9th Cir.

 

1997), and that this court is bound by that decision. (Opp’n &
Cross-Mot. for Summ. J. at 211.) Accordingly, respondent is entitled
to summary judgment on this sub-claim.

5. Aqqravating Factors Relied Upon and Proof Beyond a

Reasonable Doubt
In this claim petitioner alleges that, in accordance with

California’s 1978 Death Penalty Law, the jury was not instructed that
any aggravating circumstance relied upon in imposing the death
penalty had to be established beyond a reasonable doubt. Indeed,
petitioner argues that the instructions failed to specify any burden
of proof or persuasion in this regard. (Am. Pet at 101-02.)
Respondent moves for summary judgment on this sub-claim, arguing that
because a jury may be given complete discretion in determining the
penalty once death-eligibility has been established (Tuilaepa, 512
U.S. at 979-80) claims regarding any burden of proof, written
findings or unanimous agreements are precluded. Respondent also
notes that since a burden of proof on a defendant of establishing
mitigating circumstances by a preponderance of the evidence is not
unconstitutional (Walton v. Arizona, 497 U.S. 639, 649-51 (1990)), no
higher burden should be placed on the prosecution. Finally,

195

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 201 of 267

respondent generally argues that this aspect of California’s 1978
Death Penalty Law has been found to be constitutional.

Petitioner counters that the question of whether federal
law requires that all aggravating circumstances in a death penalty
case be proven beyond a reasonable doubt is an open one. See
Woratzeck v. Stewart, 97 F.3d 329, 335-36 (9th Cir. 1996).
Petitioner also argues that neither of the Supreme Court decisions
relied upon by respondent addresses the issue presented here.

Although the parties have submitted exhaustive briefing on
many claims presented by petitioner, this sub-claim has not been
adequately addressed. It appears that the question of whether the
federal Constitution requires aggravating circumstances to be found
beyond a reasonable doubt is an open one. Beaty v. Stewart, 303 F.3d
975, 986 (9th Cir. 2002) (citing Woratzeck, 97 F.3d at 335), cert.
denied sub nom. Ryan v. Beaty, — U.S. __, 123 S. Ct. 2073 (2003).

Although respondent relies upon the decision in Walton v. Arizona,

 

497 U.S. 639 (1990), in that case the Supreme Court merely rejected a
constitutional challenge to a death penalty that failed to require
the state to prove both the appropriateness of a death sentence and
the absence of mitigating circumstances beyond a reasonable doubt.
497 U.S. at 3054-56.

It may be that petitioner cannot prevail on this claim.
See Tuilaepa, 512 U.S. at 979 (rejecting a challenge to the
California death penalty law based upon the fact that the jury is
provided no instruction on how to weigh any of the facts it finds in
deciding the ultimate sentence); Williams v. Calderon, 48 F. Supp. 2d

196

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 202 of 267

979, 1030 (C.D. Cal. 1998), aff’d in part and vacated in part on

 

other grounds, 306 F.3d 665 (9th Cir. 2002). (See also CT at 1531

 

(instruction informing the jury that it must find a sentence of death
“appropriate” beyond a reasonable doubt).) However, based upon the
arguments submitted to date neither party has established its
entitlement to judgment in its favor as a matter of law on this sub-
claim. Accordingly, the court will recommend that the cross-motions
for summary judgment on sub-claim S-5 be denied.

6. Designation of the Aggravating Factors Relied Upon

Petitioner acknowledges that the Ninth Circuit has rejected

an identical claim in Williams v. Calderon, 52 F.3d at 1484-85, and

 

Harris v. Pulley, 692 F.2d at 1195-96, and that this court is bound
by those decision. (Opp’n & Cross-Mot. for Summ. J. at 212.) Again,
petitioner’s concession is well-taken and respondent is entitled to
summary judgment on this sub-claim.
7. No Requirement of Unanimous Agreement As to the Aggravating

Factors Relied Upon

In this claim petitioner argues that the Constitution was
violated when his jury was not required to agree unanimously on the
existence and aggravating nature of any factor relied upon in
returning a verdict of death. Summary judgment in favor of
respondent should be granted with respect to this sub-claim. See
Williams v. Calderon, 48 F. Supp. 2d at 1030 (granting summary
judgment in favor of respondent on an identical claim); Turner v.
Calderon, 970 F. Supp. 781, 792 (E.D. Cal. 1997), aff'd 281 F.3d 851
(9th Cir. 2002); Bonin v. Vasquez, 807 F. Supp. 589, 623 (C.D. Cal.

197

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 203 of 267

1992) (“The Court holds that the Constitution does not require jury
unanimity on aggravating factors.”), aff'd, 59 F.3d 815 (9th Cir.
1995).

8. Penalty Phase Instructions Adequately Conveyed the Meaning

 

of Mitigation

In this claim petitioner argues that while his jury was
instructed to consider and weigh mitigating factors, the instruction
failed to adequately convey to the jury of laypersons the meaning of
the concept of mitigation. (Am. Pet. at 102.) Respondent moves for
summary judgment on this sub-claim, arguing that petitioner’s jury
was told that it could consider several specific mitigating factors
and one general mitigating factor. Citing the United States Supreme

Court’s decision in Buchanan v. Angelone, 522 U.S. 269 (1998),

 

respondent contends that there was no constitutional error in that
the jury’s consideration of mitigating factors was in no way limited.
Petitioner counters with a detailed argument based upon a number of
empirical studies allegedly suggesting that the catch-all mitigation
instruction given to California jurors is actually misunderstood by a
significant number of jurors.

Petitioner has not suggested that the jury was led to
believe by the instructions given that it could not consider the
mitigation evidence presented on his behalf. See Belmontes, 350 F.3d
at 896-98. Here, the jury was instructed that it “shall” consider
all of the evidence in determining which sentence to impose. (CT at
1527-31, 1534, 1537.) By so instructing the jury the trial court
performed its duty of conveying to the jury that all mitigating

198

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 204 of 267

evidence must be considered in determining the appropriateness of a
sentence of death. Buchanan, 522 U.S. at 276. Accordingly,
respondent is entitled to summary judgment on this sub-claim.

9. The 1978 California Death Penalty Law and the Power of the
District Attorney In Making the Charging Determination
Respondent moves for summary judgment on this sub-claim,

arguing that the “issue is one of state government.” (Alt. Mot. for
Summ. J. at 174-75.) More to the point, respondent argues that the
United States Supreme Court has confirmed broad prosecutorial
discretion in seeking the death penalty. (Id. at 175 (citing
McCleskey, 481 U.S. at 311-12, and Gregg v. Georgia, 428 U.S. 153,
199-200, 224-26 (1976)).) In response, petitioner submits this sub-
claim on the allegations of the petition.‘

The decision of whether or not to prosecute and what charge
to bring generally rests entirely in the discretion of the
prosecutor. Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978);
Belmontes, 350 F.3d at 892. Nonetheless, “the decision to charge the
death penalty cannot rest on criteria that offend the Constitution.”
Belmontes, 350 F.3d at 893. See also McCleskey, 481 U.S. at 293.
Here, petitioner claims that the unfettered charging discretion of
the District Attorney “results in imposition of the death penalty in

an arbitrary and uncontrolled manner.” (Am. Pet. at 103.) Such a

 

*° Petitioner notes that in Claim Q he has challenged the trial

court’s summary rejection of his claim that the death penalty was
discriminatorily imposed on the basis of race and makes clear that he
is not conceding that claim by submitting this sub-claim on the
allegations of the petition.

199

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 205 of 267

claim has previously been rejected. See Belmontes, 350 F.3d at 896
(citing McCleskey, 481 U.S. at 306-12). Accordingly, respondent is
entitled to summary judgment on this sub-claim.
10. The 1978 California Death Penalty Law and Equal Protection

with Respect to Disparate Sentence Review

In sub-claim S-10 petitioner alleges that California’s 1978
Death Penalty Law violates equal protection principles in that it
fails to provide to those sentenced to death the same type of
disparate sentence review afforded to non-capital felons. (Am. Pet.
at 103.) Proportionality review within California’s death penalty
scheme is not constitutionally mandated. See Pulley v. Harris, 465
U.S. 37 (1984). Moreover, this same equal protection-based claim
with respect to the denial of proportionality review to death
sentences as opposed to non-capital offenses has previously been
rejected. Williams, 48 F. Supp. 2d at 1030-31. Petitioner has
presented no new arguments nor has he factually or legally developed
the claim. Accordingly, respondent is entitled to summary judgment
on this sub-claim.

11. The California Supreme Court and the Fair and Meaningful

Review of Capital Cases

Here, petitioner alleges that the review of death judgments
undertaken by the California Supreme Court is not the full, fair and
good faith review contemplated by the United States Constitution.
(Am. Pet. at 104-07.)

Respondent perfunctorily moves for summary Judgment on this
sub-claim, simply stating that “the state appeal process provides for

200

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 206 of 267

review for legal error.” (Alt. Mot. for Summ. J. at 176.)
Petitioner, on the other hand, argues in some detail that both
Statistics and specific examples establish that the California
Supreme Court for years has failed to provide meaningful appellate
review in death cases, rendering the death judgment in his case
invalid. (Opp’n & Cross-Mot. for Summ. J. at 216-22.)

Such evidence aside, the court is not persuaded that the
review that petitioner actually received on his automatic appeal was
so deficient as to effectively deprive him of his automatic appeal
rights. Petitioner’s claim must be analyzed by assessing the appeal
rights afforded in his specific case. See, e.g., Campbell v.
Blodgett, 997 F.2d 512, 523 (9th Cir. 1992) .5° Here, the California
Supreme Court considered extensive briefing on petitioner’s direct
appeal and in connection with his petitions for writ of habeas

corpus. That court issued a lengthy published opinion addressing

 

50

In Campbell, the habeas petitioner argued that the
Washington Supreme Court’s failure to provide meaningful appellate
review of his sentence deprived him of a liberty interest protected
by the Due Process Clause of the Fourteenth Amendment. 997 F.2d at
522. The appellate court found that relevant sections of the
Washington Code created a liberty interest in having the state high
court review and make particular findings before affirming
petitioner's death sentence. Id. at 521-22. The court noted,
however, that the review required under the cited statutes was not
extensive, and that the review which was in fact afforded, as
reflected in the Washington Supreme Court’s opinion, was statutorily
adequate. Id. at 522. Reasoning that “[t]he amount of ink expended
in disposing of an issue bears no necessary correlation with the
degree of care lavished upon it in reaching that conclusion,” the
court rejected petitioner’s claim that the review was “so deficient”
as to “effectively deprive[]” him of his right to review. Id. at
922-23. The court further noted that any alleged error “less
egregious” than a wholesale refusal to afford him his right to
review, would amount to a mere claim of error under state law, not
cognizable in federal habeas corpus proceedings. Id. at 522.

201

 
10

11

12

13

14

15

16

17

18

19

20

2]

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 207 of 267

both state law and constitutional claims with respect to the guilt
and penalty phases of petitioner’s trial. Petitioner’s statistical
and case-by-case analysis is insufficient to show that petitioner's
own appellate rights were abrogated in such a “wholesale” fashion as
to amount to a constitutional violation.
Accordingly, respondent is entitled to summary judgment on

this sub-claim.

12. California Law and a Uniform Standard for the Jury’s Death

Penalty Determination

 

In this claim petitioner contends that California has no
discernible, reasonably uniform standard by which a jury is to decide
whether to impose a sentence of death because the California Supreme

Court has failed to clearly and consistently articulate the role of

the jury in making the sentencing determination. (Am. Pet. at 107-
08.) The result, petitioner argues, is the arbitrary and
unconstitutional imposition of the death penalty. (Id. at 110-11.)

Respondent moves for summary judgment arguing that under Supreme
Court precedent, “no standards are required.” (Alt. Mot for Summ. J.
at 176.) Petitioner responds by arguing that the Supreme Court has
required that a jury's eligibility and selection decisions with
respect to the death penalty “must ensure that the process is neutral
and principled so as to guard against bias or caprice in the
sentencing decision.” (Opp’n & Cross-Mot. for Summ. J. at 223
(quoting Tuilaepa, 512 U.S. at 973) (emphasis added) .)

Petitioner essentially claims that California juries are
not provided sufficient guidance in reaching the death penalty

202

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 208 of 267

determination, thus allowing for arbitrary application of the death
penalty. Such a claim has been rejected. Harris, 465 U.S. at 53.

See also Williams, 48 F. Supp. 2d at 1023; Williams v. Vasquez, 817

 

F. Supp. 1443, 1471 (E.D. Cal. 1993), aff'd 52 F.3d 1465 (9th Cir.
1995) .°* Accordingly, respondent is entitled to summary judgment on
this sub-claim.

13. Whether California Law Genuinely Narrows the Class of

Death-Eligible Offenders

In this claim petitioner contends that his death sentence
is invalid because the statutory scheme in California fails to narrow
the class of offenders eligible for the death penalty in violation of
the Eighth Amendment. (Am. Pet. at 108-110.)

Respondent moves for summary judgment in his favor, arguing
that the Supreme Court has found that the California Death Penalty
Law adequately narrows the class of death-eligible defendants. (Alt.
Mot for Summ. J. at 177 (citing Harris, 465 U.S. at 53).) Relying on
the decisions in Zant v. Stephens, 462 U.S. 862 (1983) and Lowenfield
v. Phelps, 484 U.S. 231 (1988), respondent asserts that both a
felony-murder special circumstance and a penalty factor that
duplicates an eligibility factor adequately narrow the class of
convicted murderers eligible for the death penalty.

Petitioner counters that the empirical evidence reflected

in a study conducted by Professor Steven F. Shatz of the University

 

°* To the extent petitioner’s sub-claim can be construed as

arguing that the death penalty was arbitrarily imposed in his case,
such a claim is also foreclosed. Belmontes,350 F.3d at 896 (citing
McCleskey, 481 U.S. at 306-12).

203

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 209 of 267

of San Francisco School of Law proves that the death sentence ratios
under the California scheme do not comply with the Eighth Amendment.
(Opp’n & Cross-Mot. for Summ. J. at 223, 234-35). Petitioner argues
that the California scheme is unconstitutional under Furman v.
Georgia, 408 U.S. 238 (1972), in failing to genuinely narrow the
class of death eligible defendants in light of the number and breadth
of the special circumstances categories. (Opp’n & Cross-Mot. for
Summ. J. at 224-36).

In Pulley v. Harris the Supreme Court reviewed the
California death penalty scheme and stated:

By requiring the jury to find at least one
special circumstance beyond a reasonable doubt,
the statute limits the death sentence to a small
sub-class of capital-eligible cases. The
statutory list of relevant factors, applied to
defendants within this sub-class, "provide[s]
jury guidance and lessen[s] the chance of
arbitrary application of the death penalty,"
Harris v. Pulley, 692 F.2d, at 1194,
"Quarantee[ling] that the jury's discretion will
be guided and its consideration deliberate," id.,
at 1195. The jury's "discretion is suitably
directed and limited so as to minimize the risk
of wholly arbitrary and capricious action."
Gregg, 428 U.S., at 189, 96 S.Ct., at 2932. Its
decision is reviewed by the trial judge and the
State Supreme Court. On its face, this system,
without any requirement or practice of
comparative proportionality review, cannot be
successfully challenged under Furman and our
subsequent cases.

465 U.S. at 53. See also California v. Brown, 479 U.S. 538, 540
(1987); Williams v. Vasquez, 817 F. Supp. at 1471.

Petitioner argues that several justices concurring in and
dissenting from the Court’s decision in Tuilaepa v. California
implicitly invited consideration of whether California's death

204

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 210 of 267

penalty scheme satisfied the constitutional narrowing requirement.

See, e.g., 512 U.S. at 992-95 (Justice Blackmun, dissenting).

 

Although it has been suggested that the Court would “be well advised
to reevaluate its decision in Pulley v. Harris,” id. at 995, the
Court has not done so. The holding of the Supreme Court in Harris
precludes the relief petitioner seeks. Accordingly, respondent is
entitled to summary judgment on this sub-claim.
14. Petitioner’s Death Sentence Predicated Upon the Use of the

Felony-Murder Doctrine

Petitioner acknowledges that relief on this claim has been
foreclosed by the Supreme Court’s decision in Lowenfield, 484 U.S. at
241-46 (1988). (Opp’n & Cross-Mot. for Summ. J. at 236.) The
concession is appropriate. See Tuilaepa, 512 U.S. at 976-78.
Accordingly, respondent is entitled to summary judgment on this sub-
claim.

T. Bias and Prejudice of Trial Jurors

In Claim T petitioner alleges that bias and prejudice on
the part of jurors resulted in the violation of his rights under the
Fifth, Sixth, Highth and Fourteen Amendments to the United States
I/TT/
///f/
///T/
II ffs
LI fff
Lf Tf
IT / ff

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 211 of 267

Constitution.°* Petitioner presents three sub-claims with respect to
his allegation of juror bias.

First, petitioner contends that juror Peinado failed to
provide accurate answers on his juror questionnaire. Petitioner
argues that juror Peinado did not disclose the following information
called for by the questionnaire: (1) that his three sons had pled
guilty in a case involving a 1985 shooting of two police officers and
that one of the officers, Mike Lopez, was listed as a prospective
witness at petitioner’s trial; (2) that his son Joseph Peinado pled
guilty to a 1981 robbery of a Kwik Stop Market; (3) that officer
Lopez had filed a personal injury suit against his sons as a result
of the 1985 shooting; (4) that Mr. Peinado knew people who used drugs
and alcohol and believed that such people know what they are doing
and should be held responsible for the crimes they commit; (5) that
he believed that the fact that a person is subjected to abuse during

childhood is not relevant in determining the person’s guilt or the

 

°* Petitioner also alleges that he received ineffective

assistance of counsel in that his trial attorneys failed to conduct a
meaningful voir dire of the prospective jurors and failed to
challenge certain jurors for cause or remove them through use of
peremptory challenges. This aspect of petitioner’s claim T has been
addressed in Section C, supra.

°° Petitioner has also presented a fourth sub-claim, asserting
that juror Alvarado falsely declared under oath that neither he nor
his spouse had ever been involved in a lawsuit (criminal or civil).
(Am. Pet. at 122.) Juror Alvarado’s wife had obtained a temporary
restraining order preventing him from “‘annoying, harassing,
threatening or molesting [his wife] ....'" (Id.) Petitioner now
states that he does not oppose respondent’s motion for summary
judgment in this regard. (Opp’n & Cross-Mot. for Summ. J. at 134-
35.) Therefore, respondent’s motion should be granted as to this
sub-claim.

206

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 212 of 267

appropriate penalty; and (6) that he did not trust lawyers based on
the experiences of his sons. (Am. Pet. at 113-15.) Petitioner
contends that if this information had been disclosed, juror Peinado
would have been excused for cause. (Id. at 115.)°

Second, petitioner claims that several jurors (including
jurors Alvarado, Wight, and Long) were biased in favor of the death
penalty. (Id.) Petitioner argues that if the views of these jurors
had become during voir dire, they would have been excused for cause.
(Id. at 116-17.)

Third, petitioner contends that during voir dire jurors
were asked whether there was any information that had not been
disclosed by their answers to the questions posed that in fairness
should be disclosed. (Id. at 120.) One juror disclosed to the other
jurors during penalty phase deliberations that he had killed someone
in the line of duty. (Id. at 120-21.) Petitioner claims that if the
juror had disclosed this information, it would have been grounds for
a challenge for cause. (Id. at 121.) In this regard, petitioner
claims that “[t]he fact that the juror had killed someone in a manner
in which the juror believed was justified rendered him unable to be
impartial in a case where the killing was not justified.” (Id.)

Below, the court will first address the legal standards

applicable to this claim and will then summarize and address the

/////

 

°* ~Petitioner argues that bias should be presumed because the

crimes committed by juror Peinado’s sons are closely connected to the
crimes for which petitioner was tried. (Id. at 116.)

207

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 213 of 267

arguments of the parties with respect to each of petitioner's sub-
claims.

1. Legal Standards Governing Claims of Juror Bias

 

The Sixth Amendment right to a jury trial “guarantees to
the criminally accused a fair trial by a panel of impartial,
‘indifferent’ jurors.” Irvin v. Dowd, 366 U.S. 717, 722 (1961). See
also Ross v. Oklahoma, 487 U.S. at 85 (1988); Green v. White, 232
F.3d 671, 676 (9th Cir. 2000). Due process requires that the
defendant be tried by “a jury capable and willing to decide the case
solely on the evidence before it.” Smith v. Phillips, 455 U.S. 209,
217 (1982). See also United States v. Plache, 913 F.2d 1375, 1377-78
(9th Cir. 1990).

Jurors are objectionable if they have formed such deep and
strong impressions that they will not listen to testimony with an
open mind. Irvin, 366 U.S. at 722 n.3. A defendant is denied the
right to an impartial jury if even one juror is biased or prejudiced.
Fields v. Woodford, 309 F.3d 1095, 1103 (9th Cir.), amended 315 F.3d
1062 (9th Cir. 2002); Dyer v. Calderon, 151 F.3d 970, 973 (9th Cir.
1998) (en banc). Thus, “[t]he presence of a biased juror cannot be
harmless; the error requires a new trial without a showing of actual
prejudice.” United States v. Gonzalez, 214 F.3d 1109, 1111 (9th Cir.

2000) (quoting Dyer, 151 F.3d at 973 n.2).%°

 

°° Challenges for cause are the means by which biased jurors

should be eliminated. United States v. Gonzalez, 214 F.3d at 1111.
“A prospective juror must be removed for cause if his views would
prevent or substantially impair the performance of his duties as a
juror.” Fields v. Woodford, 309 F.3d 1095, 1103 (9th Cir.), amended
315 F.3d 1062 (9th Cir. 2002).

 

208

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 214 of 267

Courts have analyzed juror bias under two theories, actual
bias and implied (or presumed) bias, either of which may support a
challenge of a prospective juror for cause. Fields, 309 F.3d at 1103
(citing Gonzalez, 214 F.3d at 1111). Actual bias is “‘bias in fact’
- the existence of a state of mind that leads to an inference that
the person will not act with entire impartiality.” Gonzalez, 214
F.3d at 1112 (quoting United States v. Torres, 128 F.3d 38, 43 (2d
Cir. 1997)). A trial judge's conclusion, after a hearing, that a
juror does or does not harbor “actual bias” is a finding of fact to
which the presumption of correctness applies. Dyer, 151 F.3d at 973.
This is because such a decision “depends heavily on the trial court’s

Superior ability to appraise witness credibility and demeanor.”

 

 

Thompson v. Keohane, 516 U.S. 99, 99-100 (1995). See also
Wainwright, 469 U.S. at 428 (“[T]he question whether a venireman is

biased has traditionally been determined through voir dire
culminating in a finding by the trial judge concerning the
venireman’s state of mind . . . such a finding is based upon
determinations of demeanor and credibility that are peculiarly within
a trial judge’s province.”).

“Although actual bias is the more common grounds for

excusing jurors for cause, ‘[i]n extraordinary cases, courts may
presume bias based upon the circumstances.’” Gonzalez, 214 F.3d at
1112 (quoting Dyer, 151 F.3d at 981). See also McDonough Power

 

Equipment, Inc. v. Greenwood, 464 U.S. 548, 556-57 (1984) (Blackmun,
Stevens and O’Connor, JJ., concurring) (accepting that “in
exceptional circumstances, that the facts are such that bias is to

209

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 215 of 267

inferred”); id. at 558 (Brennan and Marshall, JJ., concurring in the
judgment) (agreeing that “[t]he bias of a prospective juror may be
actual or implied; that is, it may be bias in fact or bias
conclusively presumed as [a] matter of law”) (alterations in
original) (quotations omitted); Smith, 455 U.S. at 221-24 (O'Connor,
J, concurring) (“there are some extreme circumstances situations that
would justify a finding of implied bias”). Thus, the Ninth Circuit
has presumed bias from “the ‘potential for substantial emotional
involvement, adversely affecting impartiality,’ inherent in certain
relationships.” Tinsley v. Borg, 895 F.2d 520, 527 (9th Cir. 1990)
(quoting United States v. Allsup, 566 F.2d 68, 71 (9th Cir. 1977)).

See also Green, 232 F.3d at 676; Gonzalez, 214 F.3d at 1112-14; Dyer,

 

151 F.3d at 981-82; Eubanks, 591 F.2d at 517.

In McDonough Power Equip., Inc. v. Greenwood, the Supreme
Court explained the importance of voir dire in obtaining a panel of
impartial jurors.

Voir dire examination serves to protect that
right [right to a fair trial] by exposing
possible biases, both known and unknown, on the
part of potential jurors. Demonstrated bias in
the responses to questions on voir dire may
result in a juror being excused for cause; hints
of bias not sufficient to warrant challenge for
cause may assist parties in exercising their
peremptory challenges. The necessity of truthful
answers by prospective jurors if this process is
to serve its purpose is obvious.

464 U.S. at 554. See also Fields, 309 F.3d at 1103. Thus, a juror
“who lies materially and repeatedly in response to legitimate

inquiries about her background introduces destructive uncertainties
into the process.” Dyer, 151 F.3d at 983. Accordingly, while many

210

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 216 of 267

irregularities during voir dire are immaterial to the fairness of a
trial, a juror who lies in order to secure a seat on a jury may be
found to be presumptively biased. Green, 232 F.3d at 677-78; Dyer,
151 F.3d at 984.

Against these standards the court will consider each of
petitioner’s three sub-claims.

2. Juror Peinado

As noted above, petitioner alleges that juror Santos
Peinado failed to provide accurate information on his juror
questionnaire compelling the conclusion that he was biased. In this
regard petitioner alleges that: (1) although Mr. Peinado had three
sons (Santos Peinado, Jr., Joseph Louis Peinado, and Joseph Rudy
Peinado) he provided no response on the jury questionnaire when asked
if he had any children and if so to list their sex, age, education
level, and occupation; (2) juror Peinado affirmatively answered “no”
to questions regarding whether he, his spouse, a relative or close
friend had ever been witness to or been accused or convicted of a
crime even though his three sons had pled guilty to charges involving
the shooting of two police officers resulting in a five year prison
sentence for Santos, Jr., a three year sentence for Joseph Rudy, and
a one year county jail term for Joseph Louis and even though one of
his sons was charged in 1981 with the robbery of a Kwik Stop Market;
(3) Mr. Peinado affirmatively answered “no” to the question inquiring
whether he, his spouse, a relative or close friend had ever been
interested in or involved in any criminal or civil lawsuit even
though his sons were sued by police officer Mike Lopez for injuries

211

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 217 of 267

suffered in the 1985 shooting incident; (4) juror Peinado responded
“no” to questions regarding whether he knew any judge, lawyer or any
person who works for a district attorney’s or a public defender’s
office even though he knew lawyers as a result of his sons’ criminal
cases and as a result did not trust attorneys; (5) Mr. Peinado
responded “no” when asked whether he knew anyone who has had a
problem with alcohol or drugs when in fact he knew people who used
drugs and alcohol and believed such people know what they are doing
and should be held responsible for crimes committed while under the
influence; and (6) juror Peinado failed to disclose his belief that a
person's difficult childhood and any abuse they may have suffered as
a child is not relevant to their responsibility for crimes committed
as an adult. (Am. Pet. at 112-115.)

In support of these allegations petitioner relies primarily
upon the 1995 declaration of juror Peinado submitted originally in
support of petitioner’s state habeas petition. (Am. Pet., Ex. G;
Opp'n & Cross-Mot. for Summ. J., Ex. CC.) In that declaration,
executed approximately eight years after petitioner’s trial, juror
Peinado stated that he: (1) “used to have a lot of trouble
understanding the English language;” (2)“did not understand the
question ‘Have you or your spouse, a relative, a close friend, or an
acquaintance ever been accused or convicted of a crime?’” and because
his sons had gone to prison for certain crimes, he would have told
the truth if the question had been explained to him; (3) never told
the judge or any attorneys about his sons’ criminal records but had
he been asked about his children he would have divulged the

212

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 218 of 267

information; (4) knew police officer Mike Lopez who came to his house
after his sons were arrested and was concerned when his son Santos,
Jr. got out of prison because Officer Lopez harassed him; (5) doesn’t
“trust lawyers very much” because when his sons were in trouble a
lawyer told him that for ten thousand dollars he would guarantee that
his sons would go free and believed that if his sons had better
lawyers they would not have gone to prison; (6) and his wife were
very concerned for their sons’ safety while the boys were in prison;
(7) felt “very strongly that drugs and alcohol are not an excuse for
committing crimes” and that from his “own experience, knowing people
who use drugs or alcohol, I believe that people know exactly what
they’re doing when they take drugs or alcohol and should be
responsible for any crimes they commit;” and (8) felt “that a
person’s bad childhood does not excuse any crimes he commits,” that
“parents can no longer be held responsible for what the child does”
and that if any evidence was presented showing that the defendant’s
father did bad things to his children it would not have made a
difference to him in deciding whether the defendant should get the
death penalty. (Id. at 1-4.)

In moving for summary judgment respondent argues in
conclusory fashion that Mr. Peinado was not dishonest in his
responses but rather simply did not understand the questions asked in
the juror questionnaire and during voir dire. (Alt. Mot. for Summ.
J. at 191.) Respondent also argues that bias should not be presumed
or implied because there is little similarity between petitioner’s
// f/f

213

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 219 of 267

case and the criminal cases involving Mr. Peinado’s sons. (Id. at
191-92.)

Petitioner argues that juror Peinado’s failure to disclose
this information shows his lack of impartiality and a predisposition
in favor of the death penalty. (Opp’n & Cross-Mot. for Summ. J. at
143.) Petitioner also argues that the fact that juror Peinado'’s sons
had criminal convictions gave juror Peinado “a strong bias and motive
to reject out of hand a key component of petitioner’s penalty-phase
case, which was to mitigate punishment on the basis of the
shortcomings of petitioner’s father.” (Id. at 144.)

The jury questionnaire specifically asked if the
prospective juror had any children. (Am. Pet., Ex. F at 3; Opp’n &
Cross-Mot. for Summ. J., Ex. Z at 3.) Juror Peinado did not answer
the question. (Id.) Prospective jurors were also asked whether
they, their spouse, a relative, a close friend, or an acquaintance
had been accused or convicted of a crime. Juror Peinado explicitly
answered this question “no.” (Id. at 5.) In his post-trial
declaration juror Peinado’s states only that he didn’t understand the
latter question and that if “anyone had asked me about my children, I
would have told them.” (Am. Pet., Ex. G at 2; Opp’n & Cross-Mot. for
Summ. J., Ex. CC at 2.) That explanation would appear at least
potentially inconsistent with juror Peinado’s failure to answer the
very specific question seeking to determine whether he had any
children.

In addition, Mr. Peinado specifically stated on his juror
questionnaire that he did not know any lawyers or any person who

214

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 220 of 267

worked in a public defender’s office. (Am. Pet., Ex. F at 8; Opp’n &
Cross-Mot. for Summ. J., Ex. Z at 8.) However, his post-trial
declaration establishes that he had met with at least one defense
attorney in connection with the prosecution of his sons and that the
experience was not a good one. (Am. Pet., Ex. G at 3-4; Pet’r’s
Opp’n & Cross-Mot. for Summ. J., Ex. CC at 3-4.) As a result, Mr.
Peinado did not “trust lawyers very much and believed that if his
sons had had better lawyers they would not have gone to prison.”

(Id.) Likewise, on his jury questionnaire juror Peinado specifically
denied knowing any person who has or had a problem with drugs or
alcohol. (Am. Pet., Ex. F at 10; Opp’n & Cross-Mot. for Summ. J.,
Ex. Z at 10.) However, his post-trial declaration indicates that he
not only knew people with drug or alcohol problems but from that
experience harbored strong feeling that such individuals know what
they are doing and should be held responsible for their crimes. (Am.
Pet., EX. G at 3; Opp’n & Cross-Mot. for Summ. J., Ex. CC at 3.)
Those inconsistent responses cannot be reconciled on the basis of the
present record.

Summary judgment should not be granted for either party on
this sub-claim alleging bias on the part of juror Peinado. Further
development of the facts will be needed to determine whether juror
Peinado was intentionally misleading and/or biased. Dyer, 151 F.3d
at 974 (“[a] court confronted with a colorable claim of juror bias
must undertake an investigation of the relevant facts and
circumstances.”) Thus, an evidentiary hearing is likely necessary to
resolve this aspect of Claim T. See Williams v. Taylor, 529 U.S.

215

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 221 of 267

420, 441 (2000) (evidentiary hearing to determine partiality required
where one of juror’s responses to voir dire question was not
forthcoming and another was factually misleading); Fields, 309 F.3d
at 1105-06 (evidentiary hearing appropriate where it was unclear
whether juror intentionally concealed information or gave a
misleading response to voir dire question regarding his background) ;
see also Smith, 455 U.S. at 215.%

3. Jurors Alvarado, Wight, and Long?’

As noted above, petitioner claims that several jurors were
biased in favor of the death penalty and that if the views of these
jurors had become known during voir dire, they would have been
excused for cause. (Am. Pet. at 116-17.) Petitioner relies in part

on the post-trial declarations of jurors Wight and Long in support of

 

°¢ Petitioner also argues that because juror Peinado did not

disclose information about his sons’ criminal history, defense
counsel did not have the opportunity to discover Mr. Peinado’s
“strong bias and motive to reject out of hand a key component of
petitioner's penalty-phase case, which was to mitigate punishment on
the basis of the shortcomings of petitioner’s father.” (Opp’n &
Cross-Mot. for Summ. J. at 144.) Finally, petitioner claims that
juror Peinado falsely answered the jury questionnaire inquiry of
whether he, his spouse, a relative or a close friend had ever been
interested in or involved in any civil or criminal lawsuit (Am. Pet.,
Ex. F at 5; Opp’n & Cross-Mot. for Summ. J., Ex. Z at 5) given the
fact that his sons had been criminally prosecuted and Officer Lopez
had filed a civil suit against them stemming from that same incident.
These matters can be fully explored at the anticipated evidentiary
hearing.

°’ Petitioner claims: “Several jurors, including, but not
limited to, Alvarado, Wight, and Long, were biased due to their views
about the death penalty which prevented those jurors from rendering a
reliable, impartial, individualized, and fair penalty determination. ”
(Am. Pet. at 116.) However, petitioner has only presented arguments
regarding jurors Alvarado, Wight, and Long. Therefore, the court
will consider his claim only with respect to these three jurors.

216

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 222 of 267

this sub-claim. (Am. Pet., Exs. K & L; Opp’n & Cross-Mot. for Summ.
J., Exs. S & X.) In her declaration, Ms. Wight acknowledged that
after she determined petitioner's guilt, she never considered a
sentence of life without parole. (Am. Pet., Ex. L at 2; Opp’n &
Cross-Mot. for Summ. J., Ex. S at 2.) However, Ms. Wight also stated
that the jurors carefully weighed the aggravating and mitigating
factors in reaching their penalty phase verdict. (Id.) In her
declaration, Ms. Long indicated that she “reviewed some of the
evidence presented at the guilt phase .. . to confirm the
conclusions [she] had tentatively reached from listening to the
evidence presented during the trial.” (Am. Pet., Ex. K at 1; Opp’n &
Cross-Mot. for Summ. J., Ex. XK at 1.)

In moving for summary judgment respondent argues that the
personal belief of some jurors that the death penalty should be
imposed for intentional murders is not remarkable and that the only
relevant inquiry 1s whether prospective jurors would consider all
evidence, including mitigating evidence, in reaching their verdict.
(Alt. Mot. for Summ. J. at 180.) Respondent points out that during
voir dire: juror Alvarado indicated that he would be able to vote for
the death penalty or life imprisonment without the possibility of
parole (RT at 2080); juror Wight expressed her strongly support for
the death penalty but indicated that she remained open to the
possibility of imposing a life sentence without the possibility of
parole (id. at 3390-91, 3400, 3407); and juror Long stated that while
she felt the death penalty was a necessary thing “when called for,”
LI IT /

217

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 223 of 267

she was open to considering life without the possibility of parole
for an intentional murder (id. at 3717, 3719-20).

In opposing respondent’s summary judgment motion,
petitioner contends that the ultimate question is whether a juror’s
view about the death penalty would prevent or substantially impair
the juror from performing his or her duty, including consideration of
mitigating evidence. (Opp’n & Cross-Mot. for Summ. J. at 149.)
Petitioner argues that the three jurors in question did not
“meaningfully consider any punishment less than death, once they
determined at the guilt phase that the murder was intentional.” (Id.)

As noted above in addressing petitioner’s Claim P regarding
the exclusion of jurors for cause, “a juror may not be challenged for
cause based on his views about capital punishment unless those views
would prevent or substantially impair the performance of his duties
as a juror in accordance with his instructions and his oath.”
Wainwright, 469 U.S. at 420 (quoting Adams, 448 U.S. at 45).
Petitioner has failed to make such a showing here. Even considering
the post-trial declarations of the jurors describing their mental
processes and the jury’s deliberations (see Fed. R. Evid. 606(b)),
the evidence submitted indicates that the three jurors in question
were not substantially impaired in the performance of their duties as
a result of their views and that they kept an open mind until the
case was submitted to them for decision.

In this regard, Juror Abelardo Alvarado was initially
questioned on the morning of November 7, 1986, in a group of three
prospective jurors. (RT at 2068.) The defense did not question Mr.

218

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 224 of 267

Alvarado. However, the following exchange took place between juror
Alvarado and the prosecutor:

Q [Mr. Druliner]: Are you satisfied that if you
were selected as a juror, if we got to the
penalty phase, that you would be able to listen
to all the evidence, and if you felt it
appropriate based on the evidence and the
guidelines from the Court that you would be able
to render a verdict, a finding, if it was your
opinion that the defendant deserved the death
penalty, that you would be able to so vote?

A [Mr. Alvarado]: I will assume that
responsibility, yes.

Q: And, likewise, if you felt the appropriate
sentence was life without possibility of parole,

would you be able to vote that way?

A: Yes.

(Id. at 2080.) Mr. Alvarado’s responses did not demonstrate that he

would be substantially impaired or unable to perform his duties as a

juror.

Juror Wight was initially questioned on the morning of
November 19, 1986, in a group of four prospective jurors. (RT at
3333.) In response to defense counsel’s questions, Ms. Wight stated

that she thought the death penalty was appropriate where there was a
premeditated murder, even though such a belief was contrary to that
held by her church. (Id. at 3392, 3394.)

Q [Defense Counsel]: Now the question, bottom
line question really I want to ask you is that do
you feel so strongly about that that it really
wouldn’t matter what other evidence was presented
to you, it wouldn't matter he had a prior record,
it wouldn’t matter about some factor in
mitigation; is that an accurate - -

A [Ms. Wight]: Yes

219

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 225 of 267

(Id. at 3395.) However, Ms. Wight later responded that she would
consider mitigating factors.

Q [Defense Counsel]: - - some more evidence may
be, some evidence to show you that Mr. Breaux is
even worse than the crime that he was convicted
of or there may be some evidence to show you he
has some redeeming quality, and my question is do
you have feelings so strongly about your view
that in the case of a premeditated first degree
murder you feel so strongly that you really
wouldn’t consider the other information about his
background?

A [Ms. Wight]: No.
QO: Pardon me?

A: No.

Q: Okay. A minute ago, you told me that, in the
case of premeditated murder, you felt that the
death penalty was appropriate.

And then you said that it would depend on,
maybe, his background and that sort of thing.

Can you explain your view on that?

A: Well, no.

I- - I - - I- - I - - I - - I believe in
the death penalty.

But I think that sometimes when you hear
things about a person, or - - or that you may
change - - change your mind.

I don’t - - I don’t know.
I have never been in this position. So

(Id. at 3396, 3398.)

Later, Ms. Wight twice indicated that she would take into
consideration a person’s “background” in deciding whether the
appropriate penalty was death or life in prison without the
possibility of parole. (Id. at 3399-3400.) Outside Ms. Wight’s

presence, defense counsel challenged her for cause because she was

220

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 226 of 267

according to his description “an automatic death penalty proponent
under the law[.]” (Id. at 3404.) The trial court denied the
challenge and indicated that neither Ms. Wight’s demeanor nor
credibility provided cause to believe that she would be substantially
impaired. (Id. at 3408.) This court finds that the record supports
the trial court’s decision not to excuse Ms. Wight for cause. United
States v. Long, 301 F.3d 1095, 1101 (9th Cir. 2002) (The trial court
“has the discretion to determine whether jurors are telling the
truth, whether they can proceed fairly, and whether they should be

excused or replaced.”), cert. denied, 537 U.S. 1216 (2003); see also

 

Bashor v. Risley, 730 F.2d at 1237. Ms. Wight voiced her belief that
the death penalty was appropriate for premeditated murder, she also
repeatedly stated that she would consider a person’s background and
mitigating factors in deciding on the appropriate penalty.

Juror Gloria Long was initially questioned during the
afternoon session on November 20, 1986, with a group of four
prospective jurors. (RT at 3683.) She was specifically asked by
defense counsel about her views on the death penalty. Ms. Long
responded: “I believe the death penalty, when it’s called for, is a
necessary thing.” (RT at 3717.) Ms. Long explained that her views
were not based on “religious feelings”, but on her belief that since
the death penalty was approved by the citizens of California, it was
an appropriate “retribution” for a person who had killed with “no
proven reason.” (Id. at 3718-20.) Ms. Long was questioned about her
willingness to consider both the death penalty and life imprisonment
without the possibility of parole following a guilt phase verdict.

221

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 227 of 267

Q [Mr. Fathy]: Did you understand that means
before you ever even consider the appropriateness
of death or life in prison - -

A: (Nodding in the affirmative.)

Q: - - without possibility of parole, you will
have concluded there has been an intentional
killing - -

A: Yes.

Q: - - for no legally excusable reason?

A: (Nodding in the affirmative.)

Q. Since you do understand that, let me ask you
whether or not, given the view you just expressed

A: (Nodding in the affirmative)

Q: - - about - - about retribution - -

A: Un -huh. (In the affirmative.)

Q: - - whether you would be open, truly open to

imposing some punishment other than death?
And in this case the other alternative is
life in prison without possibility of parole.

A: I definitely would. I mean I - - I’m not
saying that I’m out to get rid of everybody that
has done something wrong. I don’t believe that.

But I do think there are instances where - -
where it is appropriate.

That’s all I was trying to say.

But, yes, I would have no problem.

Q: You’d be willing to listen to whatever

evidence - -
A: (Nodding in the affirmative.)
Q: - - the defense wanted to present and what is

admissible under our system of law - -

A: (Nodding in the affirmative.)

(RT at 3720-21.)

222

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 228 of 267

When Ms. Long expressed some confusion about whether a
person sentenced to life imprisonment without the possibility of
parole could still be paroled, the trial court clarified that for
crimes committed after 1977, such a sentence actually precluded the
possibility of parole. (RT at 3722.) Ms. Long then responded that
she did not have further concerns given the judge’s clarification.
(RT at 3723.)

Petitioner relies on Ms. Long’s post-trial declaration in
arguing that she was unwilling to consider mitigating factors once
she concluded that petitioner had intentionally committed the murder.
(Am. Pet., Ex. K; Opp’'n to Mot. for Summ. J. & Cross-Mot. for Summ.
J., Ex. X.) Even if that declaration is considered even though it
describes Ms. Long’s mental processes during deliberations (see Fed.
R. Evid. 606(b)), the court finds that petitioner has failed to
demonstrate that Ms. Long’s views regarding the death penalty
substantially impaired her ability to perform her duties as an
impartial juror. Juror Long stated in that post-trial declaration
that she and the other jurors took the penalty phase verdict decision
very seriously and that during those deliberations she reviewed
penalty phase evidence to confirm the conclusions she had tentatively
reached. (Am. Pet., Ex. K at 1-2; Opp’n to Mot. for Summ. J. &
Cross~Mot. for Summ. J., Ex. X at 1-2.)

4. Unidentified Juror Who Killed in the Line of Duty

Finally, petitioner alleges that one of the jurors
commented to the others during penalty phase deliberations that he
had killed someone in the line of duty, that it was something he had

223

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 229 of 267

to do and would do again and that, unlike petitioner, he felt
remorse. (Am. Pet. at 120-21.) Petitioner relies on upon the post-
trial declarations of two jurors to support this allegation. (Am.
Pet., Exs. M at 5, O at 3; Opp’n to Mot. for Summ. J. & Cross-Mot.
for Summ. J., Ex. O at 5; P at 3.) Petitioner claims that had that
juror disclosed this information in voir dire it would have provided
grounds to exclude the juror for cause based on bias. (Id.)
Petitioner points out that all prospective jurors were asked whether
there was any information not elicited by the jury questionnaire that
in fairness should be disclosed and that this information was not
disclosed. (Am. Pet. at 120.)

Respondent argues that the post-trial declarations from two
jurors submitted in support of this allegation by petitioner are
inadmissible because they do not reflect any extraneous influence on
the jury. (Alt. Mot. for Summ. J. at 182.) Respondent also argues
that a reasonable juror would conclude that the disclosure of such
information was not required by any question put to prospective
jurors either in the questionnaire or during voir dire. (Id. at
183.) Respondent asserts that even if the juror declarations are
considered, this juror’s apparent personal experience was not so
closely related to the litigation at issue to create a presumption of
juror bias since petitioner’s case did not involve a defense that the
homicide was justifiable or excusable. (Id.) Lastly, respondent
argues that the past personal experiences of jurors are properly part
of the jury’s deliberation, and that this juror’s remorse over having
/////

224

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 230 of 267

taken a life is a normal feeling that most people would have in that
Situation. (Id. at 184.)

Petitioner argues that juror who did not disclose that he
had killed someone on the job was intentionally dishonest. (Opp’n &
Cross-Mot. for Summ. J. at 137.) In this regard, petitioner notes
that the jury questionnaire had asked:

(1) whether they [jurors] “had ever been the

victim of a crime,”

(2) whether they had “ever been the witness to a

crime, ”

(3) whether they had “ever given a statement

to law enforcement officers,” and

(4) whether there [was] any “information about

yourself, not covered by the questionnaire, that

in fairness should be known."

(Id. at 135.) Petitioner argues that all of these questions should
have compelled the juror to disclose his experience. Since a person
does not normally forget such a dramatic experience, petitioner
asserts that the juror’s non-disclosure demonstrates his dishonesty.
(Id. at 137-38.) Lastly, petitioner argues that although jurors may
rely on past personal experiences in their deliberations, they may
not rely on such experiences relating to issues involved in the
litigation. (Id. at 139.)

Petitioner also asserts that respondent’s argument that the
juror’s killing could have occurred during combat or military service
is unreasonable. (Pet’r’s Reply at 35.) In this regard, petitioner
points to a declaration of juror Sharon Lee, formerly Sharon McBride,
in which she states that she was the jury foreperson and recalls the
following:

///T/

225

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 231 of 267

In the January 1995 declaration, I stated that

during the penalty deliberations, one male juror

stated that he had killed someone once, that the

killing was job related, and that he felt it was

something he had to do. I did not recall the

juror’s name, but I did remember that he acted in

a very authoritative manner. I still do not

remember his name today, but I do still recall

his discussion of the killing he had done. He

said that the shooting happened when he was

chasing a person on a train and that he had had

to shoot the person.

(Pet’r’s Reply, Ex. DDD § 2.)

Even considering the post-trial declarations of the jurors
describing the comments of this juror (see Fed. R. Evid. 606(b)), the
evidence submitted fails to make even a preliminary showing of bias
on the part of the juror in question. The court finds that, contrary
to petitioner’s allegation, the unnamed juror was not dishonest in
his answer to any question put to him during the voir dire process.
He was not asked a question that could be fairly said to have called
for him to disclose this apparent experience from his past. The
general request to disclose anything that in fairness that should be
disclosed is far too vague to pin a claim of juror dishonesty upon.
Accordingly, petitioner’s allegations and evidence presented in
support thereof fail to entitle him to relief. See McDonough Power
Equipment, Inc., 464 U.S. at 555-56.

Moreover, it is well-established that a juror may rely on
their past experiences in reaching a decision and that in doing so
they are not improperly considering extrinsic evidence. Price, 200
F.3d at 1255; Hard v. Burlington Northern Railroad, 812 F.2d 482, 486

(9th Cir. 1987). All petitioner has pointed to is that while

226

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 232 of 267

discussing petitioner's lack of emotion at trial the unnamed juror
commented to the other jurors that, unlike petitioner, he felt
remorse for having taken a life. As previously noted, a defendant's
courtroom demeanor is evidence that a jury may properly consider.

Williams, 52 F.3d at 1483; Schuler, 813 F.2d at 981 n.3; see also

 

Bates, 308 F.3d at 421.

Pinally, the court is persuaded that even if this juror had
such an experience in his past, the fact that a juror’s job-related
actions resulted in the death of another person bears little
Similarity to the facts of petitioner’s case. Accordingly, the
unnamed juror did not present the “potential for substantial
emotional involvement” that would inherently adversely affect
impartiality. Price, 200 F.3d at 1255, n.18 (quoting Tinsley, 895
F.2d at 527). Under these circumstances bias has not been
demonstrated, nor should it be presumed. Price, 200 F.3d at 1255,
n.18. Accordingly, respondent is entitled to summary judgment in his
favor on this sub-claim.

5. Conclusion

The court will recommend that respondent’s motion for
summary judgment be denied with respect to the sub-claim involving
juror Peinado and granted with respect to the sub-claims involving
jurors Alvarado, Wight, Long and the unnamed juror. The court will
also recommend that petitioner’s cross-motion for summary judgment in

his favor on claim T be denied.

L/T//
L////

227

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 233 of 267

U. Incompetence of Trial Juror

In this claim petitioner argues that juror Peinado “was
incompetent due to his significant intellectual disability and his
failure to possess sufficient knowledge of the English language

.” (Am. Pet. at 123, 126.) Accordingly, petitioner alleges,
juror Peinado’s service on the jury resulted in the violation of
petitioner’s constitutional rights under the Fifth, Sixth, Eighth and
Fourteenth Amendments. (Id. at 123-24.) In support of this claim
petitioner points to juror Peinado’s lack of formal English training,
his inappropriate or incomprehensible responses on his juror
questionnaire, his inability to comprehend the judge’s instructions
or to deliberate effectively with the other jurors, and his lack of
present memory about being a juror in a murder trial which resulted
in a death sentence. (Id. at 126.)

In moving for summary judgment on this claim respondent
restates his arguments concerning the admissibility of juror
declarations and, in the alternative, argues that juror Peinado was
qualified to be a juror. (Alt. Mot. for Summ. J. at 82-84, 187.) As
to competency, respondent contends that juror Peinado responded
appropriately to the prosecutor's questions during voir dire, and
that the court and counsel had the opportunity to observe juror

Peinado’s demeanor and how he responded to the questions. (Id. at

 

°° Petitioner also argues that the trial judge and defense
counsel failed to adequately question juror Peinado during voir dire
to ensure that he was competent to discharge his duties as a juror.
(Am. Pet. at 126-28.) This claim has been addressed in section C,

Supra.

228

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 234 of 267

187-88.) Respondent also notes that at the time of trial, juror
Peinado had lived in the United States for thirty-two years and that
for eighteen years at his job he conversed in English with his boss.
(Id. at 188.) Mr. Peinado’s juror questionnaire indicates that he
reads and understands English, although his handwriting and spelling
are poor. (Id. at 189.) As for juror Peinado’s competence based on
his lack of recall, respondent argues that it is Mr. Peinado’s memory
at the time of the trial that is relevant, not his memory as
reflected in his 1995 declaration submitted by petitioner in support
of this claim. (Id. at 190.)

In response petitioner argues that Federal Rule of Evidence
606 (b) does not bar consideration of the declarations submitted in
support of this claim. (Opp’n & Cross-Mot. for Summ. J. at 141.)
Petitioner contends that the evidence is part of the state court
record, that respondent agreed to the admissibility of this evidence
in state court, and that Rule 606(b) does not prohibit consideration
of juror statements during voir dire or of statements used to show
deceit during voir dire.°? (Id.)

Petitioner argues that if juror Peinado’s responses to the
voir dire questionnaire were not intentionally dishonest, then they
reflect his incompetence to serve as a juror because of his lack of
comprehension of the English language. (Id. at 144.) According to

petitioner, juror Peinado failed to accurately answer the

 

°° Whether Mr. Peinado’s responses during the voir dire were

deceitful has been addressed by the court in its discussion of Claim
T, Supra.

229

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 235 of 267

questionnaire when he: (1) denied that he, his spouse, a relative, a
close friend, or an acquaintance had ever been accused or convicted
of a crime; (2) denied that he, his spouse, a relative, a close
friend, or an acquaintance had been interested in or involved in any
type of criminal or civil lawsuit; (3) stated that he was from Reno,
Nevada; (4) denied that he knew any lawyers; (5) denied that he knew
any person who work for a district attorney’s or a public defender’'s
office; and (6) denied that he knew any person who has had a problem
with alcohol or drugs. (Am. Pet., Ex. F; Opp’n & Cross-Mot. for
Summ. J., Ex. Z.)

Contrary to these responses reflected on his questionnaire,
petitioner contends that in his post-trial declaration juror Peinado
acknowledged that in fact his sons had suffered criminal convictions
and were involved in a civil lawsuit, he was born in Mexico, he knew
lawyers, and he knew people who had an alcohol or drug problem.
(Opp’n & Cross-Mot. for Summ. J. at 140-41, 147; see also Am. Pet.,
EX. G; Opp’n & Cross-Mot. for Summ. J., Ex. CC.)

Petitioner also argues that juror Peinado has admitted to
having difficulty with English. (Opp’n & Cross-Mot. for Summ. J. at
145.) In his declaration, juror Peinado acknowledges “having some
trouble understanding what was being said by the judge, the lawyers
and the witnesses at the trials for which I was a juror.” (Am. Pet.,
Ex. G at 2; Opp’n & Cross-Mot. for Summ. J., Ex. CC at 2.) According
to petitioner, juror Peinado left thirty questions entirely or
partially blank and in his 1995 declaration he admitted, “I often
left the answers blank or guessed at what the right answer was.”

230

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 236 of 267

(Id. at 1.) Petitioner contends that during voir dire questioning,
juror Peinado gave brief responses and thirteen times merely nodded
his head and later admitted that he would do so if he did not
understand what was being asked. (Id.) Petitioner also submits a
declaration from Salvador Bernal who worked with Mr. Peinado, stating
that juror Peinado’s English was very limited at the time of
petitioner's trial. (Opp’n & Cross-Mot. for Summ. J., Ex. MM.)*
Petitioner argues that this evidence demonstrates that juror Peinado
should not have served on the jury due to his limited comprehension
of the English language. (Opp’n & Cross-Mot. for Summ. J. at 147-
48.)

The court must first determine the extent to which Mr.
Peinado's declaration may be considered to support this claim.
Statements by jurors have traditionally been inadmissible to impeach

the verdict. Tanner, 483 U.S. at 115. The exception is with respect

 

6° Salvador Bernal states:

I remember that about 10 or 15 years ago, Santos
[Peinado] told me and other workers that he was
serving on a jury in a death penalty case. At
the time, Santos’ English comprehension and
speaking were very poor, and I found it quite
amusing that he would be serving on a jury. In
fact, there were ongoing jokes among the workers
about Santos being on the jury, although no one
ever said anything about it when Santos was
nearby. At the time, Santos had learned the very
limited English needed to do his job, but I do
not believe that he understood enough to be on a
jury. I know that when I really wanted Santos to
understand me, I always spoke to him in Spanish.
Otherwise, he did not seem to get it.

(Opp’n & Cross-Mot. for Summ. J., Ex. MM at @ 2.)

231

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 237 of 267

to statements alleging that a jury has been subject to extraneous
influence. Id. at 118. Federal Rule of Evidence 606(b) incorporates
that common law rule and limits the court’s ability to consider a
juror’s statements to impeach a verdict. As discussed above with
respect to claims D and T, under Federal Rule of Evidence 606(b), the
admissibility of juror Peinado’s declaration thus turns on whether
the declaration concerns matters external or internal to the jury
process. Hard v. Burlington Northern Railroad, 870 F.2d 1454, 1460
(9th Cir. 1989). Statements regarding matters that are internal to
the jury process are not admissible under Rule 606(b). United States
v. Pimental, 654 F.2d 538, 542 (9th Cir. 1981). The Supreme Court
has noted that “[c]ourts wisely have treated allegations of a juror's
inability to hear or comprehend at trial as an internal matter.”
Tanner, 483 U.S. at 117-18. See also Virgin Islands v. Nicholas, 759
F.2d 1073, 1074-75 (3d Cir. 1985 (ability to hear or comprehend is
internal to the jury process); United States v. Dioguardi, 492 F.2d
70, 78-80 (2d Cir. 1974) (physical competency of a juror considered
internal).

In his post trial declaration juror Peinado addresses his
comprehension of the English language, his memory, and his decision-
making process. (Am. Pet., Ex. G; Opp’n & Cross-Mot. for Summ. J.,
Ex. CC.) These subjects are matters internal to the jury process.
Tanner, 483 U.S. at 117-18; Virgin Islands, 759 at 1074-75.
Accordingly, juror Peinado’s post-trial declaration is inadmissible
under Rule 606(b) for purposes of supporting petitioner’s claim.

SI fff

232

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 238 of 267

The only remaining evidence submitted with respect to this
claim by petitioner is juror Peinado’s juror questionnaire and the
declaration of Mr. Bernal. First, it is true that juror Peinado left
several questions on the seventeen-page juror questionnaire
unanswered, including question number five which asked if he had “any
problem reading or speaking the English language?” (Am. Pet., Ex. F
at 1; Opp’n & Cross-Mot. for Summ. J., Ex. Z at 1.) However, juror
Peinado responded appropriately to other questions requiring more
than basic English-language skills. For example he answered the
Following questions in the manner indicated:

30. How many years of formal schooling have you

completed?
Answer: 5

56. Do you or our spouse own a firearm?
Answer: Yes

If yes, what type?

Answer: 30.6 chagan [sic]

73. Do you describe yourself as a follower or a

leader?

Answer: FOLLOWER
(Id. at 2-11.)

Likewise, as the following exchange suggests, during voir
dire juror Peinado demonstrated a degree of competency in the
English language.

Q [Deputy District Attorney Druliner]: Do you

recall the remarks made by the Court yesterday

concerning this case?

A [Peinado]: Yes, sir.

Q: Did you follow along pretty well with what

233

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 239 of 267

the Court was saying?
A: Yes

QO: This case, as you now know, involves a
charge, among other charges, but one of the
charges is murder.

And the Court said with regard to Count
Number One, that the charge is murder with two
special circumstances.

A: (Nodding in the affirmative.)

Q: And it was not further described, but let me
tell you, the special circumstances, what the
allegations are concerning the murder, is that in
1984 a woman named Connie Decker was murdered
during the course of a robbery of Mis Decker,
okay?

A. Uh-huh. (In the affirmative.)
Q. Now you follow along with that?

A. Yeah.

Q: My question is what are your feelings about
the death penalty?

A: I say - - I don’t know. Death.
It is, uh (pause) pretty bad. Very hard.
But it would be necessary, I guess.

THE COURT: I’m sorry. I didn’t hear the answer.

PROSPECTIVE JUROR PEINADO: I said if it
necessary.

MR. FATHY: I believe he said if it is necessary,
yes.

Q (By MR. DRULINER): If you were a juror, and we
were in the penalty phase of the case, would you
hear evidence presented on the subject of what
the appropriate penalty should be?

Evidence would be presented.

A: (Nodded head.)

234

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 240 of 267

Q: And his Honor would describe for you the law.

A:  (Nodded head.)
Q: Concerning what penalties are available.
A: (Nodded head.)
Q: Okay. But the judge would tell you, in those
instructions, what things or what factors you
could consider in arriving at your decision as to
which penalty would be appropriate.

Do you understand that idea?

A: Yeah.

Q: That the Court would tell you the thing, the
type of things that you could consider?

A: (Nodded head.)

Q: But the Court will not tell you which way to
vote. Okay?

A: (Nodded head.)
Q: The vote, the choice as to which penalty
would be appropriate, would be your choice.
Yours and the choice of the other eleven jurors.
Would you be able to make that choice based
on the evidence presented to you?
A: Yeah. Definitely.
(RT at 3186, 3190-91.)
Lastly, although Mr. Bernal’s declaration raises concerns

about juror Peinado's abilities with the English language, it does

not constitute strong evidence of Mr. Peinado’s incompetence to serve

as a juror. “[T]he statutory qualifications for jurors require only
a minimal competency in the English language.” McDonough Power

Equipment, Inc., 464 U.S. at 555. Accordingly, courts have generally
denied post-verdict relief in non-habeas cases based on claims of
juror incompetence due to limited English language skills. See

235

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 241 of 267

United States v. Gonzalez-Soberal, 109 F.3d 64, 69 (1st Cir. 1997)
(“Although those portions of the transcript quoted suggest that the
juror’s command of the English language was less than that of a
native speaker, they do not warrant the conclusion that the juror was
unable to follow the proceedings or understand the evidence and
therefore do not merit reversal.”); United States v. Gray, 47 F.3d
1359, 1368 (4th Cir. 1995) (holding that juror’s allegation that
“eighty percent I know, just two percent confuse me,” was not
extraordinary or sufficient to show incompetence); United States v.
Silverman, 449 F.2d 1341, 1344 (2nd Cir. 1971) (holding that juror’s
inability to read or write English was not prejudicial to the
defendant where the juror had no difficulty understanding oral
testimony). This same conclusion would be appropriate even were the
court to consider juror Peinado’s own post-trial declaration.

Finally, this court notes that as a result of the voir dire
process, including the use of the juror questionnaire, petitioner's
trial counsel and the trial court were aware that juror Peinado had
some difficulty with the English language. (See RT at 4175.)
Despite this knowledge petitioner’s trial counsel elected not to
challenge juror Peinado for cause and did not use a peremptory
challenge to excuse him from petitioner’s jury.

For all of these reasons the court will recommend that
respondent’s motion for summary judgment be granted as to this claim
and that petitioner’s cross-motion be denied.

Lf f//
LIL Tf

236

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 242 of 267

Vv. Jury’s Consideration of Extraneous Evidence

In this claim, petitioner contends that the jury's
consideration of extraneous evidence during both the guilt and penalty
deliberations violated his constitutional rights. (Am. Pet. at 129.)
Petitioner identifies six sources of extrinsic evidence to which at
least one juror was exposed during deliberations: (1) a map drawn by
some jurors; (2) a gun demonstration by the bailiff; (3) jurors’
comments about petitioner’s potential criminal conduct in the future
and the trial and appellate courts’ ability to overrule or overturn
the jury’s verdict; (4) a newspaper article concerning the parole of
the so-called “Onion Field” killer; (5) a juror’s consultations with
ministers regarding the penalty phase verdict; and (6) a juror’s
comments about his feeling of remorse after killing someone in the
line of duty. (Id. at 130-36.)

On habeas the petitioner bears the burden of establishing
that extrinsic evidence had a substantial and injurious effect on the
jury’s verdict. Mancuso v. Olivarez, 292 F.3d 939, 949 (9th Cir.
2002); Rodriquez v. Marshall, 125 F.3d 739, 745 (9th Cir. 1997);
Lawson v. Borg, 60 F.3d 608, 613 (9th Cir. 1995).*! In Lawson, the

court set forth the applicable legal standards as follows:

/////

 

 

*t Were the matter on direct appeal rather than on collateral

review, the government would appear to bear the burden of showing
beyond a reasonable doubt that extrinsic evidence did not contribute
to the verdict. See United States v. Keating, 147 F.3d 895, 901-02 &
n.3 (9th Cir. 1998); cf. Mach v. Stewart, 137 F.3d 630, 634 (9th Cir.
1998) (questioning whether the harmless error standard should be
applied in the context of a claim that prejudicial extrinsic evidence
was introduced by a juror during voir dire).

237

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 243 of 267

Jury exposure to facts not in evidence deprives a
defendant of the rights to confrontation, cross-
examination and assistance of counsel embodied in
the Sixth Amendment. Dickson v. Sullivan, 849
F.2d 403, 406 (9th Cir. 1988); see also Jeffries
v. Blodgett, 5 F.3d 1180, 1191 (9th Cir. 1993)
(introduction of extraneous prior bad acts
evidence during deliberations constitutes error of

 

constitutional proportions), cert. denied, 510
U.S. 1191, 114 S. Ct. 1294, 127 L. Ed.2d 647
(1994). However, a petitioner is entitled to

habeas relief only if it can be established that
the constitutional error had “substantial and
injurious effect or influence in determining the

 

jury's verdict.” Brecht v. Abrahamson, 507 U.S.
619, &n.9, 113 S. Ct. 1710, 1722 & n.9, 123
L. Ed.2d 353 (1993). Whether the constitutional

error was harmless is not a factual determination
entitled to the statutory presumption of

 

correctness under 28 U.S.C. § 2254(d). Dickson,
849 F.2d at 405; Marino v. Vasquez, 812 F.2d 499,
504 (9th Cir. 1987). Therefore, we do not defer

to the California Third Appellate District's

finding that Lawson suffered no prejudice.
Id. at 612.

In this vein, “[j]uror misconduct typically occurs when a
member of the jury has introduced into its deliberations matter which
was not in evidence or in the instructions.” Thompson v. Borg, 74
F.3d 1571, 1574 (9th Cir. 1996). See also Rodriguez, 125 F.3d at 744;
Marino v. Vasquez, 812 F.2d 499, 504 (9th Cir. 1997). The interest at
stake is the constitutionally protected right to have the jury decide
the case based on evidence subject to confrontation, cross-
examination, and the assistance of counsel. See Jeffries v. Wood, 114
F.3d at 1490 (“When a juror communicates objective extrinsic facts
regarding the defendant .. . to other jurors, the juror becomes an
unsworn witness within the meaning of the Confrontation Clause.”);

Lawson, 60 F.3d at 612. A juror’s personal knowledge or experience

238

 

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 244 of 267

constitutes extrinsic evidence when that juror has personal knowledge
regarding the parties or issues involved in the litigation or where
the juror interjects his or her past personal experiences into
deliberations in the absence of any record evidence on a given fact.
Mancuso, 292 F.3d at 951; Navarro-Garcia, 926 F.2d at 821-22; see also

United States v. Swinton, 75 F.3d 374, 381 (8th Cir. 1996).

 

 

Several factors, none dispositive, are to be considered in
determining whether the introduction of extrinsic evidence constitutes
reversible error:

(1) whether the extrinsic material was actually
received, and if so, how; (2) the length of time
it was available to the jury; (3) the extent to
which the jury discussed and considered it; (4)
whether the material was introduced before a
verdict was reached, and if so, at what point in
the deliberations it was introduced; and (5) any
other matters which may bear on the issue of
whether the introduction of extrinsic material
[substantially and injuriously] affected the
verdict.

Mancuso, 292 F.3d at 951-52. See also United States v. Keating, 147

F.3d 895, 902 (9th Cir. 1998); Jeffries v. Blodgett, 5 F.3d 1180, 1190

(9th Cir. 1993). Additional factors falling within this fifth
category that should be considered have been identified as well: (1)
whether the prejudicial statement was ambiguously phrased; (2) whether

the extraneous information was otherwise admissible or merely
cumulative of other evidence adduced at trial; (3) whether a curative
instruction was given or some other step taken to ameliorate the
prejudice; (4) the trial context; and (5) whether the statement was
insufficiently prejudicial given the issues and evidence in the case.
//f//

239

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 245 of 267

Mancuso, 292 F.3d at 952; Keating, 147 F.3d at 902-03; Jeffries v.
Wood, 114 F.3d at 1491-92.

As indicated by these various relevant factors, “[t]here is
no bright line test for determining whether a defendant has suffered
prejudice from an instance of juror misconduct.” Rodriguez, 125 F.3d

at 744 (citing Marino, 812 F.2d at 505). ee also Mancuso, 292 F.3d

 

at 950. However, in assessing a claim of prejudice in this context,

the court is to place great weight on the nature of the extraneous

information introduced into deliberations. See Mancuso, 292 F.3d at
950; Rodriquez, 125 F.3d at 744; Jeffries v. Wood, 114 F.3d at 1490

(“[T]he appropriate focus should be on the nature of the information
itself.”); Lawson, 60 F.3d at 612. %“*‘[R]eversible error commonly
occurs where there is a direct and rational connection between the
extrinsic material and a prejudicial jury conclusion, and where the
misconduct relates directly to a material aspect of the case.”’

Lawson, 60 F.3d at 612-13 (quoting Marino, 812 F.2d at 506). See also

 

Mancuso, 292 F.3d at 953 (“Juror misconduct cases in which habeas
relief has been granted often involve the jury’s receipt of
information excluded from trial as unduly prejudicial []."”);
Rodriguez, 125 F.3d at 744. (Id.) On the other hand, the
introduction of cumulative extraneous material may render juror
misconduct harmless. See Rodriquez, 125 F.3d at 744; Jeffries v.
Wood, 114 F.3d at 1491.

Finally, in considering such a claim, a juror’s testimony
regarding the deliberative process or the subjective effects of the
extraneous information cannot be considered by the court. See

240

 

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 246 of 267

Jeffries v. Wood, 114 F.3d at 1491 (“[j]urors’ testimony that
extrinsic evidence is not harmful is not controlling”); United States
v. Maree, 934 F.2d 196, 201 (9th Cir. 1991); Hard, 870 F.2d at 1460.

Rather, the reviewing court must apply an objective test in evaluating
the potential impact of the evidence on the jury. See Mancuso, 292
F.3d at 953; Rodriquez, 125 F.3d at 744; Jeffries, 5 F.3d at 1191.
Thus, the proper inquiry is whether there was a direct and rational
connection between the extrinsic material and the prejudicial jury
conclusion, and whether the misconduct relates directly to a material
aspect of the case. See Mancuso, 292 F.3d at 953; Rodriquez, 125 F.3d
at 744; Jeffries, 5 F.3d at 1190; Dickson v. Sullivan, 849 F.2d 403,
406 (9th Cir. 1988). Against these legal standards, the court will
consider the parties’ arguments and the facts underlying each aspect
of petitioner’s claim.

1. Map

Petitioner alleges that during the guilt phase deliberations
jurors familiar with the crime scene locations and with the route
allegedly used by petitioner, drew a map for at least one juror who
was unfamiliar with the area. (Am. Pet. at 130.) Petitioner claims
that this hand-drawn map was improper extraneous evidence and that it
is likely that the map misled the jury into believing that petitioner

had not reached a place of temporary safety before shooting Ms.

Decker. (Id. at 130-31.)
In moving for summary judgment respondent argues generally
that no aspect of this claim involves “extraneous influences” because

in support of the claim petitioner is relying solely on evidence

241

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 247 of 267

relating to the jury’s deliberative process. (Alt. Mot. for Summ. Jd.
at 198-99.) In particular, respondent argues that the hand-drawn map
was used to show the distance from the point where Ms. Decker was
kidnapped to the scene of the murder’’, and that discussions of time
and distance involved matters of common knowledge in the community.
(Id. at 199.) Furthermore, according to respondent, evidence was
introduced at trial showing the distance and driving times in question
as well as to other locations involved in the crime. (Id.)

Respondent contends that petitioner has failed to show that the
jurors’ hand-drawn map was inconsistent with the evidence introduced
at trial or that consideration of the map by the jury was prejudicial.

(Id. at 199-200.)

/////

 

6 In a post-trial declaration submitted by petitioner Juror

Curvin Hunt states:

One thing that made it easier for me to
understand the evidence was my familiarity with
the crime scenes. Because I was a reservist in
the Air Force, I knew the area around Mather Air
Force Base, where the victim was killed, very
well. I believe only one other juror was
familiar with that crime scene because the area
wasn’t very developed at the time. But everyone
on the jury, except for one person, was familiar
with most of the other crime scenes. I remember
some jurors drawing a map for that one juror, to
make it easier to understand what happened.
Because I was familiar with crime scenes, like
the liquor store where the defendant picked up
the victim, it was easy for me to imagine exactly
how long the drive was from point to point, and
what a horrible experience it must have been for
the victim to sit in the car, probably at
gunpoint the whole time.

(Am. Pet., Ex. M, § 5; Opp’n & Cross-Mot. for Summ. J., Ex. O. | 5.)

242

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 248 of 267

Petitioner opposes respondent’s motion and contends that an
evidentiary hearing is required on this issue.® In this regard,
petitioner argues that consideration of the map was prejudicial
because

[t]he facts concerning petitioner’s actions from

the time he kidnaped the victim to the time the

victim was killed were material to petitioner's

defense that he had reached a place of temporary

safety and that therefore the robbery had

terminated for purposes of felony murder and the

robbery special circumstance. There is at least

grave doubt whether the map misled the jury into

determining that petitioner had not reached a

place of temporary safety and provided other false

information about the route petitioner drove.

(Opp’n & Cross-Mot. for Summ. J. at 130.) Petitioner disputes
respondent’s argument that the map merely reflected matters of common
knowledge in the community. (Id, at 131.) In addition, petitioner
argues that the map was not cumulative of trial evidence. He asserts

that the jurors must have believed the locations and distances were

different than those reflected by the trial exhibits since they felt

compelled to draw a map. (Id.)
Respondent’s arguments are persuasive on this point.
Petitioner has failed to demonstrate that the map exposed jurors to

evidence not already introduced at trial. Prosecution witness
Detective Robert Bell testified regarding People’s Exhibits 44, a map
of Rancho Cordova. (RT at 4873-74.) Detective Bell identified on

that exhibit both the location where Ms. Decker’s body was recovered

 

and the location of the dumpster at 10631 White Rock Road. (RT at
°° Petitioner has not moved for summary judgment in his favor
on this sub-claim.

243

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 249 of 267

4874-75). Using People’s Exhibit 45, Detective Bell identified the
locations of the other locations involved in petitioner’s crimes and
ultimate apprehension including Stewart’s Liquor, Ms. Decker’s house,
the business known as Food and Liquor, and the petitioner’s mother’s
residence. (RT at 4875-79.) In addition, Detective Bell testified
regarding the distance from Stewart’s Liquor to the Circle K store
located at Mather Field Road and El Mercado, from the Circle K store
to 10631 White Rock Road, and from White Rock Road and Zinfandel to
where the body was recovered. (RT at 4880-83.)

Petitioner has not demonstrated that the map drawn by the
jurors during their deliberation differed in any material respect from
this evidence introduced at trial. Moreover, there has been no
showing suggesting that the hand-drawn map had a substantial and
injurious effect or influence in determining the jury’s verdict.
Therefore, respondent's motion for summary judgment should be granted
as to this sub-claim.

2. Bailiff’'s Demonstration

Petitioner claims that during guilt phase deliberations, a
juror asked the bailiff about the operation of the .32 caliber gun
allegedly used by petitioner in the murder. (Am. Pet. at 131.) The
bailiff demonstrated to the jurors how the gun was loaded and fired.
(Id.) One juror commented that the .32 was not a common model. (Id.)
According to petitioner, the ease with which the gun could be operated
and its uncommon nature were material facts with respect to
petitioner's defense. (Id. at 131-32.)

/////

244

 

 
10

1]

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 250 of 267

In support of this sub-claim petitioner has submitted the
post-trial declaration of juror Curvin Hunt wherein he states in
relevant part:

The bailiff was probably most helpful when he
showed us how to operate the .32 caliber gun used
by the defendant. We had the gun in the
deliberations room, and I remember one of the
women on the jury, during the guilt deliberations,
raising a question about how the gun worked. The
bailiff was very helpful and showed us exactly how
to load and fire it. Even though I was very
familiar with firearms from my military training,
I didn't understand how a .32 caliber gun worked.
The mechanism was complex, and not something I was
used to. After the bailiff£’s demonstration, I
remember thinking, and telling the other jurors,
how it was unlikely that a gun as uncommon and
complicated as a .32 would be carried by someone
who didn’t intend to use it.

I knew that a .32 does more damage than a .25,
especially at close range, and that therefore it
wasn’t something someone would carry just for
protection. I also knew from some of my police
officer friends that it was more common for people
on the streets to carry .25 calibers, which are
cheap, fairly available, easy to shoot and easy to
buy ammunition for. Given the defendant's choice
of weapon, it was hard to believe the defense
argument that the killing was simply a heat of the
moment act committed by a drugged out man. During
deliberation, we discussed the likelihood that the
defendant premeditated and deliberated based on
the fact that a .32 is very complicated to
operate, is relatively hard to get ammunition for,
and isn’t the normal type of gun carried by the
average street junkie.

(Am. Pet., Ex. M, 4§ 8-9; Opp’n & Cross-Mot. for Summ. J., Ex. O, 4g

Respondent argues that petitioner’s claim involves only the
“ordinary manipulation of a trial exhibit” and that, in any event,
there is no prejudice. (Alt. Mot. for Summ. J. at 200.) Respondent

245

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 251 of 267

contends that although juror Hunt may have thought the operation of
the gun was complicated, the trial evidence does not suggest either
that the gun was difficult to fire or had to already be loaded prior
to the time the victim was shot. (Id. at 200-01.) Furthermore, the
prosecutor did not argue that the ease or difficulty in loading the
gun was relevant to premeditation. Rather, according to respondent,
premeditation was established by the circumstances of the kidnapping,
the victim’s attempt to summon help, petitioner’s motive of stealing

the car and the fact that petitioner shot Ms. Decker twice in the

head, “inferably taking careful aim separately for each shot.” (Id.
at 201.)

Petitioner disputes respondent's contention that the
bailiff's demonstration was the ordinary manipulation of a trial

exhibit. (Opp’n & Cross-Mot. for Summ. J. at 127.) Petitioner argues
that the demonstration went to the essence of petitioner’s defense to
the first-degree charge. (Id. at 128.) “[T]he more complicated the
gun was to operate, the less likely it was that petitioner’s abilities
were impaired as the result of his cocaine and heroin use at the time
he killed the victim, Connie Decker.” (Id.}) Petitioner also
disagrees with respondent’s assertions that the gun was uncomplicated
and was probably loaded and ready to fire when Ms. Decker was
kidnapped. (Id. at 128-29.) Instead, petitioner argues that a
reasonable interpretation of the jury’s interaction with the bailiff
is that some jurors found the operation of the gun to be relevant to
petitioner’s mental-state defense. (Id. at 129.) Petitioner argues
that the jury’s improper consideration of this extrinsic evidence had

246

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 252 of 267

a prejudicial impact on the jury’s deliberations and that he is

entitled to summary judgment in his favor as to this sub-claim. (Id.)
The court is not persuaded by respondent’s argument that the
bailiff’s demonstration was merely an ordinary manipulation of a trial

exhibit and that, in any event, petitioner suffered no prejudice from
the jury's consideration of this information. The bailiff’s
demonstration would appear to be extraneous information since the
operation of the gun was not demonstrated to the jury at trial and the
jurors were apparently unable to determine how the gun was operated by
examining it themselves. At least according to juror Hunt, an outside
source (the bailiff) had to be consulted for that purpose. However,
there are a number of questions left unanswered given the current
State of the record. For instance, it is not clear: (1) to what
extent the jury discussed or considered this extrinsic evidence; (2)
when the bailiff’s demonstration occurred during the jury’s
deliberation; (3) whether this information related directly to a
material aspect of the defense; and (4) whether there are any other

matters which may bear on the issue of whether the information had a

substantial and injurious effect on the jury’s verdict. See Mancuso,
292 F.3d at 951-52; Keating, 147 F.3d at 902; Jeffries v. Blodgett, 5

 

F.3d at 1190.

This sub-claim is not ripe for summary judgment at this
time. Instead an evidentiary hearing may be necessary to resolve this
claim. See United States v. Vasquez, 597 F.2d 192, 194 (Sth Cir.

 

1979) (where bailiff left court files in the jury room exposing the
jury to inadmissible evidence an evidentiary hearing was required to

247

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 253 of 267

ascertain the extent, if any, that jurors saw or discussed the
prejudicial extrinsic evidence or other circumstances surrounding the
jury breach). Accordingly, both motions for summary judgment should
be denied in this respect.

3. Jury Comments

Petitioner next argues that during the penalty phase
deliberations the jury considered the following information which was
misleading, speculative and not based on evidence introduced at trial:
(1) if petitioner were released from jail he might seek retribution
against the jurors; (2) if petitioner were serving a life sentence
without the possibility of parole he might commit crimes in prison;
(3) that the trial judge could overrule the jury’s penalty verdict if
it was erroneous; and (4) that the death sentence could be overturned
by a higher court. (Am. Pet. at 132-33.) In support of these
allegations petitioner relies upon the post-trial declarations of
several jurors. (Am. Pet., Exs. C, K, L, M&O ; Opp’n & Cross-Mot.
for Summ. J., Exs. O, P, R, S & X.) Petitioner argues that the jury
was prejudiced because it was led to believe that they did not have
full responsibility for his sentence and because the extraneous
information they considered in coming to that belief was incomplete
and misleading. (Am. Pet. at 133.)

In moving for summary judgment respondent argues that these
are matters of deliberation which are internal to the jury process and
are immune from attack. (Alt. Mot. for Summ. J. at 201.) Respondent
also argues that jurors could properly consider the possible
consequences of their penalty phase decision in reaching a verdict.

248

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 254 of 267

(Id. at 202.) As for the trial judge’s authority to overrule the
jury’s decision and a higher court’s ability to overturn a death

sentence, respondent argues that these are accurate propositions under

the law. (Id.)
Petitioner argues that respondent has failed “to take into
account that the jury’s discussions were all completely speculative

and unsupported by any evidence or arguments presented at the trial.”
(Opp’n & Cross-Mot. for Summ. J. at 132.) In addition, petitioner
claims that respondent does not address the jury’s belief that the
trial judge could overrule their decision, and that the death sentence
could be overturned on appeal. (Id.) Petitioner contends that these
are not matters of common knowledge and that the jury’s understanding
was inaccurate because a California judge has no authority to overrule

a jury’s verdict imposing life without possibility of parole, and

limited authority to overturn a death verdict. (Id.)
As discussed above with respect to claims D, T and U, under
Federal Rule of Evidence 606(b), the admissibility of juror

declarations turns on whether they concern matters external or
internal to the jury process. Statements regarding matters that are
internal to the jury process are not admissible. Hard, 870 F.2d at
1460. The post-trial juror declarations submitted by petitioner in
support of this claim recount statements made during the deliberations
and address the jurors’ mental processes. These subjects are matters
internal to the jury process. See Belmontes, 350 F.3d at 891 (habeas
petitioner not entitled to relief on claim that the jury based its
penalty decision on the view that life without parole did not

249

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 255 of 267

necessarily mean life in prison because this “concerns intrinsic jury
processes”). The declarations do not present extraneous information,
Accordingly, they are inadmissible under Rule 606(b).

Therefore, respondent’s motion for summary judgment should
be granted, and petitioner’s cross-motion for summary judgment should
be denied as to this sub-claim.

4. Newspaper

Petitioner alleges that during the trial and jury
deliberations, a juror brought a newspaper into the jury room which
was read by other jurors. (Am. Pet. at 134.) According to
petitioner, on December 30, 1986, the front page of the Sacramento Bee
bore the following banner headline, “State High court [sic] Orders
Parole For ‘Onion Field’ Killer.” (Id.) Petitioner argues that
“{t]he possibility that petitioner’s death sentence could be reversed,
and the fact that he could be released on parole if given a life
sentence were discussed by the jury during penalty phase
deliberations, and played a substantial role in the penalty verdict.”
(Id. )

In support of this sub-claim petitioner relies on post-trial
declarations of jurors Hunt and Lee but without specific citation.
(Am. Pet. at 134-35.) In juror Hunt's declaration he states merely
the following regarding the jury’s exposure to a newspaper during the
trial:

We also occasionally worked on the crossword

puzzle in the newspaper, and once we asked the

bailiff if the judge was good at crossword

puzzles. He responded that the judge didn’t know

the answers to the puzzle.

250

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 256 of 267

The penalty deliberations seemed to drag on for

quite a while. I remember someone bringing in a

newspaper to the deliberations room. We passed it

around, working on the crossword and reading the

sports section. There wasn’t anything about our

case in the paper, but I do remember one article

that had something to do with the police.
(Am. Pet., Ex. M, §§ 7 & 13, 5-6; Opp’n & Cross-Mot. for Summ. J., Ex.
Oo, 4§ 7 & 13.) In her declaration, juror Lee makes absolutely no
mention of a newspaper. (Am. Pet., Ex. 0; Opp’n & Cross-Mot. for Summ.
J., Ex. P.)

Respondent argues that juror Hunt's declaration provides no

evidence that the jury had before them the front page of the December

30, 1986, Sacramento Bee, or any other newspaper front page. (Alt.
Mot. for Summ. J. at 202.) Furthermore, respondent argues that even
if it could be speculated that the jurors saw the “Onion Field” killer

article as alleged by petitioner, the jury was entitled to consider

the possibility that petitioner might be released on parole in

reaching its penalty phase verdict. (Id.)
In response petitioner argues that the evidence does not
support summary judgment for either party as to this sub-claim.

(Opp’n & Cross-Mot. for Summ. J. at 133.) Petitioner asserts that
there is circumstantial evidence that jurors saw the newspaper article
and that it impacted their consideration of a sentence of life without
parole. (Id.) Petitioner argues that the jury could conclude based
on the article that petitioner could be granted parole even if
sentenced to life without the possibility of parole. (Id. at 134.)
Petitioner also argues that, contrary to respondent’s suggestion, in

251

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 257 of 267

California a jury may not consider the possibility that a capital
defendant might be released in the future. (Id. )

The court finds that there is no evidence to support
petitioner’s allegation that the jurors had before them the front page
of the December 30, 1986, issue of the Sacramento Bee with the
headline and article regarding the parole of the “Onion Field” killer.
The court is not persuaded by petitioner’s argument that there is
circumstantial evidence that jurors were exposed to the newspaper
article in question. Petitioner’s claim is based purely upon
speculation and is unsupported by any evidence whatsoever.

Therefore, respondent’s motion for summary judgment should
be granted as to this sub-claim, and petitioner’s cross-motion should
be denied.

5. Consultations with Ministers

Petitioner claims that juror Abelardo Alvarado engaged in
prejudicial misconduct by discussing petitioner’s case with several
ministers to confirm the propriety of voting to impose the death
penalty and by informing the jury about the advice he received. (Am.
Pet. at 135.)

Respondent argues that petitioner has not provided any
evidence to support his allegation that “‘religious leaders had
approved the death sentence for Petitioner.’” (Alt. Mot. for Summ. J.
at 203) (quoting Am. Pet. at 136.) Respondent also asserts that the
juror’s post-trial declarations filed in support of petitioner’s state
habeas petition are not admissible in these proceedings. (Resp’t’s
Reply at 15-16.) As for juror Alvarado, respondent argues that his

252

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 258 of 267

discussions with ministers did nothing more than allow him to fulfill
his oath as a juror in considering the two possible penalties without
coming into conflict with the principles of his religion. (Alt. Mot.
for Summ. J. at 203.)

In response, petitioner relies upon the post-trial
declaration from juror Stephen McEnerney submitted in support of his
second state habeas petition in which the juror states:

I remember [juror Alvarado] telling us during the

penalty deliberations that he had sought

counseling from some ministers about his decision

to vote for death. He suggested that we try the

same if any of us were having trouble making up

our minds.

(Opp’n & Cross-Mot. for Summ. J., Ex. T at 2.) Petitioner asserts
that juror McEnerney’s statements regarding the jury being exposed to
extrinsic information from ministers are corroborated by the
declarations of Linda Lye and Jeffrey Kim, both of whom state that
they were present at a February 2, 1995, interview of juror Alvarado
in which he recounted consulting with several ministers to help him
feel comfortable with his penalty phase decision and how he shared
that experience with other jurors. (Opp’n & Cross-Mot. for Summ. J.,

Ex. T at 2.) % Both Lye and Kim indicate that after providing this

interview, juror Alvarado was unwilling to speak to them further and

/////

 

 

‘* In his supplemental memorandum following oral argument on

the pending motions, petitioner argues that respondent never moved to
strike these declarations and that they are either not hearsay or
reflect statement against interest falling within an exception to
the hearsay rule. (Suppl. Mem. at 4-5.)

253

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 259 of 267

thus they were unable to obtain a declaration from juror Alvarado

himself with respect to this issue. (Id.)
Petitioner argues that juror Alvarado’s ex parte
consultations with ministers involved matters central to the jury's

decision in petitioner’s case. He asserts that in penalty phase

deliberations a juror is required to make “a reasoned moral response”

to the defendant's background, character, and crime. (Opp’n & Cross-
Mot. for Summ. J. at 123-24.) Petitioner claims that “the moral,
subjective nature of the task” makes ex parte contacts particularly
serious when the outsider contacted is “a minister, a person who is
generally understood to be an expert in moral decisions.” (Id. at
124.)

Finally, petitioner argues that not only was juror Alvarado
prejudiced as a result of this improper consultation with ministers

but the jurors whom Alvarado talked to about his ex parte contacts
were prejudiced as well. (Id.) According to petitioner, the outside
advice juror Alvarado received and shared with the other jurors
addressed the ultimate material aspect of the case because it involved
the jury’s life-or-death decision. (Id.) Thus, petitioner asserts,
this extrinsic information was directly prejudicial to petitioner and
likely had a substantial and injurious affect on the jury’s penalty
phase verdict. (Id. at 124-25.) Petitioner notes that there was a
substantial and injurious impact on juror Alvarado because he sought
such consultation despite his usual non-involvement in religious
activities, and was clearly influenced by the advice because he shared
the information with other jurors. (Id. at 125.) The fact that juror

254

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 260 of 267

Alvarado remembered his consultation with ministers nearly ten years
after the trial and the fact that juror McEnerney also remembered the
extrinsic information provided by juror Alvarado eight years later
demonstrates, according to petitioner, that the extrinsic information
was important to the deliberations. (Id.) Petitioner asserts that
this jury misconduct requires that the penalty decision be vacated.
(Id. at 126.)%

The court concludes that neither party is entitled to
summary judgment on this sub-claim. Even if the court accepted as
true petitioner’s contention that juror Alvarado spoke to at least one
minister and informed the jury that he had done so, there are many
necessary questions left unanswered under the present record. For
instance, it is not clear: (1) what advice, if any, juror Alvarado
received and shared with the other jurors; (2) the extent of his
extrajudicial contacts; (3) whether his conversations with ministers
were purely philosophical or based on the facts of petitioner’s case;
(4) whether and to what extent juror Alvarado’s statements were
discussed by the other jurors; (5) the timing of juror Alvarado’s
comments in relation to the jury’s deliberations and the return of the

penalty phase verdict; and (6) whether there are any other matters

 

°° Petitioner contends that, contrary to respondent’s position,

the declarations relied upon by petitioner in support of this claim
are part of the state court record and are properly considered by
this court. (Pet’r’'s Reply at 28-30.) Petitioner also contends that
respondent's suggestion that juror Alvarado has recanted his
statement to petitioner’s investigators must be rejected because on
June 1, 2000 juror Alvarado reconfirmed that he did in fact have
extrajudicial contact with clergy during petitioner’s trial. (Id. at
32 and Exs. BBB, CCC.)

255

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 261 of 267

which may bear on the issue of whether the information had a

substantial and injurious effect on the jury’s verdict. See Mancuso,
292 F.3d at 951-52; Keating, 147 F.3d at 902; Jeffries v. Blodgett, 5

 

F.3d at 1190. Therefore, the court cannot find that either party is
entitled to summary judgment at this time.

6. Remorse

Finally, petitioner again claims that during the penalty
phase deliberations, one of the jurors disclosed that he had killed
someone in the line of duty and that unlike petitioner, he had felt
remorse. (Am. Pet. at 136.) In this claim petitioner asserts that
the jurors comment constituted improper extrinsic information to which
the jury should not have been exposed. In this vein he argues that
because there was no evidence introduced at trial concerning
petitioner’s remorse or lack thereof, remorse was not a proper factor
in the jury’s determination of the appropriate penalty and such
consideration made it easier for the jury to vote for death. (Id. at
137.) Petitioner again relies upon the post-trial declarations of two
jurors to support this allegation. (Am. Pet., Exs. M at 5, O at 3;
Opp’n to Mot. for Summ. J. & Cross-Mot. for Summ. J., Ex. O at 5; P at
3.)

Respondent argues that this is an intrinsic matter of
deliberation and that the juror’s disclosure of his involvement in a

killing was nothing more than an expression of common knowledge that

someone involved in taking a life normally feels some remorse. (Alt.
Mot. for Summ. J. at 203.) Respondent argues that a juror’s sharing
of past personal experiences is an appropriate part of jury

256

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 262 of 267

deliberation. (Id.) Lastly, respondent argues that the juror’s

statement was not prejudicial and “concerned a normal human reaction,

which was well within the range of common experience.” (Id. at 205.)
As discussed above, the admissibility of a juror declaration
turns on whether the declaration concerns matters external or internal

to the jury process. Statements regarding matters that are internal
to the jury process are not admissible. Hard, 870 F.2d at 1460. The
post-trial juror declaration submitted by petitioner in support of
this claim address statements made during the deliberations concerning
the jurors’ mental processes. These subjects are matters internal to
the jury process. See Belmontes, 350 F.3d at 891 (habeas petitioner
not entitled to relief on claim that the jury based its penalty
decision on the view that life without parole did not mean necessarily
mean life in prison because this “concerns intrinsic jury processes”).
Because the declarations relied upon by petitioner in support of this
sub-claim do not address the jury’s consideration of extraneous
information, they are inadmissible under Rule 606(b).

Moreover, jurors may rely on their past experiences in
reaching a decision and in doing so they are not improperly
considering extrinsic evidence. Price, 200 F.3d at 1255; Hard, 812
F.2d at 486. Finally, as previously noted, a defendant’s courtroom
demeanor is evidence that a jury may properly consider. Williams, 52
F.3d at 1483; Schuler, 813 F.2d at 981 n.3; see also Bates, 308 F.3d
at 421.

/////
/////

257

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 263 of 267

For all of these reasons respondent’s motion for summary
judgment should be granted as to this sub-claim and petitioner’s
eross-motion for summary judgment should be denied.

WwW. Ineffective Assistance of Counsel/Petitioner’s Mental

Condition, Family History, Upbringing and Injuries

This claim has been fully addressed in section, C, supra
with the court concluding that the cross-motions for summary judgment
should be denied.

X. Cumulative Error

Petitioner claims that the cumulative effect of the errors
at both the guilt and penalty phases of his trial denied him his
constitutional rights to a fair trial on the issue of guilt or
innocence and a fair, reliable, individualized and adequately-guided
determination of the appropriateness of the death penalty.

Respondent moves for summary judgment on this claim on the
grounds that petitioner has failed to establish either any error
sufficiently substantial to generate the accumulation of prejudicial
error or an undermining of the adversarial process. Respondent
concludes by arguing that summary judgment on this claim is
appropriate because “[t]he fact that many claims .. . are pressed
does not alter fundamental math - a string of zeros still adds up to
zero.” (Alt. Mot. for Summ. J. at 210) (quoting Hunt v. Smith, 856 F.
Supp. 251, 258 (D. Md. 1994), aff’d, 57 F.3d 1327 (4th Cir. 1995)).

Where asserted constitutional errors have been established,
but findings of no prejudice as to the individual errors are made, the
errors en toto may nonetheless present a claim for cumulative error

258

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 264 of 267

sufficient to overturn a death sentence. Mak v. Blodgett, 970 F.2d
614 (9th Cir. 1992); United States v. Tucker, 716 F.2d 576, 595 (9th
Cir. 1983). Moreover, while individual errors looked at separately
may not rise to the level of constitutional error, the cumulative
effect of such errors may so prejudice the defendant’s right to a fair
trial that reversal is warranted. See United States v. Berry, 627
F.2d 193, 200-01 & n.7 (9th Cir. 1980); see also United States v.
Nadler, 698 F.2d 995, 1002 (9th Cir. 1983).

Because the court is recommending denial of summary judgment
on petitioner’s ineffective assistance and other claims, it indeed
appears that summary judgment on the cumulative error claims would be
premature. See Mak, 970 F.2d at 622 (prejudice in ineffective
assistance claims may be found from consideration of “the totality of
counsel’s errors and omissions”). Therefore, respondent’s motion for

summary judgment should be denied as to this claim.

CONCLUSION
For the reasons set forth above, the court HEREBY RECOMMENDS
that:
1. Respondent's motion for summary judgment or to dismiss
be granted in part and denied in part.

2. Summary judgment be granted in respondent’s favor on the

following claims A, B, D, E, F, G, H, I, J, K, M, P, Q, R, S (except

as to sub-claim S-5), T (in part), U, and V (in part).
3. Respondent’s motion be denied with respect to the
following claims: C, L, N, 0, S-5, T (in part), V (in part), W and X.

/////

259

 
10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 265 of 267

4. Petitioner’s cross-motion for summary judgment be denied
in its entirety.

5. That claim Q be dismissed for failure to state a claim.

6. Respondent be ordered to file an answer to the remaining
claims of the second amended federal petition within sixty days after
the district court’s ruling with respect to these findings and
recommendations, after which time the undersigned will set a status
conference to schedule the remaining proceedings in this litigation.

These findings and recommendations are submitted to the
United States District Judge assigned to the case, pursuant to the
provisions of 28 U.S.C. § 636(b) (1). Within thirty days after being
served with these findings and recommendations, any party may file
written objections with the court. Such a document should be
captioned “Objections to Magistrate Judge’s Findings and
Recommendations” and shall not exceed fifty pages in length. Any
reply to the objections shall be served and filed within fifteen days
after service of the objections and shall not exceed twenty pages in
length. The parties are advised that failure to file objections
within the specified time may waive the right to appeal the District
Court’s order. See Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
DATED: January 6. 2004.

OB A, Daryl
Oo

DALE A. DROZD
UNITED STATES MAGISTRATE JUDGE

 

dadi/orders.capital

breauxsjf&r

260

 
Case 2:93-cv-00570-JAM-DB Document 166 Filed 01/06/04 Page 266 Rie 67

United States District Court
for the
Eastern District of California
January 6, 2004

* * CERTIFICATE OF SERVICE * *

2:93-cv-00570

Breaux
Vv.

Vasquez

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on January 6, 2004, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Quin Denvir HV/DFL
Federal Defender
801 I Street PB/DAD

Third Floor
Sacramento, CA 95814-2510

Michael G Millman

California Appellate Project
Federal Court Docketing

101 Second Street

Suite 600

San Francisco, CA 94105-2752

Linda Fox

California Appellate Project
Federal Court Docketing

101 Second Street

Suite 600

San Francisco, CA 94105-2752

Richard C Neuhoff

Law Offices of Richard C Neuhof£
11 Franklin Square

New Britain, CT 06051-2604
George M. Heudn (ROW .
oe 279 3cané6ta 40-JAMNE DE: eDdoumeéhel Gt aEteb 61 0SI1G4 oPage 267 of 267
PO Box 944255

1300 I Street

Suite 125

Sacramento, CA 94244-2550

Jack L. Wagner, Clerk

BY: pace Pra

Deputy Clerk
